APPENDIX 1
IN THE MATTER OF AN ARBITRATION BEFORE A TRIBUNAL CONSTITUTED IN
    ACCORDANCE WITH A MANAGEMENT SERVICES AGREEMENT DATED
     SEPTEMBER 9, 2011 AND THE UNCITRAL ARBITRATION RULES 2010




                                 BETWEEN

GLOBAL GAMING PHILIPPINES LLC (AS ASSIGNOR)
GGAM NETHERLANDS B.V. (AS ASSIGNEE)

                                                                  CLAIMANTS

                                    AND



BLOOMBERRY RESORTS AND HOTELS INC.
SURESTE PROPERTIES, INC.

                                                                 RESPONDENTS




                              FINAL AWARD

                           SEPTEMBER 27, 2019




                            The Arbitral Tribunal:

                     Mr. R Doak Bishop, Esq. (Arbitrator)

                     Dr. Michael Hwang, S.C. (Arbitrator)

                 Dr. Andres Rigo Sureda (Presiding Arbitrator)




                                      1
                                   Table of Contents



I.     GLOSSARY OF TERMS AND LIST OF DRAMATIS PERSONAE                                     5
       A.   Glossary of terms                                                              5
       B.   List of dramatis personae                                                      9

II.    PARTIES                                                                            11
       A.   Claimants                                                                     11
       B.   Respondents                                                                   11

III.   PROCEDURAL HISTORY                                                                 13
       A.   Procedural history of the present proceedings                                 13
       B.   Summary of Procedural Orders Issued since the Liability Award                 14
       C.   Matters in relation to Paragraph 324 of the Liability Award                   15
       D.   Matters in relation to the Respective Rights and Liabilities of each of the
            Parties                                                                       18
       E.   Matters in relation to Document Production in the Remedies Phase              18
       F.   Matters in relation to the Parties' Supplemental Submissions and the
            Remedies Hearing                                                              19
       G.   Matters in relation to Claimants' application to direct Respondents to cease
            actions opposing the implementation of the IM Order                           36
       H.   The Remedies Hearing                                                          37
       I.   Matters relating to issues after the conclusion of the Remedies Hearing       38
       J.   Other Procedural Matters                                                      43

IV.    RELIEF SOUGHT BY THE PARTIES                                                       44

V.     PRELIMINARY MATTERS: PARTIES' RIGHTS AND LIABILITIES                               50

VI.    DAMAGES UNDER PHILIPPINE LAW — GENERAL PRINCIPLES                                  53
       A.   Claimants' Arguments                                                          53
       B.   Respondents' Arguments                                                        54
       C.   Analysis of the Tribunal                                                      55

VII.   DAMAGES FOR WRONGFUL TERMINATION OF THE MSA                                        58



                                           2
      A.   Claimants' Arguments                                                58
      B.   Respondents' Arguments                                              67
      C.   Analysis of the Tribunal                                            80
           (i)      Framework of the Analysis                                  80
           (ii)     Term of the MSA                                            80
           (iii)    Sources of Information for Historical Costs and Revenue    87
           (iv)     Allocation of Revenues                                     88
           (v)      Allocation of Costs: Specific Issues                       90
           (vi)     Date of Valuation                                          97
           (vii)    Discount rate                                              98
           (viii)   Projections of revenues                                    99
           (ix)     Projections of costs and expenses                          99
           (x)      Failure to Mitigate Damages                               100
           (xi)     Pre-award interest                                        100
           (xii)    Amount of the Lost Management Fees                        101

VIII. SHOULD THE TRIBUNAL APPLY THE DOCTRINE OF EQUITABLE
      MITIGATION?                                                             105
      A.   Respondents' Arguments                                             105
      B.   Claimants' Arguments                                               105
      C.   Analysis of the Tribunal                                           105

IX.   GROSS-UP OF MANAGEMENT FEES TO ACCOUNT FOR PHILIPPINE
      TAXES                                                                   110
      A.   Claimants' Arguments                                               110
      B.   Respondents' Arguments                                             111
      C.   Analysis of the Tribunal                                           113

X.    PRE-OPENING FEES AND EXPENSES                                           115
      A.   Claimants' Arguments                                               115
      B.   Respondents' Arguments                                             116
      C.   Analysis of the Tribunal                                           116

XI.   OBSTRUCTION OF THE SALE OF GGAM'S SHARES                                118



                                              3
       A.   Background                                                               118
       B.   Claimants' Arguments                                                     119
       C.   Respondents' Arguments                                                   128
       D.   Analysis of the Tribunal                                                 133
            (i)     Matters Previously Decided by the Tribunal                       133
            (ii)    Jurisdiction                                                     135
            (iii)   Liability                                                        141
            (iv)    Remedies                                                         147
                    a.     Quantum                                                   147
                    b.     The "Constructive Remedy"                                 151
                    c.     Other relief in respect of the Shares and the Dividends   153

XII.   DIVIDENDS                                                                     155

XIII. INTEREST                                                                       158

XIV. ISSUES RAISED BY THE RESPONDENTS' REQUEST FOR RELIEF                            159

XV.    COSTS                                                                         160

XVI. DECISION                                                                        167




                                            4
I.       GLOSSARY OF TERMS AND LIST OF DRAMATIS PERSONAE


         A.        Glossary of terms

     Additional Expenses          Expenses related to work on behalf of the Respondents and
                                  BRC, including the roadshow, investor conferences, and a
                                  potential investment opportunity in Argentina (quantified at
                                  US$ 45,557 by the Claimants).

     Bloomberry Model             A financial model Bloomberry provided to GGAM when the
                                  Parties were negotiating the MSA.

     Cantor Model                 The model and presentation created by Cantor Fitzgerald that
                                  summarized the amount of management fees they expected to
                                  earn over the course of the MSA.

     CCP                          The Civil Code of the Philippines (Title XVI), Batas Pambansa
                                  Bilang 68.

     Claimants                    The Claimants in this arbitration, Global Gaming Philippines
                                  LLC and GGAM Netherlands B.V.

     Cornell Report               An article authored by Prof. de Roos and Scott D. Berman
                                  entitled "Cornell Hospitality Report — Calculating Damage
                                  Awards in Hotel Management Agreement Terminations" (Vol.
                                  14. No. 16, CHR, published August 2014).

     Decision on                  Tribunal's Decision on Request for Reconsideration of the
     Reconsideration              Partial Award on Liability dated November 22, 2017.

     EBITDA                       Earnings before Interest, Tax, Depreciation and Amortization.

     EBITDAM                      Earnings before Interest, Tax, Depreciation, Amortization and
                                  Management Fees.

     Equity Option                Equity Option Agreement, signed by BRC, PMHI and the
     Agreement or EOA             Claimants on April 16, 2012 providing the Claimants with the




                                                 5
                            right to purchase up to 10% of the share capital of Bloomberry.
                            The equity option was granted under Clause 18.3 of the MSA.

February Invoice            Respondents' unpaid invoice of US$ 148,750 for services
                            performed outside the Philippines for the month of February
                           2013.

Foreign VIP EBITDA         EBITDA generated from Foreign High Roller Tables and
                           Foreign Junket Players.

Final Award                This Final Award dated 27 September 2019.

FTE                        Full-time Equivalent.

G&A Expenses               General & Administrative expenses.

GEL                        Gaming Employment License.

HIDV                       Highest Intermediate Value.

HIVT                       Highest Intermediate Value Test.

IAA                        International Arbitration Act (Chapter 143A), Singapore.

IM                         Interim Measures.

IM Order                   Interim Measures Order.

IM Request                 The Claimants' request for Interim Measures.

Initial Term               First term of five years of the MSA.

Liability      Hearing   / Merits hearing on liability at Maxwell Chambers, Singapore
Liability Award            conducted from October 15, 2015 to October 24, 2015 / Partial
                           Award on Liability dated September 20, 2016.

Local VIP EBITDA           EBITDA generated from Local High Roller Tables where
                           PAGCOR imposes a 15% license fee under the PAGCOR
                           License, or as that term is defined in the laws or regulations
                           governing the Facilities.




                                           6
Manifested Tables         A category of VIP tables which is used to calculate Foreign
                          VIP EBITDA, and is also referred to as "Junket Tables" or
                          "Foreign Tables."

Non-Manifested Tables     A category of VIP tables which is used to calculate Local VIP
                          EBITDA, and is also referred to as "High Roller Tables" or
                          "Local Tables."

MSA                       The Management Services Agreement dated September 9,
                          2011 and entered into between the Claimants and the
                          Respondents for the provision of management and technical
                          services in the development and construction of Solaire Resort
                          and Casino.

MSA Damages               The damages that the Claimants have petitioned the Tribunal
                          to award GGAM on account of management fees, pre-
                          termination fees and expenses, Philippine withholding tax
                          gross-up.

PAGCOR                    Philippine Amusement and Gaming Corporation, the regulator
                          of the Philippine gaming industry and the owner of a number
                          of gambling facilities in the Philippines.

Participation Agreement   Participation Agreement dated December 20, 2012 entered
or PA                     into by GGAM, BRC and PMTC entered into a Participation
                          Agreement       as the   Investor,   Company,   and   Grantor,
                          respectively.

PHP                       Philippines Peso.

Preliminary Writs         Writs of preliminary attachment and preliminary injunction
                          issued by the RTC on February 27, 2014.

Request for               Respondents' Request for Reconsideration of the Partial
Reconsideration           Award on Liability dated August 31, 2017.




                                           7
Remedies Hearing       Evidentiary hearing on remedies held in Washington D.C. on
                       May 28, 2018 to June 1, 2018.

Respondents            The Respondents in this arbitration, Bloomberry Resorts and
                       Hotels, Inc. and Sureste Properties, Inc.

RTC                    Regional Trial Court.

Services               A term defined in Annex H of the MSA as "those services of
                       GGAM set forth in Annex A [of the MSA]."

SGV/EY Report          A report which Respondents commissioned from SyCip
                       Gorres Velayo & Co., a Philippine-based affiliate of Ernst &
                       Young, in 2013.

GGAM Shares / Shares   GGAM's 921,184,056 shares in the Respondents' parent,
                       BRC, acquired by GGAM exercising its option to purchase
                       these shares under the EOA.

Solaire                Solaire Resort and Casino, an integrated casino hotel
                       entertainment complex located in Paranque City, Metro
                       Manila, Philippines.

Travel Expenses        Expenses incurred by the Claimants in travelling to and from
                       the Solaire (quantified at US$ 242,747 by the Claimants).

UNCITRAL Rules         UNCITRAL Arbitration Rules 2010.




                                      8
    B.        List of dramatis personae

BRC                           Bloomberry Resorts Corporation, a company registered under
                              the laws of the Republic of the Philippines and listed on the
                              Philippines Stock Exchange. The parent company of
                              Bloomberry Resorts and Hotels, Inc. and Sureste Properties,
                              Inc.

BRHI                          Bloomberry Resorts and Hotels, Inc., the First Respondent, a
                              company registered under the laws of the Republic of the
                              Philippines.

Cantor    Fitzgerald      or Cantor Fitzgerald, US-based investment banking corporation
Cantor                        employed by GGAM.

Claimants                     Collectively, Global Gaming Philippines LLC (as assignor) and
                              GGAM Netherlands B.V. (as assignee).

de Roos, Jan A.               Claimants' expert and author of the Cornell Report. HVS
                              Professor of Hotel Finance and Real Estate in the School of
                              Hotel Administration at Cornell University's SC Johnson
                              College of Business.

French, Michael D.            Former COO of the Solaire.

GGAM / GGAM                   Global Gaming Philippines LLC. The original party to the
Philippines                   MSA. Party to the EOA and PA (as assignor).

GGAM Netherlands              GGAM Netherlands B.V. (as assignee).

Kalt, Joseph P.               Claimant's Expert who opines on the valuation of the
                              management fees due to the Claimants, and the damages
                              arising from GGAM's inability to sell the Shares in three (3)
                              reports dated June 15, 2015, May 15, 2017 and March 12,
                              2019. Emeritus Professor of International Political Economy at
                              Harvard's JFK School of Government.




                                             9
Oaten, Simon        Claimant's valuation expert. He opines on the method of
                    calculating the management fees in three (3) reports dated June
                    15, 2015; May 15, 2017; and March 12, 2019. Employed as a
                    Chartered Accountant and Partner within Deloitte LLP (UK).

PMHI                Prime Metroline Holdings, Inc, an agent and controlling
                    shareholder of Respondents.

PMTC                Prime Metroline Transport Corp, the predecessor in interest to
                    Prime Metroline Holdings, Inc

Puno, Reynato       Claimants' Philippine Law Expert.

Razon, Enrique K.   CEO of Bloomberry.

Respondents         Collectively, Bloomberry Resorts and Hotels, Inc. and Sureste
                    Properties, Inc.

Searby, James       Respondents' Expert who opines on the method of calculating
                    the management fees in two (2) reports dated August 31, 2017
                    and March 12, 2019.

Stone, Bradley H.   One of the three management principals of GGAM.

Sureste             Sureste Properties, Inc., the Second Respondent, a company
                    registered under the laws of the Republic of the Philippines.

Tantleff, Alan      Respondents' valuation expert. He opines on the method of
                    calculating the management fees in three (3) reports dated
                    December 15, 2015; August 31, 2017; and February 4, 2019.
                    Senior Managing Director at FTI Consulting and an expert in
                    the hospitality industry.

Vitug, Jose         Respondents' Philippine Law Expert.




                                   10
IL      PARTIES

        A.   Claimants

        1.   The Claimants are Global Gaming Philippines LLC (as assignor) and GGAM
             Netherlands B.V. (as assignee) (respectively "GGAM" / "GGAM Philippines"
             and "GGAM Netherlands"; collectively the "Claimants").

        2.   The Claimants are represented by:

             Daniel H. Weiner
             Hagit Muriel Elul
             Meaghan Gragg

             HUGHES HUBBARD & REED LLP
             One Battery Park Plaza
             New York, New York 10004
             United States of America
             Telephone +1 (212) 837-6000
             Facsimile: +1 (212) 422-4726
             E-mail: daniel.weiner@hugheshubbard.com
                     Hagit.Elul@HughesHubbard.com
                     Meaghan.Gragg@HughesHubbard.com



     B. Respondents

       3.    The Respondents are Bloomberry Resorts and Hotels, Inc. ("BRHI") and Sureste
             Properties, Inc. ("Sureste") (collectively, the "Respondents" or `Bloomberry").
             The Respondents are owners of the Solaire Resort and Casino, an integrated casino
             hotel entertainment complex located in Paranque City, Metro Manila, Philippines
             (the "Solaire").

       4.    The Respondents are represented by:

             Michael D. Nolan, Esq.
             David Cohen
             Erin M. Culbertson
             Brett Lowe
             Kamel M. Aitelaj



                                            11
                 MILBANK, TWEED, HADLEY & MCCLOY LLP
                 International Square Building
                 1850 K Street, N.W.
                 Suite 1100
                 Washington, DC 20006
                 United States of America
                 Telephone: +1 (202) 835-7500
                 Facsimile: +1 (202) 263-7586
                 E-mail: mnolan@milbank.com
                           eculbertson@milbank.com
                           dcohen2@milbank.com
                           blowe@milbank.com
                           kaitelaj@milbank.com

                 Purisimo S. Buyco
                 Robel C. Lomibao
                 PICAZO BUYCO TAN FIDER & SANTOS
                 Penthouse Liberty Center
                 104 H.V. dela Costa St., Salcedo Village
                 1227 Makati City, Metro Manila
                 Republic of the Philippines
                 Telephone: (632) 888-0999
                 Facsimile: (632) 888-1011
                 E-mail: psbuyco@picazolaw.com
                          rclomibao@picazolaw.com

       5.       The Claimants and the Respondents are collectively referred to as the "Parties". In
                the Partial Award on Liability dated September 20, 2016 ("Liability Award"), the
                Tribunal treated the different Claimants and the different Respondents as a single
                Claimant entity and Respondent entity respectively. At that time, the Parties
                proceeded on the basis that they were either jointly entitled or jointly liable.' In this
                Award ("Final Award"), the Tribunal sets out the Parties' positions and its views
                on the Parties' respective rights and liabilities at paragraphs 172 to 180 below.




Liability Award, para. 5.


                                                  12
III.   PROCEDURAL HISTORY

       A.   Procedural history of the present proceedings

       6.   The procedural history of the present proceedings has been set out, in part, in the
            following.

            (a)     Paragraphs 6 — 23 of the Tribunal's Order in respect of the Claimants'
                    Interim Measures Application dated December 9, 2014 following an interim
                    measures hearing from October 20 — 22, 2014 in Washington, D.C. ("IM
                    Order");

            (b)     Paragraphs 6 — 45 of the Liability Award; and

            (c)    Paragraphs 6 — 13 of the Tribunal's Decision on Request for
                   Reconsideration of the Partial Award on Liability dated November 22, 2017
                   ("Decision on Reconsideration").

       7.   The IM Order, Liability Award, and Decision on Reconsideration also set out other
            relevant background details of the dispute, which will therefore not be repeated in
            this Remedies Award. Besides the procedural history already set out in those
            decisions, the Tribunal notes for completeness that part of the Respondents' case
            on remedies had been set out in their Rejoinder Memorial on Damages and Other
            Remedies dated December 15, 2015 ("Rejoinder Memorial on Damages")
            pursuant to Procedural Order No. 11.

       8.   This Final Award adopts the abbreviations set out in the IM Order, Liability Award
            and Decision on Reconsideration unless otherwise specified in this Award.

       9.   For purposes of clarity, the present section will deal with the procedural history not
            already set out in the IM Order, Liability Award, and Decision on Reconsideration
            (as set out at paragraphs 6(a) to 6(c) above), and will be organized in the following
            manner.

            (a)    Summary of Procedural Orders issued since the Liability Award;

            (b)    Matters in relation to paragraph 324 of the Liability Award;

            (c)    Matters in relation to the respective rights and liabilities of each of the
                   Parties;



                                             13
      (d)    Matters in relation to document production;

      (e)    Matters in relation to the Parties' supplemental submissions, and the
             evidentiary hearing on remedies ("Remedies Hearing");

      (0     Matters in relation to the Claimants' application to direct the Respondents
             to cease actions opposing the implementation of the IM Order;

      (g)    The Remedies Hearing;

      (h)    Matters in relation to issues after the conclusion of the Remedies Hearing;
             and

             Other procedural matters.

B.    Summary of Procedural Orders Issued since the Liability Award

10.   On October 26, 2016, the Tribunal issued Procedural Order 15 ("PO 15"), which
      addressed matters in relation to paragraph 324 of the Liability Award, and the
      respective rights and liabilities of each of the Parties.

11.   On November 17, 2016, the Tribunal issued Procedural Order 16 ("PO 16"), which
      addressed matters in relation to paragraph 324 of the Liability Award, and
      document production.

12.   On February 2, 2017, the Tribunal issued Procedural Order 17 ("PO 17"), which
      addressed matters in relation to the Parties' supplemental submissions and the
      Remedies Hearing.

13.   On January 6, 2018, the Tribunal issued Procedural Order 18 ("PO 18"), which
      addressed matters in relation to the Parties' supplemental submissions and the
      Remedies Hearing.

14.   On January 16, 2018, the Tribunal issued Procedural Order 19 ("PO 19"), which
      addressed matters in relation to Claimants' application to direct Respondents to
      cease actions opposing the implementation of the IM Order.




                                     14
15.   On March 30, 2018, the Tribunal issued Procedural Order 20 ("PO 20"), which
      addressed matters in relation to the Parties' supplemental submissions and the
      Remedies Hearing.

16.   On April 10, 2018, the Tribunal issued Procedural Order 21 ("PO 21"), which
      further addressed matters in relation to the Parties' supplemental submissions and
      the Remedies Hearing.

C.    Matters in relation to Paragraph 324 of the Liability Award

17.   On September 23, 2016, the Claimants requested the Tribunal to issue directions
      for prompt determination of the matters outlined in Paragraph 324 of the Liability
      Award, and set a schedule for prompt consultation with the Parties on the
      organization of the Remedies Phase (the "Claimants' Letter of September 23,
      2016").

18.   On September 26, 2016, the Respondents provided their comments on the
      Claimants' Letter of September 23, 2016 (the "Respondents' Letter of September
      26, 2016").

19.   By email dated September 29, 2016, the Tribunal noted the Claimants' Letter of
      September 23, 2016 and Respondents' Letter of September 26, 2016, and invited
      the Claimants to file their formal application in pursuance of either or both of the
      matters at paragraph 324 of the Liability Award if they still wished to do so. The
      Tribunal set a deadline of October 6, 2016 for the Claimant to do so, and a deadline
      of October 13, 2016 for the Respondents to respond to the application.

20.   On October 6, 2016, the Claimants applied for relief in relation to both of the
      matters at paragraph 324 of the Liability Award. The Claimants argued that the
      Respondents' corporate parent, Bloomberry Resorts Corporation ("BRC"), had
      publicly issued a misleading disclosure regarding the Liability Award which led to
      the continued hindrance of GGAM's ability to sell its Shares and to receive
      dividends paid on them. The Claimants sought the following relief pursuant to
      Clauses 2, 8 and 12 of PO 3, Annex A.

      (a)         Granting GGAM immediate leave to provide a complete copy of the
                  Liability Award to the following entities and individuals:

            (i)         the Philippine courts;




                                         15
             (ii)      Philippine government authorities, including the Philippine
                       Amusement and Gaming Corporation;

            (iii)      the Philippine Stock Exchange;

            (iv)       the Philippine Depository & Trust;

             (v)       Deutsche Bank AG and its affiliates;

            (vi)       any other investment bank or brokerage firm involved in a potential
                       transaction in GGAM' s Shares;

            (vii)      prospective purchasers of GGAM' s Shares; and

        (viii)         any other entity or person involved in GGAM' s opportunity to sell
                       or transfer GGAM' s Shares.

      (b)       Directing the Respondents to submit a certified letter from BRC addressed
                to Deutsche Bank AG stating that, "Bloomberry Resorts Corporation,
                Bloomberry Resorts and Hotels, Inc. and Sureste Properties, Inc. have no
                objection to Deutsche Bank AG' s immediate release of all dividends paid
                by Bloomberry Resorts Corporation for the account of Global Gaming
                Philippines LLC."

21.   On October 13, 2016, the Respondents submitted the following reply.

      (a)       The Respondents indicated that they had no objection to the Tribunal
                allowing Claimants to provide a complete copy of the Liability Award to
                the Regional Trial Court, Makati City, Branch 66 ("RTC-Makati")
                pursuant to the relief sought at paragraph 20(a)(i) above.

      (b)       The Respondents submitted that BRC had released the cash dividend to
                Deutsche Bank AG, as the holder of record. The Respondents submitted
                that Deutsche Bank AG's failure to release the cash dividend was a
                contractual issue between Deutsche Bank AG and the Claimants. Further,
                Respondents submitted that BRC had not blocked, and would not block, the
                release of the cash dividend to Claimants.

      (c)       The Respondents submitted that the Claimants may share the letter sent
                from Mr. Nolan to Mr. Weiner dated October 11, 2016 ("Nolan's Letter of



                                        16
              October 11, 2016"), where the Respondents indicated that there was no
              objection to the release of the cash dividend that BRC had paid to Deutsche
              Bank AG.

      (d)     The Respondents submitted that the relief sought at paragraphs 20(a)(ii) to
              20(a)(viii) above should be denied.

22.   On October 14, 2016, the Claimants sought leave to provide the Tribunal with the
      letter sent from Mr. Weiner to Mr. Nolan dated October 10, 2016 ("Weiner's
      Letter of October 10, 2016"), which was the letter preceding the October 11, 2016
      Letter.

23.   On October 16, 2016, the Tribunal invited the Respondents to:

      (a)    comment on the Claimants' request for leave to provide the October 10,
             2016 Letter; and

      (b)    furnish the Tribunal with a copy of the document that disclosed the Liability
             Award to the Philippine Stock Exchange.

24.   On October 18, 2016, the Respondents provided the Tribunal with the October 10,
      2016 Letter, and the disclosure filed by BRC with the Philippine Stock Exchange.

25.   On October 26, 2016, the Tribunal issued PO 15. By agreement of the Parties, the
      Tribunal granted leave for the Claimants to provide a complete copy of the Liability
      Award to the RTC-Makati, and to provide a copy of Nolan's Letter of October 11,
      2016 to Deutsche Bank AG. In respect of the relief sought at paragraphs 20(a)(ii)
      to 20(a)(viii) above, the Tribunal directed the Claimants to supplement their
      application with information on (i) the legal basis for and/or the Tribunal's power
      to grant such disclosure, (ii) the specific individuals and/or entities to which
      disclosure was sought, (iii) the need for such disclosure, and (iv) the necessity for
      such disclosure.

26.   On November 2, 2016, the Claimants submitted their response pursuant to the
      Tribunal's direction in PO 15, and the Respondents filed their reply on November
      9, 2016.

27.   On November 17, 2016, by the issuance of PO 16, the Tribunal allowed the
      disclosure of the Liability Award to Deutsche Bank AG on the basis that the review
      of the Liability Award by Deutsche Bank AG was a preliminary step for the sale of



                                       17
      the Shares, and the Tribunal had decided previously in the Liability Award that
      GGAM could "exercise its rights in relation to the Shares, including the right to
      sell them." The Tribunal also noted that under Article 34(5) of the UNCITRAL
      Arbitration Rules 2010 ("UNCITRAL Rules"), "lain award may be made public
      [...] where and to the extent disclosure is required of a party by legal duty, to
      protect or pursue a legal right or in relation to legal proceedings before a court or
      other competent authority." Further, the Tribunal granted the Claimants the liberty
      to apply for disclosure to other specific third parties in the event that circumstances
      had materially changed.

D.    Matters in relation to the Respective Rights and Liabilities of each of the
      Parties

28.   On September 29, 2016, the Tribunal invited the Parties to address the question of
      whether there was any difference between the respective rights and liabilities of
      each of the Claimants and/or the Respondents.

29.   On October 6, 2016, the Parties submitted their respective positions on the
      respective rights and liabilities of each one of them. By email dated October 13,
      2016, the Respondents submitted that they had no comment on the Claimants'
      submission on this matter at the time. This was confirmed and recorded by the
      Tribunal in PO 15.

E.    Matters in relation to Document Production in the Remedies Phase

30.   On November 9 and 10, 2016, the Parties exchanged communications in relation to
      document production but were unable to reach agreement. The Respondents were
      willing to provide some of the documents requested subject to the Claimants
      informing the Respondents whether they "believe information in addition to what
      Bloomberry has offered is necessaryfor its experts' computations." By contrast, the
      Claimants had proposed to provide a Redfern Schedule or to follow another
      procedure as directed by the Tribunal. In turn, the Respondents were opposed to
      the use of a Redfern Schedule.

31.   On November 17, 2016, by the issuance of PO 16, the Tribunal directed that the
      Respondents produce the documents that they had offered to provide. In the event
      that the Claimants' experts view such documents as being insufficient for their
      computations, the Claimants shall request from the Respondents the additional
      documents needed for that purpose. If the Respondents were not prepared to




                                       18
      produce the documents upon request, at the request of either party, the Tribunal
      would consider the respective position of the Parties by way of a Redfern Schedule.

32.   On December 22, 2016, the Tribunal received the Redfern Schedule containing
      Respondents' responses and/or objections to the Claimants' supplemental
      document requests.

33.   By email dated January 16, 2017, the Tribunal circulated the completed Redfern
      Schedule, and directed the Respondents to produce various documents by January
      23, 2017.

34.   By email dated January 18, 2017, the Respondents applied for an extension to
      January 31, 2017 for the production of the documents ordered by the Tribunal. By
      email of the same date, the Tribunal granted the request.

35.   On February 6, 2017, the Respondents produced the documents as ordered by the
      Tribunal on January 16, 2017 ("Respondents' Document Production of
      February 6, 2017"). The Respondents had redacted certain information, including
      budget data, monthly figures, and statistics.

F.    Matters in relation to the Parties' Supplemental Submissions and the
      Remedies Hearing

36.   On September 29, 2016, the Tribunal invited the Parties to consult with each other
      on the most appropriate manner to proceed in the remedies phase ("Remedies
      Phase"), and to inform the Tribunal of their points of agreement or disagreement.

37.   On October 13, 2016, the Parties reported to the Tribunal that they agreed that each
      will file one further submission to address those issues reserved by the Tribunal for
      the Remedies Phase ("Supplemental Submission"), with the Claimants making
      their Supplemental Submission first. However, the Parties did not agree on the
      period of time each side should have to prepare their respective Supplemental
      Submissions, and indicated that the Parties were still consulting on additional
      disclosure regarding Solaire's financial performance since July 2013.

38.   By email dated January 31, 2017, the Claimants requested the Tribunal to set a
      schedule for the Parties' Supplemental Submissions, and the date for the Remedies
      Hearing, with the Remedies Hearing to occur no later than the summer of 2017.




                                       19
39.   By email dated February 1, 2017, the Respondents expressed their concern about
      having adequate time to prepare their written submission, and reiterated their
      request that each side should be provided with three months to prepare their
      respective submissions.

40.   On February 2, 2017, by the issuance of PO 17, the Tribunal fixed the following
      time limits.

      (a)    May 8, 2017 for the Claimants' Supplemental Submission; and

      (b)    August 6, 2017 for the Respondents' Supplemental Submission.

41.   The Tribunal also directed the Parties to consult with each other, and advise the
      Tribunal on the expected length of the Remedies Hearing and counsel's common
      availability.

42.   On February 8, 2017, the Parties proposed to reserve five days for the Remedies
      Hearing, and indicated several dates in the months of September, October and
      November 2017. By email dated February 15, 2017, the Tribunal informed the
      Parties that the Tribunal members were not available on the dates proposed. The
      Tribunal directed the Parties to consult with each other, and advise the Tribunal on
      their common convenient hearing dates, taking into account the Tribunal's
      availability.

43.   On February 22, 2017, the Parties submitted their respective availabilities, but did
      not agree on dates. By email dated March 24, 2017, after considering the
      availability of counsel, the Tribunal fixed the Remedies Hearing for January 8 to
      12, 2018.

44.   By email dated February 26, 2017, the Claimants applied for a three-month
      extension for the submission of their Supplemental Submission (with an extension
      of the same period for the Respondents) on the basis that doing so would allow for
      the presentation of more current data on Solaire's performance at the Remedies
      Hearing ("Claimants' Application of February 26, 2017").

45.   By email dated February 27, 2017, the Respondents disagreed with the Claimants'
      proposal. By email dated February 27, 2017, the Tribunal invited the Parties to
      confer on the Claimants' Application of February 26, 2017, and to inform the
      Tribunal of the results of their consultations.




                                      20
46.   By emails dated March 6, 2017, the Parties informed the Tribunal that no agreement
      was reached. By email dated March 9, 2017, the Tribunal ordered that the schedule
      as set forth in PO 17 be maintained.

47.   By email dated May 3, 2017, the Claimants applied for a one-week extension for
      their Supplemental Submission as their primary expert under the MSA had not
      completed his analysis.

48.   By email dated May 3, 2017, the Respondents objected to the Claimants'
      application for a one-week extension, and submitted that an extension would
      disrupt the various obligations that the Respondents' counsel and personnel had
      arranged. By email of the same date, the Claimants submitted that they were willing
      to consent to a longer extension of time for the Respondents in order to
      accommodate their various obligations.

49.   By email dated May 4, 2017, the Tribunal granted the Claimants' request for a one-
      week extension given the limited time extension requested. The extension was
      subjected to an extension of the time limit for the Respondents' Supplemental
      Submission, the length of which was to be agreed by the Parties.

50.   By the emails dated May 11 and 12, 2017, the Parties agreed to a 25-day extension
      of the time limit for the Respondents to file their Supplemental Submission. By
      email dated May 12, 2017, the Tribunal confirmed this extension.

51.   On May 16, 2017, the Claimants filed their Claimants' Supplemental Submission
      on Matters Reserved for the Remedies Phase ("Claimants' Supplemental
      Submission"), together with the following supporting Witness Declarations and
      Expert Reports:

      (a)      Declaration of Bradley H. Stone ("Mr. Stone") in Support of Claimants'
              Supplemental Submission on Matters Reserved for the Remedies Phase
              dated May 15, 2017 ("4th Stone Declaration");

      (b)     Declaration of Jonathan D. Rein in Support of Claimants' Supplemental
              Submission on Matters Reserved for the Remedies Phase dated May 13,
              2017 ("4th Rein Declaration");

      (c)     Expert Report of Chief Justice Reynato S. Puno (ret.) ("Justice Puno")
              dated May 12, 2017 ("Puno Report");




                                      21
      (d)     Expert Report of Guhan Subramanian dated May 15, 2017 re
              Subramanian Report");

      (e)     Expert Report of Jan A. de Roos ("Prof. de Roos") dated May 14, 2017
              ("de Roos Report");

      (f)     Supplemental Expert Report of Joseph P. Kalt ("Prof. Kalt") dated May
              15, 2017 ("2 " Kalt Report"); and

      (g)     Supplemental Expert Report of Simon Oaten ("Mr. Oaten") dated May
              15, 2017 ("2" Oaten Report").

52.   On May 19, 2017, the Claimants filed a corrected copy of the Claimants'
      Supplemental Submission. The Claimants indicated that they had corrected some
      of the citations and typographical errors in the Claimants' Supplemental
      Submission, and had included a corrected set of Exhibits and Authorities to
      correspond with the corrected citations.

53.   By email dated May 20, 2017, the Respondents requested the Claimants to circulate
      a redline comparison of the corrected Claimants' Supplemental Submission and the
      original Claimants' Supplemental Submission. By email of the same date, the
      Claimants circulated the requested document.

54.   On June 8, 2017, the Claimants applied for Mr. Michael S. Popok (Deputy General
      Counsel and Head of Litigation for Cantor Fitzgerald ("Cantor" or "Cantor
      Fitzgerald")) to (i) attend the Remedies Hearing in Singapore in January 2018, and
      (ii) review redacted versions of the Parties' pleadings, submissions and statements
      in this arbitration, as well as any rulings or awards of the Tribunal ("Claimants'
      Application of June 8, 2017").

55.   By email dated June 9, 2017, the Tribunal invited the Respondents to comment on
      the Claimants' Application of June 8, 2017. By email of the same date, the
      Respondents requested clarifications on whether confidential information (pursuant
      to PO 3 and PO 5) had been disclosed by any of the Claimants' counsel, party
      representatives, witnesses, or experts to any employee, officer, director, and/or
      affiliate of Cantor Fitzgerald, and if so, what confidential information had been
      disclosed and to whom.

56.   By email dated June 10, 2017, the Tribunal allowed the clarifications sought by the
      Respondents.



                                      22
57.   By email dated June 12, 2017, the Claimants confirmed that "with the exception of
      those persons permitted by Procedural Orders Nos. 3 and 5 (as amended) — i.e.,
      Jonathan Rein, Christine Levett and Sandra Lu -- no employee, officer, director or
      affiliate of Cantor Fitzgerald has reviewed any Confidential Information in this
      arbitration, including the Management Fees damages analysis prepared by Mr.
      Oaten of Deloitte." The Claimants also submitted that the Respondents' concerns
      of confidentiality could be readily addressed by the redaction of confidential
      information and the exclusion of Mr. Popok from the Remedies Hearing where
      confidential information is discussed. Further, the Claimants submitted that the
      Respondents had themselves communicated with an employee of Cantor Fitzgerald
      previously to "discuss this arbitration."

58.   By email dated June 12, 2017, the Respondents clarified that the previous
      communication with the employee from Cantor Fitzgerald was made in connection
      with discussions regarding settlement. Further, the Respondents submitted that they
      had previously made clear to the Claimants that "no confidential information could
      be disclosed to Mr. Popok or any other Cantor Fitzgerald employee, save Christine
      Levett and Sandra Yu."

59.   By email dated June 14, 2017, the Tribunal, having considered the Parties' views,
      denied the Claimants' Application of June 8, 2017. The Tribunal stated that the
      relevant considerations behind PO 3 and PO 5 had not changed, in particular,
      members of Cantor Fitzgerald might find themselves in a position as being actual
      competitors of the Respondents. Further, Mr. Popok was not taking over from one
      of the persons permitted to review confidential information pursuant to the
      provisions of PO 3 and PO 5.

60.   On August 8, 2017, the Claimants sought leave to amend their request for relief in
      the Claimants' Supplemental Submission due to alleged additional misconduct by
      Respondents ("Claimants' Application of August 8, 2017"). By email of the same
      date, the Respondents acknowledged receipt of the Claimants' Application of
      August 8, 2017, and requested to have until August 31, 2017 to provide a response.

61.   By email dated August 9, 2017, the Tribunal invited Respondents to comment on
      the Claimants' Application of August 8, 2017 by August 18, 2017. The Tribunal
      considered that a three-week deadline would have been excessive given the nature
      of the Claimants' request.




                                      23
62.   By email dated August 14, 2017, the Respondents indicated that they had no
      objection to the Claimants' application to amend their request for relief in the
      Claimants' Supplemental Submission.

63.   By email dated August 15, 2017, the Tribunal granted leave for the Claimants to
      amend their request for relief in the Claimants' Supplemental Submission.

64.   On August 24, 2017, the Claimants filed their amended request for relief in the
      Claimants' Supplemental Submission ("Amended Request for Relief').

65.   On August 31, 2017, the Respondents filed their Sur-Rejoinder Memorial on
      Damages and Other Remedies ("Respondents' Sur-Rejoinder on Damages") and
      their Request for Reconsideration of the Partial Award on Liability dated August
      31, 2017 ("Request for Reconsideration"), together with the following Witness
      Declarations and Expert Reports:

      (a)    Second Supplemental Declaration of Donato C. Almeda ("Mr Almeda")
             dated August 31, 2017 ("3 rd Almeda Declaration");

      (b)    Supplemental Declaration of Gerald Angelo Emilio J. Festin dated August
             31, 2017 ("2" Festin Declaration");

      (c)    Declaration of Jorge V. Sarmiento ("Mr. Sarmiento") dated August 28,
             2017 ("Sarmiento Declaration");

      (d)    Expert Witness Statement of Carlos Baniqued dated August 31, 2017
             ("Baniqued Report");

      (e)   Expert Report of James Searby ("Mr. Searby") dated August 31, 2017
            ("Searby Report");

      (f)   Fourth Expert Report of Steven Davidoff Solomon dated August 31, 2017
            ("4"' Solomon Report");

      (g)   Expert Report of Fredric Gushin and Daniel Reeves of Spectrum Gaming
            Group dated August 31, 2017 ("Spectrum Report");

      (h)   Expert Report of Alan Tantleff ("Mr. Tantleff') in reply to Reports
            Prepared by Simon Oaten and Jan de Roos on behalf of Claimants dated
            August 31, 2017 ("2nd Tantleff Report");



                                    24
      (i)    Expert Opinion of Prof. Stef van Weeghel dated August 31, 2017 ("van
             Weeghel Report"); and

      (j)    4th Supplemental Opinion of Justice Jose C. Vitug (ret.) ("Justice Vitug";
             "4th Vitug Report").

      As noted above, the procedural history in respect of the Request for
      Reconsideration has been set out in the Decision on Reconsideration and will not
      be repeated here.

66.   By email dated September 8, 2017, the Respondents filed the Exhibits and
      Authorities for the Expert Witness Statement of Carlos G. Baniqued, which were
      not available when the Respondents' Sur-Rejoinder on Damages was submitted on
      August 31, 2017.

67.   By email dated November 24, 2017, the Tribunal invited the Parties to confer on
      the organization of the January Remedies Hearing, and to advise the Tribunal of
      the results of their consultations, including the venue of the Remedies Hearing.

68.   By email dated December 4, 2017, the Parties agreed to the Tribunal's proposal to
      move the Remedies Hearing to Washington, D.C. for health reasons of a member
      of the Tribunal.

69.   By email dated December 8, 2017, the Parties submitted their joint proposal on the
      organization of the Remedies Hearing. By email dated December 11, 2017, the
      Tribunal accepted the Parties' joint proposal.

70.   On December 14, 2017, the Claimants filed a letter to the Tribunal in support of
      their gross-up claim, purporting to "address an issue that Respondents raised for
      the first time in their Sur-Rejoinder Memorial on Damages and Other Remedies
      and their Request for Reconsideration of the Partial Award on Liability" and
      enclosing:

      (a)    Report of Frederik Gillis Barnard dated December 14, 2017 ("Barnard
             Report"); and

      (b)    Expert Report of Maria Elizabeth E. Peralta-Loriega dated December 14,
             2017 ("Peralta-Loriega Report")




                                     25
      (together, the "Claimants' Submission of December 14, 2017").

71.   On December 19, 2017, pursuant to the Tribunal's direction, the Respondents
      submitted that the Claimants' Submission of December 14, 2017 was not in
      accordance with PO 17, the UNCITRAL Rules and the Parties' agreement to
      arbitrate. The Respondents submitted that the Remedies Hearing should be
      postponed in order to allow the Respondents to have a meaningful opportunity to
      consider and be heard in respect of the Claimants' Submission of December 14,
      2017. In the alternative, the Respondents submitted that the proceedings should be
      stayed in order to allow the Parties to make a joint application to the Philippines'
      Bureau of Internal Revenue to issue guidance and/or a ruling to the Tribunal.

72.   On December 21, 2017, pursuant to the Tribunal's direction, the Claimants
      explained the reasons for the Claimants' Submission of December 14, 2017, and
      argued that they should be given the opportunity to respond to Respondents'
      "lengthy, complex expert witness reports on a never-before-raised issue" that was
      raised in the Respondents' Sur-Rejoinder on Damages (the "Claimants' Response
      of December 21, 2017"). Further, the Claimants submitted that the postponement
      of the Remedies Hearing was not warranted.

73.   On December 21, 2017, the Respondents (i) informed the Tribunal that they had
      petitioned the High Court of the Republic of Singapore to set aside the Liability
      Award (the "Singapore High Court Proceedings"), and (ii) applied to the
      Tribunal to order a stay of the Remedies Hearing, and provide for appropriate
      further written proceedings (the "Respondents' Application of December 21,
      2017").

74.   On December 22, 2017, pursuant to the Tribunal's direction, the Claimants replied
      to the Respondents' Application of December 21, 2017, and reiterated that the
      Tribunal should hold the Remedies Hearing as scheduled.

75.   By email dated December 22, 2017, pursuant to the Tribunal's direction, the
      Respondents commented on Claimants' Response of December 21, 2017,

76.   On December 22, 2017, pursuant to the Tribunal's direction, the Respondents
      furnished the High Court Originating Summons and supporting affidavit of Mr.
      Michael Nolan (collectively the "High Court Documents"). The High Court
      Documents were furnished to the Claimants on December 23, 2017, pursuant to the
      Tribunal's direction.




                                      26
77.   On December 24, 2017, the Claimants made a further submission to reiterate that
      the Remedies Hearing should proceed as scheduled.

78.   By email dated December 26, 2017, the Tribunal informed the Parties of the
      following.

       "First, from an efficient case management point of view, the Tribunal considers
       that all issues related to quantum should be dealt with together after they have been
      fully briefed, and it has decided to postpone the January hearing.

      Second, the Tribunal would be available for a 5-day hearing in Singapore May 28
      to June 1, 2018.

      Third, the Tribunal will allow further filings on the tax issue; each filing to be
      restricted to responding to what has been filed before.

      Fourth, the Tribunal invites the Parties to confer on the schedule °fillings between
      now and May 28, 2018, and inform the Tribunal no later than January 3, 2018 of
      the resulting procedural calendar. For purposes of these consultations, the Parties
      shall treat May 28 as the latest date to which the Tribunal wishes to postpone the
      hearing.

      Fifth, the last filing shall be no later than 60 days before the start of the hearing.

      Sixth, shortly after receiving the result of the Parties' consultations, the Tribunal
      will issue a reasoned procedural order."

      (the "Tribunal's Direction of December 26, 2017")

79.   On January 3, 2018, pursuant to the Tribunal's Direction of December 26, 2017,
      the Parties submitted that they were unable to agree on the schedule of filings, and
      presented their respective proposals.

80.   On January 6, 2018, by the issuance of PO 18, the Tribunal set out the calendar for
      submissions, and confirmed that each Party's filing shall be restricted to responding
      to the other party's preceding filing. Further, the Tribunal fixed the Remedies
      Hearing for the week of May 28 to June 1, 2018 in Singapore.




                                        27
81.   On February 14, 2018, pursuant to PO 18, the Respondents filed a letter enclosing
      the following Expert Reports in response to the Claimants' Submission of
      December 14, 2018:

      (a)     Expert Opinion of Professor Hugh J. Ault dated February 14, 2018 ("Ault
              Report");

      (b)     Second Expert Opinion of Prof Dr. Stef van Weeghel ("2" van Weeghel
              Report"); and

      (c)     Reply to Expert Report of Maria Elizabeth E. Peralta-Loriega by Carlos G.
              Baniqued dated February 14, 2018 ("2" Baniqued Report")

             (collectively, the "Respondents' Submission of February 14, 2018").

82.   On March 7, 2018, pursuant to PO 18, the Claimants filed the following Expert
      Reports and Declaration in response to the Respondents' Submission of February
      14, 2018:

      (a)    Declaration of James Ficarro dated March 7, 2018 ("Ficarro
             Declaration");

      (b)    Second Report of Frederik Gillis Barnard dated March 7, 2018 ("2"
             Barnard Report");

      (c)    Expert opinion of Peter Kavelaars dated March 7, 2018 ("Kavelaars
             Report"); and

      (d)    Expert Report of Maria Elizabeth E. Peralta-Loriega dated March 7, 2018
             ("2" Peralta-Loriega Report")

      (collectively, the "Claimants' Submission of March 7, 2018").

83.   On March 28, 2018, pursuant to PO 18, the Respondents filed a letter enclosing the
      following Expert Reports in response to the Claimants' Submission of March 7,
      2018:

      (a)    Second Expert Opinion of Professor Hugh J. Ault dated March 28, 2018
             ("2" Ault Report");




                                      28
      (b)     Third Expert Opinion of Prof. Dr. Stef van Weeghel dated March 28, 2018
              ("3rd van Weeghel Report"); and


      (c)     Sur-Reply to Second Expert Report of Maria Elizabeth E. Peralta-Loriega
              dated March 7, 2018 by Carlos G. Baniqued dated March 28, 2018 ("3 rd
              Baniqued Report")

      (collectively, the "Respondents' Submission of March 28, 2018").

84.   By email dated February 8, 2018, the Tribunal directed the Parties to confer and
      agree upon (i) the timetable for the Remedies Hearing, (ii) a program for the
      presentation of witnesses, ensuring that the five hearing days scheduled are
      adequate, and (iii) whether witness conferencing of expert witnesses should be
      employed. Further, the Tribunal requested that the Parties' witnesses testifying on
      similar issues produce a Redfern-styled document setting out the agreed list of
      issues, and the differing views of the experts on each issue of contention.

85.   On February 28, 2018, the Parties informed the Tribunal that they were unable to
      reach agreement on items (i)—(iii) mentioned at paragraph 84 above. First, the
      Respondents requested that the Parties be permitted to confer on items (i) and (ii)
      mentioned at paragraph 84 above after the Claimants' March 7, 2018 submission.
      This was, in turn, challenged by the Claimants. Second, while the Respondents
      were amenable to witness conferencing, the Claimants were of the view that
      conferencing of expert witnesses should not be employed.

86.   On March 6, 2018, the Tribunal directed the Parties to continue to confer, and
      inform the Tribunal of the results of their consultations.

87.   On March 14, 2018, the Parties informed the Tribunal that they were in agreement
      on items (i) and (ii) mentioned at paragraph 84 above. However, the Parties were
      unable to reach agreement on item (iii) at the same paragraph. The Claimants
      submitted that "conferencing of expert witnesses need not be employed, primarily
      due to the efficiency of standard cross-examination in eliciting areas of concern."
      On the other hand, the Respondents submitted that they were "amenable to witness
      conferencing, provided that the Parties agree on a defined list of issues pursuant
      to which conferencing will proceed and adequate time for cross-examination is
      separately allowed in respect of the witnesses." Further, the Parties submitted that
      they were amenable to holding the Remedies Hearing in Washington D.C.




                                       29
88.       On March 16, 2018, the Tribunal directed the Parties to confer further on the matter
          of expert witness conferencing, and inform the Tribunal of the results of their
          consultations. The Tribunal also confirmed that it was amenable to holding the
          Remedies Hearing in Washington D.C.

89.       On March 23, 2018, the Parties confirmed their agreement with the Tribunal's
          suggestion that "experts meet before the hearing and prepare an agreed list of
          issues, and summaries of their opinions on those issues" and "Counsel may then
          use the schedule of issues and summaries as a basis for their cross-examination."
          The Parties submitted the following proposed schedule ("Proposed Schedule").

       (i)       Expert witnesses to complete pre-hearing meetings (either in-person or
                 telephonic, depending on the needs of the experts) by April 17, 2018;

      (ii)       Expert witnesses to complete agreed list of issues by May 1, 2018;

      (iii)      Expert witnesses to complete summaries of opinions on agreed list of issues
                 by May 15, 2018; and

      (iv)       Parties jointly submit their schedule of issues and summaries to the Tribunal
                 by May 16, 2018.

90.       By email dated March 23, 2018, the Tribunal acknowledged receipt of the Proposed
          Schedule, and indicated that a new procedural order would be issued to reflect the
          Parties' agreement.

91.       By email dated March 29, 2018, the Claimants requested confirmation on whether
          the Proposed Schedule submitted to, and acknowledged by the Tribunal,
          superseded the Tribunal's prior direction of February 8, 2018. By email dated April
          2, 2018, the Tribunal confirmed that the prior direction had been superseded.

92.       On March 30, 2018, by the issuance of PO 20, the Tribunal consolidated and fixed
          the logistics for the Remedies Hearing. By email of the same date, the Tribunal
          directed the Parties to confer on and confirm the following items in PO 20
          (including the dates as set out): (i) venue of the Remedies Hearing (paragraph 1 of
          PO 20); (ii) examination of witnesses and experts (paragraph 9(c)i of PO 20); (iii)
          deadline for the designation of party representatives (paragraph 11 of PO 20); and
          (iv) deadline and location with regard to documents to be used at the Remedies
          Hearing (paragraph 12 of PO 20).




                                          30
93.   On April 4, 2018, the Parties submitted their confirmation on items (i) to (iii)
      mentioned at paragraph 92 above. However, the Parties were unable to agree on the
      deadline for the exchange of documents that were not previously submitted in the
      record. While the Claimants agreed to the deadline originally set by the Tribunal
      for May 17, 2018, Respondents proposed May 3, 2018 to be the deadline, but with
      a "proviso that to the extent either Party believes that additional documents are
      necessary in light of the exchange of expert summaries on May 16, those additional
      documents could be exchanged on May 17."

94.   On April 10, 2018, by the issuance of PO 21, the Tribunal amended paragraph 12(d)
      of PO 20 as follows:

      "1. Deadline for the exchange of documents not previously submitted in the record.

      Paragraph 12(d) of Procedural Order No. 20 is to be amended to read.•

      (d) Any additional documents not previously submitted in the record shall be
      provided to the other Party by 3 May, 2018, subject to the exceptions below:

      i.     Documents which the relevant Party, on 3 May, 2018, had indicated to the
             Tribunal that they will be producing on 17 May, 2018.

      ii.    New documents which surfaced as a result of the 10 May, 2018 expert
             meeting.

      In the event that any of these exceptions is applicable, the further documents shall
      be produced by 17 May, 2018. The Parties' use of additional documents to be
      exchanged on 3 May and 17 May, 2018 is to be limited to cross-examination or
      rebuttal. The Parties may use documents previously submitted in the record."

95.   By email dated April 2, 2018, the Claimants sought permission from the Tribunal
      to address the Respondents' allegation in the Respondents' Submission of March
      28, 2018, that the Claimants violated the Tribunal's orders on confidentiality. By
      email dated April 3, 2018, the Tribunal granted the request, and the Claimants'
      response was submitted on April 5, 2018 ("Claimants' Response of April 5,
      2018").

96.   By email dated April 6, 2018, the Respondents sought permission from the Tribunal
      to respond to the Claimants' Response of April 5, 2018. By email dated April 9,




                                       31
       2018, the Tribunal granted the request, and the Respondents' response was
       submitted on April 11, 2018.

97.    On April 12, 2018, the Claimants applied to the Tribunal to (i) direct the
       Respondents to update the Respondents' Document Production of February 6, 2017
       to include the latest non-public information available regarding Solaire's financial
       performance, or (ii) if the Respondents refuse to do so, to preclude the Respondents
       from using that information at the Remedies Hearing (the "Claimants'
       Application of April 14, 2018").

98.    By email dated April 14, 2018, the Tribunal granted permission for the Respondents
       to reply to the Claimants' Application of April 14, 2018. On April 17, 2018, the
       Respondents submitted that there was no reason for the Tribunal to order a
       production of documents or a blanket prohibition against the Respondents' use of
       that information.

99.    By email dated April 19, 2018, the Tribunal (i) denied the Claimants' application
       that the Respondents be ordered to update the Respondents' Document Production
       of February 6, 2017 to include the latest non-public information available regarding
       Solaire' s financial performance, and (ii) ordered that the Respondents be precluded
       from using that information in the Remedies Hearing, as the Tribunal had
       previously decided only to allow further filings related to the tax issue.

100.   By email dated April 13, 2018, Claimants applied to the Tribunal for a three-day
       extension to the deadline for the expert witnesses to complete their pre-hearing
       meetings. By email dated April 15, 2018, the Tribunal granted the extension.

101.   By email dated April 16, 2018, the Respondents submitted that the Parties were
       unable to agree on the approach for the preparation of the experts' joint issue lists.
       While the Respondents were of the view that it was better for the preparation to be
       done without the involvement of counsel, the Claimants indicated that it was
       appropriate for counsel to review the experts' joint issue lists and summaries of
       opinion prior to their completion.

102.   By email dated April 19, 2018, the Tribunal ordered that the experts shall have their
       meeting and produce their joint issue lists without the involvement of counsel.
       However, the experts may report to counsel after their meeting.

103.   By email dated May 4, 2018, the Claimants notified the Tribunal that they will be
       producing the first-quarter financial results of BRC, together with independent



                                        32
       industry analyst reports discussing those results on May 17, 2018. By email dated
       May 6, 2018, the Respondents submitted that they reserved their rights with respect
       to the Claimants' notice of intent to submit new financial data and analysis, so as
       to ensure that they will be given an opportunity to be heard before the use of those
       materials.

104.   On May 16, 2018, the Parties submitted their experts' summaries and lists of issues
       ("Experts' Issue Summaries"). For convenience, these are set out below.

105.   The Claimants submitted 8 summaries from their experts, with one set of
       appendices:

       (a)    Joint Statement of Matters of Expert Agreement and Disagreement —
              Professor Jan de Roos (on behalf of Claimants) and Alan Tantleff (on behalf
              of Respondents) dated May 15, 2018 ("Claimants' de Roos-Tantleff
              Summary");

       (b)    Summary of Expert Opinion Regarding Issues of Agreement, Difference,
              and Disagreement between Joseph P. Kalt, PhD and James Searby by
              Joseph P. Kalt, PhD dated May 15, 2018, enclosing Appendices A and B
              ("Claimants' Kalt-Searby Summary");

       (c)    Schedule of summaries of opinions of Frederick Gillis Barnard and Peter
              Kavelaars ("Claimants' Barnard/Kavelaars Summary");

       (d)    Schedule of Chief Justice Reynato S. Puno's summaries of opinion
              ("Claimants' Puno Summary");

       (e)    Schedule of Maria Elizabeth E. Peralta-Loriega's summaries of opinion
              ("Claimants' Peralta-Loriega Summary");

       (f)    Schedule of Guhan Subramanian's summaries of opinion ("Claimants'
              Subramanian Summary");

       (g)    Summary of Opinions of Simon Oaten on List of Issues agreed with Alan
              Tantleff dated May 15, 2018 ("Claimants' Oaten-TantleffSummary"); and

       (h)    Summary of Opinions of Simon Oaten on List of Issues agreed with James
              Searby dated May 15, 2018 ("Claimants' Oaten-Searby Summary").

106.   The Respondents submitted 9 summaries from their experts:


                                       33
       (a)     List of Experts' Issues and Summaries of Opinions by Stef van Weeghel
               and Hugh Ault ("Respondents' van Weeghel/Ault Summary");

       (b)     Summary of Opinion on Agreed List of Issues by Carlos G. Baniqued dated
               May 15, 2018 ("Respondents' Baniqued Summary");

       (c)     Summary of Opinions of Justic Jose C. Vitug dated May 16, 2018
               ("Respondents' Vitug Summary");

       (d)     Summary of Expert Opinion Regarding Issues of Agreement, Difference,
               and Disagreement between Joseph P. Kalt, PhD and James Searby by James
               Searby dated May 15, 2018 ("Respondents' Kalt-Searby Summary");

       (e)    Joint Statement of Matters of Expert Agreement and Disagreement Simon
              Oaten (on behalf of Claimants) and James Searby (on behalf of
              Respondents) dated May 15, 2018 ("Respondents' Oaten-Searby
              Summary");

       (f)    Solomon-Subramanian Scope of Disagreement ("Respondents' Solomon-
              Subramanian Summary");

       (g)    Summary of Expert Opinions of Fredric Gushin and Daniel Reeves of
              Spectrum Gaming Group ("Respondents' Gushin/Reeves Summary");

       (h)    Joint Statement of Matters of Expert Agreement and Disagreement
              Professor Jan de Roos (on behalf of Claimants) and Alan Tantleff (on behalf
              of Respondents) dated May 15, 2018 ("Respondents' de Roos-Tantleff
              Summary"); and


       (i)    Joint Statement of Matters of Expert Agreement and Disagreement Simon
              Oaten (on behalf of Claimants) and Alan Tantleff (on behalf of
              Respondents) dated May 15, 2018 ("Respondents' Oaten-Tantleff
              Summary").

107.   On May 16, 2018, the Respondents applied to the Tribunal for the postponement of
       the Remedies Hearing in its entirety, or at the minimum, to have the oral
       examination of the Parties' valuation experts (i.e., Mr. Oaten and Prof Kalt for the
       Claimants; Mr. Tantleff and Mr. Searby for the Respondents) conducted at a later
       hearing ("Respondents' Application of May 16, 2018"). The Respondents



                                       34
       submitted that the matters described by the Claimants' expert, Mr. Oaten, in his
       May 16, 2018 summary (citing portions from the Claimants' Oaten-Tantleff
       Summary set out in Exhibit A to the Respondents' Application of May 16, 2018)
       `fundamentally departsfrom his prior testimony." The Respondents submitted that
       without the adjustment sought, the Respondents would have no ability to confront
       new principal evidence supporting the Claimants' valuation.

108.   On May 18, 2018, pursuant to the Tribunal's directions, the Claimants objected to
       the Respondents' application to postpone the Remedies Hearing. The Claimants
       submitted that the matters described in Claimants' Oaten-Tantleff Summary were
       not new, and were previously addressed in his reports dated June 15, 2015 and May
       15, 2017.

109.   By its email dated May 18, 2018, the Tribunal observed that "a summary testimony
       of an expert by its very nature should not depart from the reports on which it is
       based and these reports shall be the documents on which the expert shall be
       examined" Therefore, the Tribunal considered that postponement of the Remedies
       Hearing was not justified, and ordered that the Remedies Hearing be held as
       scheduled.

110.   On May 20, 2018, the Respondents reiterated their position that the Claimants'
       Oaten-Tantleff Summary should not be included in arguments by counsel, or the
       oral testimony of fact witnesses or other experts. The Respondents submitted that
       the various new matters described in the Claimants' Oaten-Tantleff Summary had
       to be considered in the light of paragraph 1.1(a) of Annex I of the MSA.

111.   On May 23, 2018, the Tribunal instructed the Parties to refrain from referring to the
       various segments of the Claimants' Oaten-Tantleff Summary, as highlighted in
       Exhibit A of Respondents' Application of May 16, 2018, in their arguments or
       cross-examination of experts or fact witnesses at the Remedies Hearing
       ("Tribunal's Instruction of May 23, 2018").

112.   On May 19, 2018, the Claimants applied to the Tribunal to (i) direct the
       Respondents to present Mr. Enrique K. Razon ("Mr. Razon") for examination at
       the Remedies Hearing, or (ii) if Mr. Razon refused to appear, to disregard Mr.
       Razon's witness statements and prior hearing testimony ("Claimants' Application
       of May 19, 2018").

113.   On May 21, 2018, pursuant to the Tribunal's directions, the Respondents submitted
       that Claimants' Application of May 19, 2018 should be denied. Respondents argued



                                        35
       that Mr. Razon had not submitted any witness statement for the Remedies Hearing,
       and that Claimants have had the opportunity to cross-examine Mr. Razon regarding
       the content of his prior statements during the hearing on liability in October 2015.

114.   On May 23, 2018, the Tribunal denied Claimants' Application of May 19, 2018.
       The Tribunal noted that Claimants had already cross-examined Mr. Razon on his
       prior statements during the hearing on liabilities, and no new witness statement of
       Mr. Razon had been submitted for the Remedies Phase.

115.   By email dated May 23, 2018, the Parties sought leave to present the Claimants'
       expert Justice Puno, and the Respondents' expert Justice Vitug, for examination at
       the Remedies Hearing via video conference. The Claimants also sought leave to
       present their expert, Mr. Peter Kavelaars, for examination via video conference.
       The Tribunal decided by email dated May 24, 2018 that it had no objection to the
       examination of witnesses via video conference.

116.   By email dated May 23, 2018, the Claimants submitted their list of witnesses and
       experts, and the order in which they would be presented at the Remedies Hearing
       ("Claimants' Submission of May 23, 2018"). By email of the same date, the
       Respondents submitted that the Claimants' Submission of May 23, 2018 was not in
       accordance with PO 20, and argued that expert witness conferencing was
       previously ordered pursuant to PO 20 ("Respondents' Response of May 23,
       2018").

117.   By email dated May 24, 2018, the Claimants objected to the Respondents'
       Response of May 23, 2018 ("Claimants' Response of May 24, 2018"). By email
       of the same date, the Respondents replied to the Claimants' Response of May 24,
       2018 stating that it "is amenable to proceeding with or without witness
       conferencing in the Remedies Hearing." By email dated May 25, 2018, the Tribunal
       noted that since the Respondents had expressed their willingness to proceed without
       witness conferencing, the hearing would proceed without witness conferencing.

118.   By emails dated May 26, 2018, the Claimants confirmed that their Party
       Representative to the hearing would be Mr. William P. Weidner, while the
       Respondents confirmed that their Party Representative would be Mr. Almeda.

G.     Matters in relation to Claimants' application to direct Respondents to cease
       actions opposing the implementation of the IM Order




                                       36
119.    On December 28, 2017, the Claimants applied to the Tribunal to "direct
       Respondents to cease opposing implementation of the Interim Measures Order in
       the Philippines Courts and take all steps necessary (including directing their agent
       and controlling shareholder Prime Metroline Holdings Inc. to cooperate) to file a
       motion to withdraw the original petition in the Philippine Regional Trial Court"
       (the "Claimants' Application of December 28, 2017"). The Claimants submitted
       that, inter alia, the RTC-Makati was mistaken in considering the IM Order as an
       arbitral award subject to recognition and enforcement proceedings. Instead, the
       Claimants submitted that the IM Order was "self-executing" and did not require
       enforcement or recognition by the Philippine courts.

120.   On January 5, 2018, the Respondents objected to the Claimants' Application of
       December 28, 2017. The Respondents submitted, inter alia, that the Claimants had
       failed to initiate recognition and enforcement proceedings of the IM Order and
       Liability Award before the RTC-Makati.

121.   On January 16, 2018, by the issuance of PO 19, the Tribunal denied the Claimants'
       Application of December 28, 2017. The Tribunal was of the view that the Liability
       Award had appropriately addressed the issues in relation to the title of the Shares,
       and the Tribunal did not consider it appropriate at that stage of the proceedings to
       make further orders on the matter while it was before the Philippine courts.

H.     The Remedies Hearing

122.   On May 28, 2018, the Tribunal commenced the Remedies Hearing in Washington
       D.C., and concluded the Remedies Hearing on June 1, 2018.

123.   On May 29, 2018, the Respondents wrote to the Tribunal by way of email to "make
       a record of Bloomberry's objection to Claimants' reference in their Opening
       Presentation for the Remedies Hearing to the new arguments made by Mr. Oaten
       in his "summaries" of opinion," which they contend "has deprived Bloomberry of
       its ability to confront the principal evidence supporting the two main drivers of
       Claimants' valuation model and to develop a factual record to contend with Mr.
       Oaten's new opinions, which Claimants have now advocated in the oral
       proceedings in disregard of the Tribunal's direction, implicate Paragraph 1.1(a)
       of Annex I (Expert Resolution) of the MSA."

124.   On May 30, 2018, the Presiding Arbitrator confirmed the Tribunal's Instruction of
       May 23, 2018 before the start of the hearing day, and clarified that this instruction
       did not tie the hands of the Tribunal in interpreting the MSA.



                                        37
I.     Matters relating to issues after the conclusion of the Remedies Hearing

125.   By way of an email dated June 4, 2018, the Presiding Arbitrator confirmed "the
       Tribunal's request to the Parties to provide to the Tribunal a list of issues to be
       decided. The list should be devoid of argument or submissions, should not exceed
       ten pages with 1.5 line spacing and be received by the Tribunal no later than June
       30, 2018."

126.   On June 12, 2018, the Claimants sent a letter to the Tribunal alleging that their
       representatives had been turned away from BRC's annual meeting, and requesting
       that "the Tribunal take into account this recent development in assessing GGAM's
       damages arisingfrom Bloomberry's continued hindering and blocking of GGAM's
       rights in relation to its shares."

127.   By email dated June 14, 2018, the Tribunal invited the Respondents to provide
       comments to the Claimants' letter dated June 12, 2018.

128.   By email dated June 16, 2018, the Claimants submitted their Errata Sheet pursuant
       to Clause 13 of PO 20.

129.   On June 18, 2018, the Respondents provided their comments to the Claimants'
       letter dated June 12, 2018 pursuant to the Tribunal's invitation dated June 14, 2018
       by way of letter.

130.   By email dated June 26, 2018, the Claimants submitted "the record citations that
       support the chart on page 89 of Claimants' Opening Argument slides... which
       compares the bad debts (shown as a percentage of VIP gaming revenues) reported
       by Solaire with those of comparable resorts in Macau from 2013 to 2017."

131.   By email dated June 29, 2018, the Claimants submitted a letter dated June 29, 2018
       attaching a document titled "GGAM SHARE DAMAGES CALCULATIONS
       REQUESTED BY THE TRIBUNAL AT THE REMEDIES PHASE HEARING" (also
       dated June 29, 2018) (the "Claimants' Letter of June 29, 2018"). The document
       was prepared by Prof Kalt purportedly in relation to a comment that a member of
       the Tribunal had made at the Remedies Hearing ("Prof Kalt's Calculations of
       June 29, 2018").




                                       38
132.   By email dated June 30, 2018, the Claimants submitted their post-hearing List of
       Issues to be decided by the Tribunal (the "Claimants' Post-Hearing List of
       Issues").

133.   By email dated June 30, 2018, the Respondents submitted their post-hearing List
       of Issues to be decided by the Tribunal (the "Respondents' Post-Hearing List of
       Issues").

134.   On July 3, 2018, the Tribunal invited the Respondents' comments on the Claimants'
       Letter of June 29, 2018 by July 10, 2018.

135.   On July 10, 2018, the Respondents provided their comments on the Claimants'
       Communication of June 29, 2018 by way of email (the "Respondents' Letter of
       July 10, 2018"). In the Respondents' Letter of July 10, 2018, the Respondents
       submitted that Prof Kalt's Calculations of June 29, 2018 should be rejected, and the
       Respondents annexed a document titled "Updated Calculations Relating to
       Claimants' Shares in Bloomberry Resorts Corporation" prepared by James Searby
       ("Searby's Calculations of July 10, 2018").

136.   By email dated August 23, 2018, the Claimants requested leave from the Tribunal
       to submit a short response to the Respondents' Letter of July 10, 2018.

137.   By email dated August 23, 2018, the Tribunal granted the Claimants' request for
       leave to reply to the Respondents' Letter of July 10, 2018. The Tribunal further
       provided that the Respondents may submit comments on such reply no later than
       10 days after receipt of the Claimants' reply.

138.    On August 24, 2018, the Claimants provided their comments on the Respondents'
       Letter of July 10, 2018 by way of letter (the "Claimants' Letter of August 24,
       2018").

139.   By email dated August 28, 2018, the Respondents requested an extension of time
       to reply to the Claimants' Letter of August 24, 2018, and an opportunity to respond
       by September 14, 2018. By email dated August 29, 2018, the Tribunal granted the
       Respondents' requested extension of time.

140.   On September 14, 2018, the Respondents provided its response to the Claimants'
       Letter of August 24, 2018 (the "Respondents' Letter of September 14, 2018"),
       which enclosed a further memo from Mr Searby ("Searby's Memo of September
       14, 2018").



                                       39
141.   On February 4, 2019, the Presiding Arbitrator wrote to the Parties on behalf of the
       Tribunal, requesting (a) updated information; and (b) the assistance of the Parties'
       experts to provide updated calculations of GGAM's lost management fees based
       on parameters set out by the Tribunal (the "Tribunal's Directions of February 4,
       2019"). The Tribunal set a deadline of February 19, 2019 to submit the updated
       information requested, and a deadline of March 5, 2019 for the Parties' experts to
       submit updated calculations of the lost management fees based on parameters set
       out by the Tribunal in its email.

142.   On February 18, 2019, the Respondents wrote to the Tribunal, requesting for an
       extension until March 18, 2019 to provide the financial information requested by
       the Tribunal (see paragraph 141 above) on the basis that "Mt this point in the
       calendar year, Bloomberry's representatives are and need to be focused on year-
       end financial reporting and audit deadlines." On the same day, the Claimants
       responded, objecting to the requested extension on the basis that "[t]here is no good
       reason that Bloomberry cannot provide its Financial Books, since that is financial
       information prepared monthly as part of Solaire's regular business operations.
       Nor is there any good reason for Bloomberry to have waited two weeks to inform
       the Tribunal that, because of its regular financial reporting schedule, it needs
       another full month to provide that information," and requesting that the Tribunal
       require the Respondents to adhere to the original schedule.

143.   On February 19, 2019, the Parties both submitted various information to the
       Tribunal pursuant to the Tribunal's Directions of February 4, 2019. In the
       Respondents' submission of updated information, the Respondents reiterated their
       request for an extension until March 18, 2019 to submit the further information
       requested by the Tribunal (i.e. Solaire's Financial Books).

144.   On February 20, 2019, the Presiding Arbitrator wrote to the Parties on behalf of the
       Tribunal to: (a) note that only the information pertaining to Solaire's Financial
       Books remained outstanding; (b) request that the Respondents also provide the
       daily price of the Shares for the month of April (in addition to March); and (c)
       extend the deadline for the Respondents' submission of Solaire's Financial Books
       by 1 week to February 26, 2019. The Tribunal also made a further consequential
       extension to allow the Parties to submit their experts' further calculations by March
       12, 2019.




                                        40
145.   On February 26, 2019, the Respondents made a further supplemental production of
       documents pursuant to the Tribunal's Directions of February 4, 2019 and the
       Tribunal's further directions of February 20, 2019.

146.   On March 8, 2019, the Claimants submitted an application for a one-week
       extension of time to submit its experts' updated calculations in order to take into
       account Bloomberry Resorts Corporation's year-end and fourth-quarter financial
       results.

147.   On March 9, 2019, the Respondents wrote to the Tribunal, objecting to the
       Claimants' request for extension of time to submit the updated calculations on the
       basis that "there is no data about Solaire's historical financial results that is
       contained in BRC's Financial Statements and/or analyst reports that is not also
       contained in Solaire's Financial Books."

148.   On March 11, 2019, the Tribunal wrote to the Parties denying the Claimants'
       request for an extension of time to submit its experts' updated calculations.

149.   On March 12, 2019, the Parties submitted their experts' updated calculations
       pursuant to the Tribunal's Directions of February 4, 2019 (each expert's "Updated
       Calculations of March 12, 2019").

150.   On March 20, 2019, the Respondents made an application to the Tribunal,
       requesting that it either "strike from the record the March 12, 2019 supplemental
       expert reports ofMr. Oaten and Mr Kalt," or, in the alternative, "allow Bloomberry
       to make a further written submission so that it can, for the first time, be afforded
       an opportunity to address Mr. Oaten's new opinions, as well as the new
       calculations that Mr. Oaten and Mr. Kalt have now improperly made based on
       those new opinions" (the "Respondents' Application of March 20, 2019"). The
       Respondents' application was based on the Claimants' experts allegedly
       contravening the Tribunal's order of May 28, 2018.

151.   On March 21, 2019, the Tribunal invited the Claimants to comment on the
       Respondents' Application of March 20, 2019 by March 26, 2019.

152.   On March 26, 2019, the Claimants responded to the Respondents' Application of
       March 20, 2019 pursuant to the Tribunal's invitation above.

153.   On March 28, 2019, the Respondents made a further submission in response to the
       Claimant's response. On the same day, the Claimants made a further submission in



                                       41
       response to the Respondents' further submission, which the Respondents again
       briefly responded to on the same day.

154.   On March 29, 2019, the Tribunal granted the Respondents leave to file, by no later
       than April 8, 2019, written submissions in response to the reports of Mr. Oaten and
       Prof. Kalt.

155.   On April 2, 2019, the Tribunal requested the Parties to refrain from sending
       submissions to the Tribunal unless requested or authorized by the Tribunal.

156.   On April 8, 2019, the Respondents submitted its written submissions in response to
       the supplemental reports of Mr. Oaten and Mr. Kalt pursuant to the Tribunal's
       directions of March 29, 2019.

157.   On April 11, 2019, the Claimants requested "authorization from the Tribunal to
       report on Bloomberry's refusal to allow GGAM's duly appointed representative to
       attend and vote at the annual shareholders' meeting of Bloomberry Resorts
       Corporation."

158.   On April 12, 2019, the Tribunal granted the Claimants leave to report on the issue
       set out at paragraph 157 above to the Tribunal by no later than April 16, 2019. The
       Tribunal also granted leave to the Respondents to comment on said report by no
       later than April 19, 2019 (the "Tribunal's Directions of April 12, 2019").

159.   On April 16, 2019, the Claimants submitted their report to the Tribunal pursuant to
       the Tribunal's Directions of April 12, 2019 (the "Claimants' Report of April 16,
       2019").

160.   On April 19, 2019, the Respondents requested a short extension until April 22, 2019
       to submit its response to the Claimants' Report of April 16, 2019, on account of the
       fact that it was Holy Week in the Philippines. This request was granted by the
       Tribunal.

161.   On April 22, 2019, the Respondents submitted their response to the Claimants'
       Report of April 16, 2019.

162.   On August 6, 2019, the Tribunal directed that the Parties (a) make supplementary
       deposits; (b) submit costs schedules and submissions; and (c) confirm which
       Deutsche Bank entity holds GGAM Philippines' 921,184,056 shares in Bloomberry
       Resorts Corporation, as well as the dividends declared thereon; and (d) confirm the



                                       42
       final, exact amount of undistributed dividends held by Deutsche Bank (the
       "Tribunal's Direction of August 6, 2019").

163.   On August 21, 2019, the Parties filed letters in response to the Tribunal's Direction
       of August 6, 2019 (each Party's "Letter of August 6, 2019"), as well as submitted
       their costs schedules and submissions (each Party's "Costs Schedule" and "Costs
       Submissions").

164.   The Tribunal has considered whether or not it would be necessary to declare the
       hearings closed pursuant to Article 31(1) of the UNCITRAL Rules 2010. In the
       present circumstances, and having regard to the fact that the power to close the
       hearings is discretionary, the Tribunal considers that it will not be necessary in this
       case to exercise its discretionary powers under Article 31(1).

J.      Other Procedural Matters

165.   By email dated January 20, 2017, the Tribunal proposed, and the Parties thereafter
       consented to, the appointment of Mr. Byron V Karuppiah as its Secretary in place
       of Mr. Divyesh Menon.

166.   By email dated June 29, 2018, the Tribunal proposed, and the Parties thereafter
       consented to, the appointment of Mr. Chan Min Jian as its Secretary in place of Mr.
       Byron V Karuppiah.

167.   The Tribunal has not included the Parties' various updates on the various court
       proceedings in Singapore, Hong Kong, and the Philippines as it is the Tribunal's
       view that they do not pertain to the procedural history of this arbitration.




                                        43
IV.   RELIEF SOUGHT BY THE PARTIES

      168.   In the Claimants' Amended Request for Relief (which amendment was not opposed
             by the Respondents (see paragraphs 60 to 64 above)), the Claimants request that
             the Tribunal issue an award:

             (a)           of monetary damages to GGAM for Respondents' breach of the MSA and
                           Respondents' wrongful restriction of GGAM' s sale of its BRC Shares in the
                           following amounts:

                    (i)          the Management Fee in the amount of US$ 263,238,746.

                    (ii)          Pre-Termination Fees in the amount of US$ 568,180.

                   (iii)          a gross-up of damages to account for GGAM's exemption from the
                                  Philippine withholding tax in the amount of US$ 112,900,100.

                    (iv)          the full value of the Shares in the amount of US$ 383,472,464.

                    (v)           GGAM's attorneys' fees, costs and expenses to be calculated and
                                  submitted to the Tribunal at the time of the January 8, 2018 hearing
                                  on the matters reserved for the Remedies Phase.

                   (vi)           post-Award interest for each day payment in full of the Award is
                                  past due and compounded monthly, at the interest rate of 50 basis
                                  points per month or at six percent (6%) per annum, as permitted
                                  under Article 20 of the Singapore International Arbitration Act.

                   (vii)          the Claimants quantify their total monetary damages (excluding
                                  attorneys' fees, costs and expenses to be calculated at a later date) at
                                  US$ 760,179,490, and ask for post-Award compound interest.

             (b)          the following relief:

                     (i)         an order directing Respondents to take all steps necessary
                                 (including directing their agent and controlling shareholder
                                 PMHI to cooperate) to file a motion to withdraw the original
                                 Petition seeking the writs of preliminary injunction and
                                 attachment in the Regional Trial Court within seven (7) days
                                 of the date of issuance of the Tribunal's Award;



                                                    44
               (ii)      an order directing Respondents to take all steps necessary (including
                         directing their agent and controlling shareholder PMHI to
                         cooperate) to issue the joint press release in substantially the same
                         form set forth in Annex A hereto, to be modified based on the
                         Tribunal's Award, within seven (7) days of the date of issuance of
                         the Tribunal's Award; and

              (iii)      an order directing Respondents to, within seven (7) days of the date
                         of issuance of the Tribunal's Award, take all steps necessary
                         (including directing their agent and controlling shareholder PMHI
                         to cooperate) to instruct the Philippine Depository & Trust
                         Corporation, the Philippine Stock Exchange, Deutsche Bank and the
                         market that GGAM has free and clear title to the Shares and the
                         absolute right to sell the Shares, and to instruct Deutsche Bank to
                         transfer the Shares to an unrestricted trading account.

              (iv)       an order directing Respondents to, within seven (7) days of the date
                         of issuance of the Tribunal's Award, submit a certified letter from
                         their affiliate Bloomberry Resorts Corporation addressed to
                         Deutsche Bank that states as follows:

                                "Bloomberry Resorts Corporation, Bloomberry Resorts and
                                Hotels, Inc., Sureste Properties, Inc. and Prime Metroline
                                Holdings, Inc. have no objection to Deutsche Bank AG' s
                                immediate release of all dividends paid by Bloomberry
                                Resorts Corporation for the account of Global Gaming
                                Philippines LLC."

169.   The Claimant also made the following submissions at paragraphs 331 to 332 of its
       Supplemental Submission:

        331. To implement the Constructive Remedy, the Tribunal should order the
       following injunctive and declaratory relief that wouldpermit GGAM to transfer the
       Shares:

        (i)      an order directing Respondents to take all steps necessary (including
                 directing their agent and controlling shareholder PMHI to cooperate) to
                 file a motion to withdraw the original Petition in the Regional Trial Court
                 within seven (7) days of the date of issuance of the Tribunal 's Award;



                                          45
 (ii)   an order directing Respondents to take all steps necessary (including
        directing their agent and controlling shareholder PMHI to cooperate) to
        issue the joint press release in substantially the sameform setforth in Annex
        A hereto, to be modified based on the Tribunal's Award, within seven (7)
        days of the date of issuance of the Tribunal 's Award; and

(iii)   an order directing Respondents to take all steps necessary (including
        directing their agent and controlling shareholder PMHI to cooperate) to
        instruct the Philippine Depository & Trust Corporation, the Philippine
        Stock Exchange, Deutsche Bank and the market that GGAM has free and
        clear title to the Shares and the absolute right to sell the Shares, and to
        instruct Deutsche Bank to transfer the Shares to an unrestricted trading
        account.

332. The Tribunal should also order the following relief

 (iv)   an order directing Respondents to pay to GGAM the damages amount of
        US$ 383,472,464 within thirty (30) days of the date of issuance of the
        Tribunal 's Award; and

 (v)    an order directing Respondents to, within thirty (30) days of the date of the
        issuance of the Tribunal 's Order, notifi GGAM if Respondents elect to have
        GGAM transfer ownership of the Shares to Respondents or to Respondents'
        designee, as instructed by Respondents, upon Respondents ' payment in full
        of the damages amount (the "Transfer Election"); and

(vi)    an order directing GGAM, if Respondents notify GGAM of the Transfer
        Election within thirty (30) days of the date of the issuance of the Tribunal 's
        Award, to transfer ownership of the Shares to Respondents or to
        Respondents' designee, as instructed by Respondents, within ten (10)
        business days of Respondents ' payment in full of the damages amount of
        US$ 383,472,464; and

(vii)   an order directing, declaring and providing that, if Respondents do not
        notify GGAM of the Transfer Election within thirty (30) days of the date of
        the issuance of the Tribunal's Award, GGAM may sell its Shares on the
        market (the "Share Sale"); and




                                  46
            (viii)          an order directing GGAM to pay to Respondents the net proceeds of the
                            Share Sale (i.e., the proceeds of the Share Sale net of any and all expenses
                            GGAM incurs in connection with the Share Sale) within five (5) business
                            days of completion of the Share Sale provided that Respondents have made
                            payment in full of the damages amount of US$ 383,472,464 set forth in
                            subpart (i) above.

    170.     The Respondents request the Tribunal to award the following remedies:2

            (a)             If the Tribunal annuls the Management Services Agreement (the "MSA"),
                            including the equity option granted therein, due to GGAM's causal fraud;
                            or, in the alternative, finds that Respondents rightfully ended the MSA due
                            to GGAM's material breach of its obligations thereunder:

                     (i)           Deny Claimant GGAM Netherland's request for monetary damages
                                   for Management Fees;

                     (ii)          Deny Claimant GGAM Netherland's request for a "gross-up" of
                                   damages to account for Philippine withholding tax;

                  (iii)            Deny Claimant GGAM Philippines' request for monetary damages
                                   for Pre- Termination Fees;

                  (iv)             Deny Claimant GGAM Philippines' request for monetary damages
                                   related to the Shares;

                     (v)           Grant Respondents monetary damages for all pre- opening and post-
                                   opening management fees and reimbursable expenses previously
                                   paid by Respondents to GGAM and further as the Tribunal deems
                                   fit; and

                  (vi)             Order GGAM to transfer the 921,184,056 shares in Bloomberry
                                   Resorts Corporation (the "Shares") to Respondents on behalf of
                                   Prime Metroline;

                (vii)              Order GGAM to direct its stockbroker, Deutsche Bank, to return the
                                   dividend paid in May 2015 by Bloomberry Resorts Corporation to
                                   Bloomberry Resorts Corporation.



Respondents' Sur-Rejoinder on Damages, para. 269.


                                                    47
(b)           If the Tribunal does not revisit the Liability Award and maintains its finding
              that the MSA was wrongfully terminated:

        (i)          Deny Claimant GGAM Netherlands' request for monetary damages
                     for Management Fees and a "gross-up" of damages because GGAM
                     Netherlands is a sham entity.

       (ii)          Award Claimant GGAM Philippines monetary damages for
                     Management Fees in an amount no greater than one of the following:

                     1.      US$ 15.8 million to account for the April 7, 2016 release of
                             the U.S. Securities and Exchange Commission's finding that
                             William P. Weidner and Eric Chiu violated the Foreign
                             Corrupt Practices Act;

                     2.      US$ 19.8 million to account for the January 17, 2017 release
                             of the U.S. Department of Justice's finding that William P.
                             Weidner and Eric Chiu violated the Foreign Corrupt
                             Practices Act;

                     3.      US$ 23.5 million to account for the end of the five-year term
                             of MSA. US$ 35 million to account for the end of a second,
                             optional five-year term of the MSA.

      (iii)          Award Claimant GGAM Philippines US$ 148,750 plus interest in
                     unpaid Pre- Opening and Development Fees;

      (iv)           Deny Claimant GGAM Philippines a "gross-up" of damages to
                     account for Philippine withholding tax;

      (v)            Deny Claimant GGAM Philippines' request for monetary damages
                     related to the Shares;

      (vi)           Deny Claimant GGAM Philippines' request for injunctive and
                     declaratory relief related to the Shares; and

  (vii)              Deny Claimant GGAM Philippines' request for post-Award
                     interest.




                                       48
(c)   Find that Claimants and their counsel failed to conduct themselves in good
      faith in the taking of evidence, and, pursuant to Article 9(7) of the IBA
      Rules on the Taking of Evidence in International Arbitration, deny
      Claimants' request for attorneys' fees, costs, and expenses;

(d)   Award monetary damages to Respondents for attorneys' fees, costs and
      expenses to be calculated and submitted to the Tribunal at the time of the
      hearing for the Remedies Phase; and

(e)   Such other and further relief as may be found appropriate.
V.       PRELIMINARY MATTERS: PARTIES' RIGHTS AND LIABILITIES

         171.     The Claimants have petitioned the Tribunal to award GGAM damages on account
                  of management fees, pre-termination fees and expenses, Philippine withholding tax
                  gross-up (the "MSA Damages") and obstruction of GGAM's ability to sell its
                  shares in BRC, which requires from the Tribunal a prior determination of the
                  Respondents' liability for such obstruction, a matter reserved for the Remedies
                  Phase in the Liability Award. The Tribunal will consider each of these items in turn
                  after addressing (a) the question raised earlier with the Parties by the Tribunal on
                  the respective rights and liabilities of each of the Claimants and each of the
                  Respondents, and (b) whether management fees may be awarded to GGAM
                  Netherlands.

         172.     On September 29, 2016, the Tribunal invited the Parties to comment on whether
                  there is any difference between the respective rights and liabilities of each of the
                  Claimants and each of the Respondents. It will be useful at the outset to set forth
                  their replies. The Claimants explained:

                           "GGAM Philippines is a signatory to the MSA. However, under the
                           Assignment and Assumption Agreement dated as of March 8, 2013, GGAM
                           Philippines assigned to GGAM Netherlands all of its rights and liabilities
                           under the MSA with respect to Post-Opening Services only. GGAM
                           Philippines retained its rights and liabilities related to Pre-Opening
                           Services under the MSA; therefore, with respect to damages resultingfrom
                           Respondents' breach of the MSA, GGAM Philippines is the entity entitled to
                           damages on unpaid Development and Pre-Opening Fees, as well as unpaid
                           Pre-Opening Reimbursable Expenses.

                           GGAM Philippines is also a signatory to the Equity Option Agreement and
                           remains the sole owner of the approximately 921 million shares in
                           Bloomberry Resorts Corporation ("BRC") granted under that agreement by
                           BRC and Prime Metroline Transit Corporation ("GGAM's Shares').
                           GGAM Philippines is therefore the entity entitled to damages arisingfrom
                           the efforts of Respondents and their affiliates to hinder and block the sale
                           of GGAM's Shares."3

         173.     The Respondents replied as follows:




 3   Letter from the Claimants to the Tribunal dated October 6, 2016.


                                                        50
                          "Respondent Bloomberry Resorts and Hotels, Inc. ("BRHI') holds a
                          provisional license issued by the Philippine Amusement and Gaming
                          Corporation to develop, construct, and operate Solaire Resort and Casino
                          ("Solaire'). BRHI is wholly owned by Respondent Sureste Properties Inc.
                          ("SPI'), which owns the hotel and non-gaming components ofSolaire. Both
                          BRHI and SPI (collectively, "Bloomberry") are parties to the Management
                          Services Agreement (the "MSA'), which was terminated on September 12,
                          2013. GGAM Philippines is a signatory to the MSA."4

         174.    In its considerations, the Tribunal will be guided by the Parties' replies unless
                 developments in the Remedies Phase would justify otherwise. In this respect, the
                 Tribunal notes the Respondents' statement in their reply that it was their
                 "expectation that certain aspects of the Parties' respective rights and liabilities will
                 be further developed in the Remedies Phase. " 5 The Tribunal further notes that there
                 were no further developments in this respect.

        175.     Based on the foregoing, GGAM Philippines, as signatory of the Equity Option
                 Agreement ("EOA"), is entitled to any relief granted by the Tribunal in respect of
                 the Shares. As regards the claim for unpaid fees, the Tribunal agrees that GGAM
                 Philippines is also entitled to unpaid Development and Pre-Opening Fees, as well
                 as unpaid Pre-Opening Reimbursable Expenses. As for the claim for lost
                 management fees, the Tribunal will address first whether the lost management fees
                 may be awarded to GGAM Netherlands.

        176.     The Respondents claim that GGAM Netherlands is a sham entity created by GGAM
                 Philippines for no other purpose other than to evade both US and Philippine taxes;
                 for this reason, no management fee should be awarded to it.6 The Respondents also
                 allege that the assignment of the MSA to GGAM Netherlands appears to have been
                 intended to evade GGAM Philippines' obligations under the MSA, including an
                 obligation to indemnify the Respondents for any liability arising as a result of
                 GGAM's gross negligence or wilful misconduct.' The Respondents note that
                 GGAM Netherlands had no employees, no revenue and little capitalisation.8 On the
                 other hand, the Claimants have defended the nature of GGAM Netherlands as a
                 legitimate Dutch corporation resident of the Netherlands and entitled to the
                 withholding exemption under the Netherlands-Philippines Tax Treaty mostly as
                 part of their claim to a tax gross-up.

4
    Letter from the Respondents to the Tribunal dated October 6, 2016.
5
    Ibid., first paragraph.
6
    Respondents' Sur-Rejoinder on Damages, para. 33.
7
    Ibid., para. 34.
8   Ibid., para. 35.


                                                       51
        177.    The Tribunal refers to Section 16.2 of the MSA on "Assignment by GGAM." This
                article provides the conditions under which GGAM may assign the MSA and at the
                end of the section, it states: "Notwithstanding anything to the contrary herein,
                GGAM may assign this Agreement9 to an entity organized and existing under the
                laws of the Netherlands as required to satisfy the tax structure of GGAMprovided
                that such entity must at all times be owned by the same constituent owners and
                controlled by the same individuals as GGAM (except independent Dutch members
                required under Netherlands law)."

        178.    It is evident that since the beginning of their relationship the parties to the MSA
                had contemplated that a Dutch affiliate may be established exclusively for tax
                purposes. The only condition was that the constituent owners and controlling
                individuals must be the same as those owning and controlling GGAM. It has not
                been contended in the proceedings that this condition was not met.

        179.    Furthermore, Article 16.3 of the MSA shows the preoccupation of BRHI and
                Sureste to maintain GGAM Philippines as their partner and obligated party under
                the MSA. It provides that "Any assignment to an Affiliate and/or any sub-
                contracting [sic] shall not in any way relieve GGAMfrom any liability or obligation
                under or in connection with this Agreement." Thus, GGAM Philippines'
                obligations continue in effect notwithstanding the corporate structures it sets up or
                to whomever GGAM sub-contracts services required under the MSA.

        180.    Given these provisions of the MSA, the Tribunal finds that the sham entity
                argument of the Respondents lacks merit. This notwithstanding, and, as noted
                above, Article 16.3 of the MSA shows the preoccupation of BRHI and Sureste to
                maintain GGAM Philippines as their partner and obligated party under the MSA
                irrespective of the corporate structures GGAM may set up. For these reasons, the
                Tribunal determines that any relief granted by the Tribunal on account of lost
                management fees shall be payable by the Respondents to both Claimants, with full
                payment to one or the other (or some combination of both) sufficient to discharge
                the Respondents' liability to pay such damages.




9   Read together with Section 16.3 of the MSA, this may be construed as "assign its rights [only] under this
    Agreement."


                                                    52
VI.          DAMAGES UNDER PHILIPPINE LAW — GENERAL PRINCIPLES

            A.      Claimants' Arguments

            181.    The Claimants explain that the applicable law is Philippine law10 and damages for
                    breach of contract under Philippine law must be reasonably foreseeable. The
                    Claimants argue that damages may be awarded for a contractual breach, even if the
                    breach began long before the period during which the profits will accrue. This
                    includes the recovery of anticipated damages."

            182.    The Claimants' expert opines that the prima facie measure of damages for a breach
                    of contract for services, like the MSA, is the contractually required fees.12 Further,
                    when a management services contract like the MSA is wrongfully terminated
                    before the expiration of its agreed term, the plaintiff is entitled to damages for all
                    fees that it was contractually entitled to receive for the entire term of the contract,
                    including prospective fees due over a prolonged period.13 Also, absolute certainty
                    as to the amount of loss is not required; instead, the compensatory damages need
                    only be proven with reasonable certainty.14 The Claimants cite the Philippine
                    Supreme Court15 for the proposition that for breach of contract, the question is, "is
                    there a basis for determining with reasonable certainty such unearned profits?"16

           183.     The Claimants argue that the Philippine Supreme Court has "adopted a broad
                    approach to evidence sufficient to prove the existence offuture profits and their
                    amount,"17 and that GGAM's burden is to "base its Management Fee damages on
                    some reasonable defined standard such as market value, established experience, or
                    direct inference from known circumstance"18, and that GGAM has done so. 19




  io   Claimants' Supplemental Submission, para. 34.
       Ibid., para. 35.
  12
       See, Claimants' Supplemental Submission, para. 36; Puno Report, para. 115.
  13
       See, e.g., Garcia Palomar v. Hotel de France Co., G.R. No. L-15878 (S.C., January 11, 1922) (Phil.) in which a
       hotel manager was unjustly terminated by the hotel two years into his nearly five-year employment contract, the
       Philippine Supreme Court awarded damages for total amount due under contract from the date of termination
       until the end of the term
  14
       Claimants' Supplemental Submission, para. 37.
  15
       Central Bank of the Philippines v. Court of Appeals, G. R. No. L-33022 (S.C., April 22, 1975) (Phil.).
  16
       Claimants' Supplemental Submission, para. 37.
  17
       Ibid., para. 39.
  18
       See Casino v. Court of Appeals, G.R. No. 133803 (S.C., September 16, 2005) (Phil.).
  19
       Claimants' Supplemental Submission, para. 40.




                                                          53
          B.        Respondents' Arguments

          184.     The Respondents argue that under Philippine law damages are those "which the
                   parties have foreseen or could have reasonably foreseen at the time the obligation
                   was constituted,"2° and that damages cannot be presumed. Unrealised profits must
                   be analysed in a two-step process:21

                   (a)       First, it must be determined whether the Claimants are entitled to damages.
                             The Claimants must prove with reasonable certainty, and not based on
                             speculation, that they have been injured by their failure to realize
                             "otherwise reasonably expected profits."

                   (b)       Second, if it is determined that the Claimants actually suffered a loss by way
                             of unrealized profits, the amount of damages must be determined through
                             the presentation of "competent proof of the actual amount of loss suffered"
                             or the "best evidence obtainable." The amount must be estimated with
                             reasonable accuracy.

          185.     The Respondents further argue that the Claimants have misleadingly indicated that
                   the Supreme Court of the Philippines "has adopted a broad approach to evidence
                   sufficient to prove the existence offuture profits" and that the rule remains that the
                   claim must be supported with the "best evidence available."22 The Respondents
                   assert that the best evidence available is the "financial data that Bloomberry
                   produced in this arbitration. " 23

          186.     The Respondents contend that, contrary to what the Claimants assert, year-end data
                   that was produced in addition to Solaire's Financial Books was not created for
                   purposes of this Arbitration. Rather, this was data that Bloomberry maintained in
                   its ordinary course of business on its internal systems.24

          187.     The Respondents assert that damages must be proven with a "reasonable degree of
                   certainty" and not be "speculative."25 The Respondents dispute that the Claimants'

20
     Respondents' Sur-Rejoinder on Damages, para. 36.
21
     Ibid., para. 37.
22
     Ibid., para. 44.
23
     Ibid., para. 45.
24
     Ibid.
25
     Respondents' Sur-Rejoinder on Damages at para. 104, citing Talisay-Silay Milling Co., Inc. vs. Asociacion de
     Agricultores de Talisay-Silay, Inc., G.R. No. 91852 (Phil. August 15, 1995) which held that "The familiar rule is
     that damages consisting of unrealized profits . . . are not to be granted on the basis of mere speculation, conjecture
     or surmise . . ."; cf. Hicks v. Manila Hotel Company, G.R. No. L-9973 (Phil. November 6, 1914) which held




                                                            54
                   contention that the prima facie measure of damages for breach of a contract for
                   services, is the "contractually required fees" is not supported by the cases their
                   expert cited. The cases cited pertained to the wrongful dismissal of an employee
                   whose remuneration in exact, precise figures was stipulated in the contract for
                   services and/or employment. In this respect, the amount of fees to which the
                   dismissed employee was entitled was readily ascertainable with reasonable
                   certainty a textbook case of lucrum cessans. In contrast, here the management
                   fees in the MSA do not correspond to any exact figure.26

          188.     According to the Respondents, in the present case, the calculation is based on
                   percentages which are contingent on other figures (such as Solaire's EBITDA),
                   which can only be calculated "after-the-fact."27 Solaire's EBITDA cannot be
                   determined with reasonable certainty from year to year.28 Furthermore, the
                   management fees were incentive fees, and the Claimants acknowledged that the fee
                   structure was risky.29 These risks include risks that can impact Solaire's probability
                   of success and profitability, such as entry of local and regional competitors, market
                   movements, and regulatory changes. Some of these risks have already come to
                   fruition, particularly in 2013-2015 with changing market conditions and China's
                   crackdown on gaming. Moreover, these risks still exist on the horizon for Solaire
                   and other integrated resorts in Southeast Asia.3°

          189.     The Respondents submit that the Philippine Supreme Court has not hesitated to
                   reject claims for damages for lost profits when the realisation of profits was
                   uncertain and dependent on a number of factors.31

          C.       Analysis of the Tribunal

          190.     The Parties' experts agree that damages need to be proven with reasonable certainty
                   and that for this purpose the Tribunal needs to rely upon the best evidence. The
                   Parties' experts have referred to the Philippine Supreme Court decisions that reflect
                   these principles but differ on the degree of certainty required and whether the



     "where a loss of profits is not too remote or conjectural to be susceptible of computation with reasonable accuracy,
     they are proper elements of damage."
26
     See Respondents' Sur-Rejoinder on Damages, para. 39.
27
     Ibid.
28
     Ibid.
29
     !bid, para. 40.
30
     Ibid., para. 42.
31
     Ibid., para. 43; See, e.g., Lufthansa German Airline v. Court of Appeals, G.R. No. 108997 (Phil. April 21, 1995)
     where a claim for damages on lost profits was rejected, holding that such claim was speculative because the
     realization of profits was not a certainty but dependent on a number of factors.


                                                           55
                  Supreme Court has adopted a broad approach in determining what is the best
                  evidence.

         191.     In the case of Central Bank of the Philippines v. Court of Appeals, the Supreme
                  Court remarked: "When the existence of a loss is established, absolute certainty as
                  to its amount is not required... The benefit to be derivedfrom a contract which one
                  of the parties has absolutely failed to perform is of necessity to some extent, a
                  matter of speculation, but the injured party is not to be denied all remedy for that
                  reason alone. He must produce the best evidence of which his case is susceptible
                  and if that evidence warrants the inference that he has been damaged by the loss of
                  profits which he might with reasonable certainty have anticipated but for the
                  defendant's wrongful act, he is entitled to recover. X32

         192.     In the same vein, "[t]he rule on compensatory damages is well established.
                  Indemnification for damages comprehends not only the loss suffered, that is to say
                  actual damages (damnum emergens), but also profits which the obligee failed to
                  obtain, referred to as compensatory damages (lucrum cessans). However, to justify
                  a grant of actual or compensatory damages, it is necessary to prove with a
                  reasonable degree of certainty, premised upon competent proof and on the best
                  evidence obtainable by the injured party, the actual amount of loss."33

         193.     Former Supreme Court Chief Justice Reynato Puno ("Justice Puno"), the
                  Claimants' Philippine law expert , has opined that the Philippine Supreme Court
                  has adopted "a broad approach to evidence sufficient to prove the existence of
                  expectation damages and their amount."34 Former Supreme Court Justice Jose
                  Vitug, the Respondents' Philippine law expert ("Justice Vitug"), questions such
                  statement because the remarks of the Supreme Court in Producers Bank of the
                  Philippines vs. Court of Appeals referred to by GGAM and Justice Puno are "no
                  more than mere innocent statements which are, at best, obiter dicta. " 35 The
                  Tribunal notes that the opinion of Justice Puno also refers to Philippine Nat'l Bank
                  v. RBL Enterprises, Inc. in which the Supreme Court affirmed: "The quarterly
                  report income tax report of Respondent RBL Enterprises, Inc., which was presented
                  by petitioner and used by the appellate court as a basis for computing the average


32
     Central Bank of the Philippines v. Court of Appeals, G. R. No. L-33022 (S.C., April 22, 1975) (Phil.) (quoting
     Cerrano vs. Tan Chuco, G.R. No. L-12907 (S.C. August 1, 1918) quoted in the Puno Report, para. 117. Emphasis
     added.
33   Integrated Packaging Corp. vs. Court of Appeals, G.R. No. 115117, June 8, 2000. Quoted in the 4th Vitug Report,
     para. 20.
34
     Puno Report, para. 119.
35
     4th Vitug Report, para. 27.




                                                        56
                  profits earned by respondents in their business, provided a reasonable means of
                  ascertaining their claims for lost profits."36

          194.    Reasonable certainty based on the best obtainable evidence are the two elements
                  on which an estimation of future lost profits should be premised. Reasonable
                  certainty is neither speculative nor is it the same as absolute certainty, which would
                  require one to know what the future would entail. There may be a matter of degree
                  in the appreciation of what is reasonable and what constitutes the best obtainable
                  evidence.




36   Philippine Nat'l Bank v. RBL Enterprises, Inc., G.R. No. 149569 (S.C., May 28, 2004) (Phil.)


                                                        57
VII.         DAMAGES FOR WRONGFUL TERMINATION OF THE MSA

             195.    Before summarizing the Parties' arguments, it will be useful to reproduce here
                     salient portions of sections 4.3 to 4.5 of the MSA. They provide that GGAM is
                     entitled to the following management fees:

                     a)       "[AJn annualfee ofsix percent (6.0%) of the EBITDA generatedfrom Local
                              High Roller Tables37 where PAGCOR imposes a 15% license fee under the
                              PAGCOR License, or as that term is defined in the laws or regulations
                              governing the Facilities";

                     b)       "[A] Graduated Fee based on the EBITDA generated from Foreign High
                              Roller Tables38 and Foreign Junket Players39"; and

                     c)       "[AJn annual base fee of two percent (2%) of the Base Fee EBITDA from
                              the Facilities. For this purpose, `Base Fee EBITDA' shall mean an amount
                              equal to the EBITDA less the Local VIP EBITDA and the Foreign VIP
                              EBITDA." 4°

            A.       Claimants' Arguments

            196.     Preliminarily, the Tribunal observes that part of the Claimants' case on damages
                     was contained in their Reply to Respondents' Statement of Defense and Amended
                     Counterclaims dated June 15, 2015, which had been submitted in the Liability
                     Phase (the "Claimants' Reply"). In this Final Award, the Tribunal will address the
                     arguments made by the Claimants in their Supplemental Submission as a primary
                     starting point (since this was the latest (and primary) submission relied on by the
                     Claimants in the Remedies Phase), but will address any other arguments contained
                     in the Claimants' Reply as the Tribunal deems necessary.




   37
        "Local High Roller Tables" shall have the meaning as set forth in the Philippine laws or regulations promulgated
        by PAGCOR and governing the Facilities, or as the parties may mutually agree. This is according to Annex H of
        the MSA.
   38
        "Foreign High Roller Tables" shall have the meaning set forth in the Philippine laws or regulations promulgated
        by PAGCOR and governing the Facilities, or as the parties may mutually agree. This is according to Annex H of
        the MSA.
   39
        "Foreign Junket Players" shall have the meaning set forth in the Philippine laws or regulations promulgated by
        PAGCOR and governing the Facilities, or as the parties may mutually agree. This is according to Annex H of the
        MSA.
   40
        MSA, Section 4.4.




                                                            58
          197.    The Claimants argue that it is reasonably certain and foreseeable that they would
                  have earned the management fee for the following reasons: First, under the MSA,
                  GGAM's monthly fee for providing "pre-opening" management and technical
                  services was only US$ 175,000.41 According to the Claimants, this fee under-
                  compensated GGAM for its assistance during the pre-opening phase of Solaire in
                  reliance on the Parties' agreement that GGAM would earn a Management Fee for
                  the MSA's full ten-year term.42 The Claimants note that GGAM's Management Fee
                  consisted of a significantly reduced base fee combined with a structure which
                  rewarded its success in attracting foreign VIPs.43

          198.    Second, a 10-year period was foreseeable under Sections 1.2 and 1.3 of the MSA
                  under which the Respondents had the obligation to pay a Management Fee for ten
                  years from opening, unless GGAM, at its sole discretion, did not exercise its
                  unilateral right of renewal to extend the first term of five years of the MSA (the
                  "Initial Term") for a second five-year term.44

         199.     The Claimants submit the following as an illustration that GGAM had every
                  incentive to exercise its option to renew the MSA for its full 10-year term:45

                  (a)     In May 2017, shares in BRC had been trading at a nearly two-year high,
                          with prices continuing to climb each day.

                  (b)     With its year-end financial results for 2016, BRC reported that Solaire was
                          enjoying "all-time high records in VIP volume, mass table drop and EGM
                          coin-in, gross gaming and non-gaming revenues as well as EBITDA and
                          hold-normalized EBITDA. " 46

                  (c)     The most recent investment analyst reports project continued growth at the
                          EBITDA level for Solaire over the next several years.47

                  (d)     As recently as May 2, 2017, Mr. Enrique K. Razon ("Mr. Razon"), CEO
                          of Bloomberry, boasted that Solaire's Foreign VIP segment has been
                          benefitting from improving relations between the Philippines and China:


41
     Claimants' Supplemental Submission, para. 41.
42
     Ibid.
43
     Ibid.
44
     Ibid., para. 44.
45
     Ibid., para. 49.
46
     Ibid., para. 49(ii).
47
     Ibid., para. 49(iii)




                                                     59
                          "The market has been growing tremendously in the last two to three years,
                          so I think the bet is paying off. We are making more money. We are seeing
                          huge growth in visitation from China since the visit of [Philippine]
                          President Duterte to Beijing... China visitation is growing north of 100
                          percent.. VIP volume is growing 25 to 40 percent . " 48

         200.     The Claimants criticize the Respondents' reliance on (i) the model and presentation
                  created by Cantor Fitzgerald that summarized the amount of management fees they
                  expected to earn over the course of the MSA (the "Cantor Model") and (ii) the
                  "sanity checks" benchmarks, to show the lack of reasonableness of the Claimants'
                  Management Fee claims. The Claimants explain:49

                  (a)     The Cantor Model contained early-stage, partial projections for only Phase
                          I of Solaire. Those projections did not reflect expectations regarding Phase
                          1A of Solaire's long-planned expansion, which would add approximately
                          300 all-suite hotel rooms, 540 slots and electronic gaming machines and
                          100 more gaming tables, all to drive Solaire's EBITDA upwards and
                          increase GGAM's expected Management Fee.

                  (b)     The Management Fee figures from the Cantor Model were based on a higher
                          discount rate than is appropriate today because, in 2011, the property was
                          under construction and was a riskier venture at that stage of development
                          than it is now, four years after opening.

         201.     The Claimants further contend that the Respondents' reliance on the Termination
                  Fee Schedule of the MSA is inappropriate because that schedule provided for
                  payment to GGAM of an $11 million fee only in the event of the MSA's termination
                  in the first year of Solaire's operations due to one of the "Change of Control in
                  Owners" scenarios specified in the MSA, and does not have any bearing on the
                  calculation of the Management Fees GGAM could reasonably have expected to
                  earn. 50

         202.     The Claimants argue that their financial models as updated by experts Mr Oaten
                  and Prof Kalt demonstrate the lost management fees with reasonable certainty. Mr.
                  Oaten segments Solaire's annual revenues and expenses into three categories for
                  each year of the MSA's ten-year term from March 16, 2013 to March 15, 2023:51


48
     Claimants' Supplemental Submission, para. 49(iv). Emphasis added by the Claimants.
49
     !bid, para. 123.
50
     Ibid., para. 124.
51
     Ibid., para. 54.


                                                       60
                  (a)      gaming activities of foreign VIP customers,

                  (b)      gaming activities of local Filipino VIP customers, and

                  (c)      gaming activities of mass customers, as well as all non-gaming operations
                           including the hotel, restaurants and retail shops of Solaire.

         203.     For the period of 2013 to 2016, Mr. Oaten uses Solaire's actual results reported in
                  BRC's financial statements and in investment analyst reports to first divide
                  revenues between the gaming and non-gaming business, and then, within the
                  gaming business, to further segment revenues among Foreign VIP, Local VIP and
                  Mass Gaming. For projecting Solaire's future revenues from 2017 to 2023, Mr.
                  Oaten uses current investment analyst reports, which provide detailed projections
                  of Solaire's expected revenues from different aspects of its business based on
                  Solaire's actual performance to date.52

         204.     Mr. Oaten also uses Solaire's actual results from the financial statements and
                  investment analyst reports to determine Solaire's total operating expenses, both
                  actual results (from 2013-2016) and projected (for 2017 onward). Mr. Oaten then
                  allocates expenses to the relevant business segment: as certain expenses are directly
                  proportional to revenue from a particular segment, he allocates them as a percentage
                  of that revenue (e.g., taxes on different gaming segments). Since other expenses are
                  not tied to a particular segment of Solaire (e.g., utilities), Mr. Oaten allocates them
                  based on other available information that reasonably reflects the relative usage or
                  benefit of that expense to the respective segment (e.g., for expenses driven by
                  customer volume, the allocation is based on relative proportion of floor area
                  designated for different segments).53 Then Mr. Oaten applies the 6% contractually
                  determined pre judgment interest rate to the Management Fee accruing before the
                  date of the Tribunal's damages award and a discount rate of 9.8% to the
                  Management Fee accruing after that date.54

         205.    The Claimants contend that Mr. Oaten's calculations provide a reasonably certain
                 quantification of Solaire's segmented EBITDA55 for the following reasons:



52
     Claimants' Supplemental Submission, para. 55.
53
     Ibid., para. 56.
54
     Ibid., para. 101.
55
     Ibid., para. 59.




                                                     61
                  (a)      Mr. Oaten's analysis reflects Solaire's actual financial results from the first
                           four years of the property's operations, with less years of the ten-year term
                           needed to be projected, thus increasing its reliability.56

                  (b)      Entering the fourth year of Solaire's operations, the property is no longer in
                           the launch phase or ramp-up phase: therefore, the property is more
                           established and predictable.57

                  (c)      There is a broader range of sources — both from Bloomberry's additional
                           financial disclosures and new investment analyst reports — that capture
                           additional data concerning Solaire's actual and predicted performance
                           relevant to calculating GGAM's Management Fee.58 These analyst reports
                           not only incorporate Solaire's actual results but provide additional
                           breakdown between revenue and cost types.59

         206.     The Claimants assert that Mr. Oaten's calculation shows a conservative measure of
                  damages, in particular, because Solaire's performance is based on Respondents'
                  relatively less-experienced management, and thus understates what Solaire's
                  EBITDA breakdown would likely have been had the Claimants still managed the
                  property.6° Particularly, in view of Mr. Razon's inexperience and Claimants'
                  wealth of experience, Solaire would have been more profitable. GGAM highlights
                  Mr. Razon's inexperience by the following:

                  (a)     In 2015, Solaire's financial results show that the property suffered a massive
                          bad debt loss, amounting to approximately 16% of total Foreign and Local
                          VIP gaming revenues, an extraordinarily high figure for a casino managed
                          by experienced operators.6I

                  (b)     The Respondents compounded their mistake, by over-compensating for
                          Solaire's 2015 bad-debt loss through a severe restriction of credit to VIP
                          customers in 2016, which likely had a significantly negative impact on VIP
                          gaming revenues at Solaire.62




56
     Claimants' Supplemental Submission , paras. 59 and 61.
57
     Ibid., para. 62.
58
     Ibid., para. 63.
59
     Ibid., para. 64.
60
     Ibid., para. 94.
61
     Ibid., para. 98.
62
     Ibid., para. 99.


                                                       62
          207.    As regards general & administrative expenses ("G&A Expenses"), the Claimants
                  explain that, in many cases, Mr. Oaten could not apply the methods suggested in
                  the report which the Respondents commissioned from SyCip Gorres Velayo & Co.
                  ("SGV/EY Report"). This was because certain internal data about Solaire's
                  operations, such as the number of employees assigned to different segments of the
                  business, were either withheld by Respondents or the data available was without
                  sufficient context or documentation and thus was not deemed reliable.63 In those
                  cases Mr. Oaten allocated G&A Expenses on other available information.64

          208.    According to the Claimants, the Respondents' expert's heavy reliance on the
                  SGV/EY Report is in itself a cause for concern, because, before termination of the
                  MSA, the Parties could not agree on an allocation methodology, and the Claimants
                  had rejected the Respondents' proposed methodology which would load costs into
                  the segment for which the Claimants would have the highest percentage fee. The
                  same objected methodology is how the SGV/EY Report allocates costs.65

         209.     Claimants also argue that the methodology in the SGV/EY Report is inappropriate
                  because it allocates all G&A costs among gaming segments based on each
                  segment's gross revenue, regardless of the type of cost involved. Such an allocation
                  does not make sense, for instance:66

                  (a)     The Solaire's advertising expenses were almost entirely dedicated to
                          advertising in the Philippines through local billboards, radio spots and print
                          advertisement. Local advertisements may bring in additional Filipino mass
                          market players, but they will do nothing to recruit foreign VIPs or junkets
                          from other countries.

                  (b)     Despite explaining that "[e]lectricity cost is driven by the number of
                          machinery and equipment in operation" and "[w]ater cost is driven by the
                          number of water outlets and their average consumption," these costs were
                          allocated based on segment revenue and not based on the location and
                          number of devices, outlets and consumption.67

         210.     The Claimants contend that the Respondents liberally allocate expenses to the
                  Foreign VIP segment, but restrictively allocate revenues to that same segment. This

63
     Claimants' Supplemental Submission, para. 69.
64
     Ibid., para. 56.
65
     Ibid., para. 72.
66
     Ibid., para. 75.
67
     Ibid.




                                                     63
                  is evident in the Respondents' allocation of revenues to "Foreign High Roller"
                  tables based only on revenues from foreigners playing on "Junket Tables" but the
                  Respondents allocate to that same segment bad debt expenses of foreigners playing
                  on "Junket Tables" or "High Roller Tables."68 This inconsistent method of
                  allocation contravenes the MSA, which requires that expenses follow the source of
                  revenue.69

         211.     The Claimants assert that the Respondents fail to allocate VIP gaming revenues
                  between Foreign VIP and Local VIP segments pursuant to the terms of Section 4.5
                  of the MSA. Section 4.5 of the MSA provides:

                  "4.5 Fees - Casino VIP Incentive For Foreign VIP/Junket Players
                  The Owners shall pay GGAM an annual casino incentive fee calculated as a
                  Graduated Fee based on the EBITDA generatedfrom Foreign High Roller Tables
                  and Foreign Junket Players ("Foreign VIP EBITDA") as these terms are defined
                  in the laws and regulations governing the Facilitiesfor each Fiscal Year beginning
                  in the year of the Facilities' Start Date, provided that GGAM's total fees shall not
                  exceedforty percent (40%) on Foreign VIP EBITDA, as follows: ..."

         212.    This notwithstanding, the Respondents define any and all gaming on "High Roller
                 Tables" as part of Local VIP revenue, despite acknowledging that foreign VIP
                 players can play on those tables. This allocation is in contravention of section 4.5
                 of the MSA, since it eliminates one of the components of Foreign VIP EBITDA.
                 Section 4.5 of the MSA provides that the Foreign VIP/Junket players EBITDA is
                 based on EBITDA generated from "Foreign High Roller Tables and Foreign Junket
                 Players. "70

         213.    The Claimants assert that, although the Philippine Amusement and Gaming
                 Corporation ("PAGCOR") does not distinguish between Local and High Roller
                 Tables to comply with the MSA, gaming by foreign and local customers on those
                 tables must be separately accounted for.71

         214.    Claimants dispute the reliability of documents disclosed by the Respondents in
                 February 2017 in respect of the allocation of annual VIP gaming revenues between
                 Foreign VIP/Junket and Local VIP ("VIP-Split Disclosure"). According to Mr.
                 Oaten, the VIP-Split Disclosure is inherently suspect because "it is contradicted by

68
     Claimants' Supplemental Submission, para. 84.
69
     Ibid., para. 86. See MSA, Annex H.
70
     Claimants' Supplemental Submission, para. 86.
71
     Ibid., para. 89.




                                                     64
                  Respondents' own financial book figures, Respondents' own published financial
                  statements, Mr. Razon's own statements to the press, and independent investment
                  analysts reports on Solaire."72

          215.    As regards the discount rate, the Claimants explain that the post damages award
                  discount rate was derived by applying the Capital Asset Pricing Model, using
                  updated information on the risk of businesses comparable to Solaire, the country-
                  risk premium, the risk-free rate, and the equity risk premium.73 The Claimants note
                  that this method is one which the Respondents' expert is "in fundamental
                  agreement" with,74 but they disagree as regards the applicability of the company
                  size premium, the incentive fee risk premium and the renewal risk premium applied
                  by the Respondents.75

          216.    The Claimants argue that the contention that a "size premium" should be taken into
                  account for the purported riskiness associated with a company of GGAM's size is
                  flawed.76 The Claimants explain that the Respondents' expert, Mr. Tantleff starts
                  from the premise that the rate to discount the Management Fee cash flows to their
                  present value should be based on the cost of capital of GGAM or its parent entity,
                  which is contrary to the fundamentals of valuation analysis. According to the
                  Claimants, the appropriate discount rate should be based on the risk characteristics
                  of the cash flows that make up the damages — in this case, the contractually defined
                  percentage share of Solaire's EBITDA that makes up GGAM's Management Fee.77

         217.     The Claimants further explain that Mr. Tantleff s premise leads to the untenable
                  conclusion that, when assessing the same set of projected annual cash flows due as
                  damages, the present value of those damages changes depending on the
                  characteristics of the injured party. That is, damages would be higher if the harmed
                  party is a large company rather than a small one.78

         218.     According to the Claimants, Mr. Tantleffs premise, that an additional 3% to 6%
                  premium should be included to account for the MSA's "incentive fee structure79, is
                  also flawed because: (a) the Claimants' discount rate properly reflects the riskiness
                  associated with Solaire's EBITDA (not revenues), and (b) the contractually-fixed

72
     Claimants' Supplemental Submission , para. 81.
73
     Ibid, para. 102.
74
     !bid
75
     !bid, para. 105 to 116.
76
     Ibid, para. 106.
77
     Ibid.
78
     Ibid., para. 107.
79
     Tantleff Report dated December 15, 2015 ("l' Tantleff Report"), para. 144.




                                                       65
                   portion of Solaire's EBITDA from which GGAM earns its Management Fees
                   carries precisely the risk characteristics (e.g., volatility, correlation with overall
                   market performance) of the overall EBITDA-based cash flows of the property.8°

          219.     The Claimants contend that, if there is any difference in the risk profiles of those
                   two cash flows, the Management Fee is less risky than Solaire's cash flows, because
                   the MSA requires the Management Fee to be paid from EBITDA, that is to say,
                   before deductions such as capital expenditures and working capital, which reduce
                   the amount of Solaire's cash flows relative to its EBITDA. The fact that the
                   Management Fee is derived from Solaire's EBITDA implies that any adjustment
                   should be to decrease the discount rate and not to increase it.81

          220.     Further, the Claimants assert that Mr. Tantleff does not provide any empirical
                   evidence that the Management Fee is riskier as it depends on three different
                   EBITDA streams, as opposed to the Respondents who benefit equally from all
                   revenue generated by Solaire.82 In this regard, the Claimants point out that this is
                   logically incoherent as, if Solaire's overall EBITDA had a different discount rate
                   than Solaire's individual EBITDA streams, with a higher-than-average discount
                   rate for its Foreign VIP EBITDA than for the other two EBITDA streams, it would
                   imply an offsetting, lower-than-average discount rate for the other EBITDA
                   streams (as the average of the three streams would result in Solaire's overall
                   discount rate).83

          221.     The Claimants contend that Mr. Tantleff provides no economic basis for his
                   quantification of the risk resulting from the "incentive fee structure." Instead, he
                   assigns 6% to the Foreign VIP EBTIDA stream and 3% to the Local VIP and mass
                   gaming EBITDA streams, based on a Hawaiian bankruptcy court's decision in
                   Waikiki and Prof de Roos' Cornell Report.84 The Claimants submit that Mr. Tantleff
                   misreads the Waikiki decision as the court in that case did not impose any discount
                   rate premium for the "incentive fees."85

         222.      As to the renewal term risk, the Claimants dispute Mr. Tantleff s assertion that a
                  6% premium should be added to the discount rate to account for the risk that the

80
     Claimants' Supplemental Submission, para. 110.
81
     !bid, para. 110.
82
     !bid, para. 111.
83
     Ibid.
84
     Ibid., para. 112. The "Cornell Report" refers to an article authored by Prof. de Roos and Scott D. Berman entitled
     "Cornell Hospitality Report — Calculating Damage Awards in Hotel Management Agreement Terminations" (Vol.
     14. No. 16, CHR, published August 2014)
85
     Claimants' Supplemental Submission, para. 112.




                                                          66
                   MSA would not be renewed for a second five-year term, and submit that such an
                   approach is flawed. The Claimants highlight that this approach ignores Claimants'
                   unilateral right to continue the MSA for the full 10-year term.86 In fact, GGAM's
                   unilateral right to renew empowers GGAM to take advantage of anticipated good
                   economic opportunities and avoid bad ones. Such an option cannot possibly
                   increase the risk to GGAM and increase the discount rate that would be applicable
                   to cash flows available under the MSA.87

          223.    The Claimants explain that their model did factor in "avoided costs"88, but the
                  Claimants had no avoided costs. They did not incur any other costs specific to
                  managing the Solaire because the MSA required the Respondents to reimburse the
                  Claimants for all out of pocket expenses incurred for matters related to the
                  Services.89

          224.    As regards mitigation, the Claimants observe that Professor Kalt correctly did not
                  make any deduction in respect of GGAM's mitigation efforts. The Claimants
                  explain that "GGAM's business model is structured to accommodate managing
                  multiple projects simultaneously, so the addition of a new project would not be
                  considered mitigation because GGAM could likely have taken on that project in
                  addition to managing Solaire. "90

         225.     The Claimants point out that under Philippine law the burden of proof is on the
                  Respondents, who must prove that GGAM failed to mitigate its damages and the
                  amount of damages. The Claimants assert that the Respondents have made no
                  attempt to meet that burden.

         B.       Respondents' Arguments

         226.     Preliminarily, the Tribunal observes that the Respondents had previously submitted
                  a Rejoinder Memorial on Damages pursuant to PO 11 (see paragraph 7 above; see
                  paragraph 13(g) of the Liability Award). The Tribunal will address the arguments
                  made by the Respondents in their Sur-Rejoinder on Damages as a primary starting
                  point (since this was the latest (and primary) submission relied on by the


86
     Claimants' Supplemental Submission, para. 114.
87
     Ibid., para. 115.
88
     The Claimants purport to adopt the Respondents' definition in its Rejoinder Memorial on Damages, para. 74, and
     state that this refers to "marginal expenses that managers avoid due to the fact that the manager is no longer
     managing the property in question": Claimants' Supplemental Submission, para. 117.
89
     "Services" is defined in Annex H of the MSA as "those services of GGAM set forth in Annex A".
90   Claimants' Supplemental Submission, para. 119.




                                                        67
                  Respondents in the Remedies Phase), but will address any other arguments
                  contained in the Rejoinder on Damages as the Tribunal deems necessary.

          227.    The Respondents argue that the assumptions made by the Claimants are speculative
                  and highly unlikely. First, the Claimants' assertion that the MSA would have been
                  renewed for a second 5-year term is unsupported at law.91 Under Philippine law, as
                  Justice Vitug explained, it cannot be inferred that a party would have exercised an
                  option to renew a contract.92 Furthermore, since the Claimants seem to anchor their
                  decision to renew on the current profitability of Solaire, it underscores that
                  Claimants had not decided whether they would renew the MSA at the end of the
                  original period.93

         228.     The Respondents also note that the Claimants have not considered the real
                  possibility that GGAM might be terminated prior to renewing the MSA or that
                  GGAM might decide not to renew the MSA in light of the prospect of termination.
                  Numerous potential events, such as change of control in the company, bankruptcy
                  proceedings, change in the terms and conditions of the PAGCOR license, etc., make
                  the MSA's renewal speculative. In fact, the Respondents argue that at least one of
                  the events has come to fruition. Indeed, during the Liability Hearing, it was revealed
                  through cross-examination that Mr. Stone had previously fired Mr. French for his
                  role in rigging a drawing at another casino. Mr. French failed to disclose this
                  material fact on his Gaming Employment License ("GEL") application to
                  PAGCOR, which is a sufficient basis to revoke his license in the Philippines.94

         229.     The Respondents also argue that, following the Liability Hearing and issuance of
                  the Liability Award, the US Department of Justice (the "D0J") and the US
                  Securities Exchange Commission (the "SEC") made findings that Mr. Weidner,
                  Chairman and CEO of GGAM Philippines and Mr. Chiu, GGAM Philippines'
                  President for Asia, had violated the US Foreign Corrupt Practices Act ("FCPA")
                  while they were earlier employed by Las Vegas Sands Corp ("LVS") just prior to
                  forming GGAM. The Respondents argue that this means that "it is certain" that,


91
     Respondents' Sur-Rejoinder on Damages, para. 105.
92
     Third Supplemental Opinion of Justice Jose C. Vitug dated December 12, 2015 ("3rd Vitug Report"), para. 29.
     He stated that "unless and until thefive- year period has elapsed, and, in accordance with the MSA, GGAM gives
     notice to BRHI and SPI that it wishes to continue the performance of the services under the MSA for another five
     years, BRHI and SPI cannot be held accountable for the additional five-year term. To consider it, as if GGAM
     would have exercised its right to continue the MSA, would appear to be speculative."
93
     Claimants' Supplemental Submission, para. 46, where GGAM's Head of Business Development and Corporate
     Finance is cited as saying that "GGAMfully expected that it would decide to continue with the secondfive-year
     period unless GGAM was not profiting."
94
     Respondents' Sur-Rejoinder on Damages, para. 108.




                                                         68
                   had Bloomberry not terminated GGAM in September 2013, it would have done so
                   after the discovery of these findings, or GGAM would have resigned or agreed not
                   to renew the MSA to "save face."95 The Respondents argue that this is supported
                   by the testimony of Mr Jorge Sarmiento, the former President and Chief Operating
                   Officer of PAGCOR, which the Respondents say shows that the findings of the US
                   federal authorities and Mr. Weidner's repeated deceptions to Bloomberry would be
                   sufficient to disqualify GGAM from being involved in gaming in the Philippines.96
                   The Respondents further argue that the "crackdown in China" and the possibility
                   of Mr Weidner's strategies leading to the GGAM being investigated would "likely"
                   result in Bloomberry terminating GGAM, or GGAM resigning or agreeing not to
                   renew the MSA.97

          230.     According to the Respondents, similarly speculative are the counterfactuals about
                   GGAM's performance had they continued managing Solaire.98 They submit that as
                   "the Liability Hearing made clear, there is no evidence that any GGAM executive
                   had any direct connections with any specific VIPs or junket operators that they
                   could use to drive VIPs to Solaire."99

          231.     According to the Respondents, equally speculative is Mr. Oaten's assumption that
                   VIP revenue will grow by 2% from 2016 to 2017 and then by 2.5% from 2020
                   through 2023 without citing any specific document for support. According to the
                   Respondents, this rate does not take into consideration the broader economic trends
                   that have impacted casinos in Macau and affected VIPs at casinos in Southeast
                   Asia.'°° Prior to the MSA, Macau casinos were booming. However, in the wake of
                   China's "crackdown on corruption" that began in 2012, VIP revenue in Macau
                   plummeted by 50% from 2013 to 2016.101 In an environment where Chinese
                   governmental action can shift billions of dollars in casino revenue between different
                   regions, assuming steady growth for the next six years is highly speculative.

          232.     The Respondents affirm that another unrealistic assumption made by the Claimants
                   is that VIP bad debt expenses would only amount to 1% of VIP gross gaming
                   revenue, an historic low. One of the fall-outs from China's corruption crackdown
                   has been the incurrence of bad debt expenses as Macanese junkets went bankrupt.1°2

95    Respondents' Sur-Rejoinder on Damages, para. 108, paras. 109 to 110.
96
      Ibid., para. 110.
97
      Ibid., paras. 108 to 112.
98
      Ibid., para. 113.
99
      Ibid., para. 114.
100
      Ibid., paras. 115 — 118.
101
      Ibid, para. 116.
102
      Ibid., para. 123.




                                                        69
                   This assumption is not only inherently speculative, but ignores the JP Morgan
                   analyst reports which GGAM relies upon in support for other components of its
                   projection. Those reports predict Solaire's bad debt expenses will be 8% of VIP
                   gross gaming revenue. 103

          233.    The Respondents consider that, since the MSA is silent as to what the Owner shall
                  pay GGAM if a termination is found to be wrongful, the Tribunal may be assisted
                  by two useful benchmarks: (a) the Termination Fee Schedule located in the MSA
                  itself; and (b) the financial model that Cantor Fitzgerald and GGAM created and
                  presumably relied upon when signing the MSA in September 2011. 104

          234.    The Respondents contend that both benchmarks serve as "sanity checks" on the
                  Claimants' damage calculation. The MSA's Termination Fee Schedule provides a
                  "sanity check" on the Claimants' damage claim and illustrates the value that the
                  Parties agreed GGAM's services were worth in the first year of operations—
                  namely, US$ 11 million (as opposed to over US$ 260 million for a 10-year period).
                  The second "sanity check" is the Cantor Model, which, in the best-case scenario,
                  indicated that the Claimants would be entitled to no more than an amount in the
                  range of US$ 35 to 47.4 million. The Claimants' calculations are 5 to 7 times greater
                  than this range.1°5

          235.    The Respondents recall that in 2011, when deciding whether to invest and manage
                  Solaire, GGAM and Cantor Fitzgerald created a model and presentation that
                  summarized the amount of management fees they expected to earn over the course
                  of the MSA (i.e. the Cantor Model). The Cantor Model was built on a model
                  Bloomberry provided to GGAM when the Parties were negotiating the MSA (the
                  "Bloomberry Model"). This model was used to express three scenarios: "GGAM's
                  case" which is the best-case scenario; "Bloomberry Case," which is a Mid-Case
                  Scenario and based on the Bloomberry Model; and a "Downside Case," which is
                  the worst of the three scenarios.106 Under GGAM's case, Cantor expected a fee
                  between $60 - $70 million for a five-year term; under the Bloomberry Case, Cantor
                  expected US$ 16.9 million for a five-year term. 107

          236.    The Respondents argue that the Cantor Model can easily be adjusted for certain
                  calculation errors, unsatisfactory calculation approaches, and unsatisfactory

103
      Respondents' Sur-Rejoinder on Damages, para. 124.
104
      Ibid, para. 132.
105
      Ibid., para., 133 — 135.
106
      Ibid., para. 6, footnote 16.
107
      Ibid., para. 6.




                                                      70
                 modelling assumptions,108 and to take into account the Parties' expectations at the
                 signing of the MSA in September 2011, and when the MSA was terminated in
                 September 2013. 109

        237.     In taking into account the Parties' expectations at the signing of the MSA, Mr.
                 Searby, the Respondents' expert, calculates a discount rate of 15.5%110 (if
                 management fees are assessed at the MSA signing date)" and adds his assessment
                 of the cash flows that could have been expected to be generated by Phase I-A once
                 it opened.112 These projections are referred to as the "Adjusted 2011 Projections."

        238.    In updating his model to the termination date, Mr. Searby first reduced the discount
                rate from 15.5% in September 2011 to 12.4%." 3 Second, the Adjusted 2011
                Projections were updated to reflect the actual historical revenues and costs of
                Solaire during the first nine months of 2013. In particular, Solaire's EBITDAM
                (i.e., Earnings Before Interest, Taxes, Depreciation, Amortization and Management
                Fees)114 for the first 6 months was 63% below the projected GGAM case and 55%
                below the projected Bloomberry case. This led to a downward revision of the
                EBITDAM projections from the Adjusted 2011 Projections.115 Third, based on
                contemporary evidence from equity analysts and other sources, Mr. Searby updated
                the Adjusted 2011 Projections to reflect changes in expectations about the prospects
                for the Asian gaming industry in general and for Solaire in particular.116 Mr. Searby
                specifically considered: (a) the crackdown on corruption in China, which began in
                late 2012 and was expected to reduce the overall number and value of Chinese
                gambling on a macro leve1,117 and (b) an increase in local and regional competition,
                in particular, the VIPs targeted by Solaire, which was expected to reduce
                particularly the number and value of Chinese gambling at Solaire.118 Based on these
                considerations, Mr. Searby used different assumptions about the rate of revenue
                growth, bad debt expenses, commissions and rebates, and complimentaries,11° all
                of which further revised the revenue and EBITDAM projections downwards from


108
    Searby Report paras. 3.19 - 3.61.
109
    Respondents' Sur-Rejoinder on Damages, para. 149.
10 Searby Report, paras. 3.63 - 3.65.
1' Ibid., paras 3.63 — 3.65.
112
    Ibid., paras. 3.66 - 3.72.
113
    Ibid., paras. 4.45 - 4.47.
114
    As set out in the Glossary to Searby's Report.
115
    Respondents' Sur-Rejoinder on Damages, para. 155.
116
    Searby Report, paras. 4.27 — 4.43.
117
    Ibid, para. 4.36.
118
    Ibid.
119
    Ibid., paras. 4.28 — 4.36.




                                                        71
                 the Adjusted 2011 Projections. These updated projections were termed the
                 "Updated 2013 Projections."12°

         239.    To update the Updated 2013 Projections to estimate the amount of the management
                 fees that can be awarded by the Tribunal, Mr. Searby first adjusted them to reflect
                 Solaire's historical performance from 2013 through 2016, as calculated by the
                 Respondents' expert Mr. Tantleff. Second, Mr. Searby projected Solaire's future
                 performance based on current market expectations. Third, he reflected a discount
                 rate as of August 15, 2017, the date Mr. Searby used for his assessment. Fourth, he
                 assessed the Claimants' lost management fees valued at the date of termination of
                 the MSA (Mr. Searby's preferred approach) as well as a prospective date of January
                 8, 2018 (Mr. Oaten's approach).

         240.    As explained by Mr. Searby, historical performance from 2013 to 2016 related to
                 the three fee segments is evidenced in the Financial Books by calculating the sum
                 of EBITDA from all operating departments except those in the VIP segment.
                 However, Local VIP EBITDA121 and Foreign VIP EBITDAI22 are not directly
                 reflected in Solaire's Financial Books, which break EBITDA into VIP Premium
                 and VIP Junket.123 Based on the Financial Books of Solaire, Mr. Tantleff arrived at
                 the breakdown for Local VIP EBITDA and Foreign VIP EBITDA through the
                 following:124

                 (a)      There are two types of VIP Tables, Manifested Tables125 and Non-
                          Manifested Tables126. The Respondents understood that revenue from
                          Manifested Tables were to be used to calculate Foreign VIP EBITDA, and
                          Non-Manifested Tables to calculate Local VIP EBITDA.

                 (b)      There are two VIP areas — (i) VIP Junkets, where Junket operators bring in
                          VIPs to play and (ii) VIP Premium, where VIPs not brought in by junkets
                          can play. Data from each is tracked by Solaire. Both types of tables are
                          found in each VIP area.


120
    See Table 4-10 in the Searby Report for the projected management fees at various cut-off points.
121
     EBITDA generated from Local High Roller Tables where PAGCOR imposes a 15% license fee under the
     PAGCOR License, or as that term is defined in the laws or regulations governing the Facilities ("Local VIP
     EBITDA").
122 EBITDA generated from Foreign High Roller Tables and Foreign Junket Players ("Foreign VIP EBITDA").
123 Respondents' Sur-Rejoinder on Damages, para. 168.
124
    Ibid., paras. 169 — 178.
125
    Defined as junket tables, with its generated revenue used to calculated Foreign VIP EBITDA. See Respondents'
     Sur-Rejoinder on Damages, para. 169.
126
    Defined as high-roller tables, with its generated revenue used to calculated Local VIP EBITDA. See Respondents'
    Sur-Rejoinder on Damages, para. 169.


                                                       72
                   (c)     Data organised by VIP area as well as VIP table type was produced for the
                           Arbitration.

                   (d)     Assuming that all results generated from the VIP Junket Department of
                           Solaire (whether generated from Junket/Manifested/Foreign Tables or High
                           Roller/Non-Manifested/Local Tables) are part of Foreign VIP EBITDA.
                           This inflates Foreign VIP revenue (to GGAM's benefit).

                   (e)     By then breaking down results from VIP Premium into Foreign VIP and
                           Local VIP and assume that all revenue generated from
                           Junket/Manifested/Foreign Tables constitutes Foreign VIP revenue, and
                           that all revenue generated by High Roller/Non-Manifested/Local Tables
                           constitutes Local VIP Revenue.

                   (f)     The resulting percentage of VIP revenue classified as Foreign VIP is
                           generally in line with the determination made by Mr. Oaten.

                   (g)     Expenses are then treated to follow the source of VIP revenues.

          241.     An adjustment is made to the calculations for 2014 through 2016 to set the Gaming
                   Taxes & License Fees equal to the expenses under the original structure. The
                   Respondents explain that this is necessary to account for a reduction of PAGCOR
                   license fees which was granted to compensate for a ruling by the Philippine Bureau
                   of Internal Revenue in April 2014, which was successfully challenged by
                   Bloomberry and PAGCOR, and led to a reversion to the previous regime in July
                   2016. The reduction in the license fee artificially inflated the EBITDA.127

          242.    Mr. Tantleff allocated Solaire's G&A Expenses to each of the EBITDA segments
                  using the methodology proposed by SGV/EY.128 The Respondents point out that
                  the SGV/EY methodology was prepared for the purpose of deciding how to allocate
                  G&A among the EBITDA segments when the Claimants were still the management
                  services provider for Solaire.I29

          243.    As regards current market expectations, growth projection rates for revenues from
                  2017 to 2019 were based on a Morgan Stanley report for Mass gaming, Mass non-
                  gaming, and VIP gaming with an assumption that growth rates for Local and


127
      Respondents' Sur-Rejoinder on Damages, paras. 179 — 182.
128
      Ibid., para. 183.
129
      Ibid., paras. 79 — 80 and 183.


                                                       73
                    Foreign VIP revenues would be the same, as the 2nd Oaten Report assumed. For
                    2020 to 2023, the 2.0% growth rate applied by Morgan Stanley was carried forward.

           244.     Mr. Searby considered different buckets of costs: (a) direct costs, (b) G&A
                    Expenses, and (c) bad debt expenses. With respect to direct costs such as
                    commission rates, payroll expenses and promotional expenses, he measured each
                    cost item as a proportion of gross gaming revenue (on the assumption that direct
                    costs are likely to grow with revenues), and projected them using an average of the
                    last two years of historical data.13° With respect to G&A and Other Expenses, Mr.
                    Searby projected that they will grow at the same rate as inflation on the assumption
                    that these types of expenses develop independently of fluctuations in revenue.131
                    With respect to bad debt expenses, Mr. Searby projected these expenses based on
                    recent analyst reports132 and historical data showing that most bad debt expenses
                    were incurred with respect to Foreign VIP Activity.

           245.    After adjusting the Updated 2013 Projections to reflect Solaire's historical
                   performance to project future performance based on market expectations, Mr.
                   Searby further adjusted the Updated 2013 Projections by applying a discount rate
                   of 12.7% to reflect the relative volatility of Solaire's value as an asset, and to
                   account for additional volatility when calculating the cost of equity.133

           246.    The Respondents criticize the Claimants' model and the data used. They argue that
                   GGAM's interpretation -- that Foreign VIP EBITDA must be calculated using
                   revenue from VIP gaming by Foreign VIP players regardless of the type of table
                   they choose to play on -- ignores the plain language of the MSA, it would be
                   impossible to implement, and it has never been the Respondents' interpretation.134

           247.    The Respondents explain that they understand Foreign VIP EBITDA to be
                   calculated from revenue from Junket Tables, while Local VIP EBITDA is
                   calculated from High-Roller tables. According to the Respondents, this
                   understanding is consistent with the classification of tables in PAGCOR's Casino
                   Regulatory Manual for Entertainment City Licensee. The Respondents note that
                   PAGCOR Manual limits Junket Tables to players with Foreign Passports.135


130
       Searby Report, paras. 5.37 — 5.38.
131
       Ibid., para. 5.39. Mr. Searby assumed an annual inflation of 2.5% from 2017 to 2023. This is consistent with
      Claimants' expert's assumption. See 2 nd Oaten Report, footnote 134.
132
       Searby Report, para. 5.41.
133
       Respondents' Sur-Rejoinder on Damages, para. 188.
134
      Ibid., para. 50.
135
      !bid, paras. 51 — 54.




                                                         74
          248.    The Respondents claim that their interpretation of the MSA is practical since it is
                  easy for Solaire to track revenues generated from the two types of table games, and
                  Bloomberry is required by the PAGCOR Manual to track and report this data for
                  purposes of calculating Solaire's license fees.I36 Furthermore, prior to signing the
                  MSA, the Bloomberry Model showed that Bloomberry was calculating Foreign
                  VIP EBITDA from the revenue that would be generated from the Junket Tables.

          249.    The Respondents claim that GGAM disregards the best evidence of Bloomberry's
                  actual data regarding revenues and expenses of local and foreign VIPs. The
                  Respondents explain that Bloomberry tracks Local VIP and Foreign VIP revenue
                  by the revenue generated from different types of VIP tables and subtracts from
                  those revenues various Local VIP and Foreign VIP expenses in order to arrive at
                  Local VIP EBITDA and Foreign VIP EBITDA. The Respondents admit that this
                  necessarily creates inconsistencies in practice because, unlike VIP revenues, which
                  Bloomberry tracks based on the type of VIP table, Bloomberry is only able to track
                  certain VIP expenses based on individuals or junket operators.

         250.     The Respondents observe that GGAM attempts to use this fact to suggest that the
                  data produced by Bloomberry is unreliable, and explain that any perceived
                  "inconsistency" is merely indicative of the limitations inherent in tracking revenues
                  and expenses at a large casino. Specifically, with respect to tracking bad debts, the
                  Respondents further explain that Bloomberry does not loan money to VIP tables,
                  rather, Bloomberry loans money either directly to individual VIPs playing in the
                  "Premium Area" of Solaire (i.e., the VIP areas of Solaire that are not "Junket
                  Rooms" designated for junket operators), or directly to junket operators who, in
                  turn, lend money to the VIPs that they bring to Solaire to gamble in their designated
                  Junket Rooms at Solaire. When Solaire is unable to collect on the loans made to
                  individual VIPs and/or junket operators, it accounts for these as bad debt expenses.
                  Accordingly, although Bloomberry is incapable of tracking bad debt expenses by
                  table type, it is capable of tracking whether bad debts are incurred by junket
                  operators, individual Foreign VIPs, or individual Local VIPs. Bloomberry collected
                  and produced this "best evidence" of its bad debt expenses to GGAM in this
                  arbitration. Instead of using this best evidence, GGAM has simply rejected it, along
                  with all of the other best evidence that Bloomberry produced.

         251.     The Respondents insist that the Claimants' calculation of Foreign VIP EBITDA
                  disregards the best evidence. Indeed, Mr. Oaten acknowledges the accuracy of
                  Solaire's Financial Books but relies on them only for certain data and cherry picks

136
      Respondents' Sur-Rejoinder on Damages, para. 55.


                                                         75
                   from assumptions and inapplicable financial statements. Thus, Mr. Oaten calculates
                   Solaire's Foreign VIP Junket EBITDA to be significantly more than the actual
                   Total VIP EBITDA reported in Solaire's Financial Books and above the maximum
                   amount possible based on them.137

           252.    The Respondents further argue that Mr. Oaten projects Solaire's future VIP
                   EBITDA by basing future VIP EBITDA projections on his calculation of VIP
                   EBITDA for 2016 with the result that they are even more inflated than his historical
                   calculations. Accordingly, Claimants' alleged damages are untethered from reality,
                   have not been proven with "a reasonable degree of certainly," nor "competent
                   proof or best evidence available," and must therefore be rejected as a matter of
                   Philippine law.138

           253.    It is the Respondents' contention that the Claimants' allocation of complimentaries
                   ("Comps") between the three EDITDA segments is contrary to the MSA and
                   ignores Solaire's actual data. The Respondents explain that, in its Financial Books,
                   Solaire accounts for these intercompany Comp expenses, such as "comped" hotel
                   rooms, as an expense to its gaming operations and as revenue to its hotel operations.
                   In the consolidated financial statements of Solaire's parent company, BRC,
                   however, these intercompany expenses are netted-out such that they are not
                   included as casino expenses or as hotel revenues.139

          254.     The Respondents argue that, in order to avoid the MSA's requirement that expenses
                   must follow the source of revenue,140 Mr. Oaten nets-out intercompany Comp
                   expenses on the ground that he is "following the MSA definition that EBITDA
                   should be based on a consolidated basis."141 Netting-out Comps has a dollar-for-
                   dollar increase to the higher MSA fee categories (Local VIP and Foreign VIP) with
                   a directly correlated decrease to the lower MSA fee category (Base Fee). The
                   Respondents' experts estimate that the netting-out of intercompany Comp expenses
                   by the Claimants' expert leads to an improper increase in management fees of over
                   US $6 million from 2013-2016, followed by an increase of over US$ 3 million per
                   annum thereafter, resulting in a total improper increase to management fees of more
                   than US$ 24 million.142

137
       Respondents' Sur-Rejoinder on Damages, paras. 70 - 72. "Solaire's Financial Books can be used to show the
      maximum amount of Foreign VIP EBITDA (before deducting G&A) that could possibly be calculated by each
      party for a given year. This sanity check can be performed by simply assuming (counter-factually) that there is
      no Local VIP EBITDA, and thus Foreign VIP EBITDA equals Total VIP EBITDA."
138
      Ibid., para. 74.
139
      Ibid., para. 75.
140
      MSA, Annex H, Definitions, "Segment EBITDA Computation."
141
      Respondents' Sur-Rejoinder on Damages, para. 76.
142
      Ibid., para. 78.


                                                         76
           255.    The Respondents recall that the MSA is silent as to how G&A Expenses are to be
                   allocated between the three EBITDA segments, and argue that the allocation of
                   G&A Expenses of the Respondents among the EBITDA segments is based on
                   arbitrary assumptions intended to inflate management fees. The Respondents
                   explain that to fill this gap SGV/EY prepared a report for Bloomberry on how to
                   make this allocation. The report was prepared while the Claimants were still the
                   management services provider for Solaire.

           256.    The Respondents claim that the rejection of the SGV/EY methodology by the
                   Claimants is without basis. They argue that the Claimants' contention that the
                   method cannot be applied without certain internal data such as "the number of
                   employees assigned to different segments of the business,"143 and its follow up
                   contention that the "Respondents...withheld that data144" or that the data is
                   unreliable,145 are flimsy. The Respondents claim that sufficient data was provided,
                   and observe that Bloomberry's expert used this data to follow the SGV/EY
                   allocation method.146

          257.     The Respondents observe that Mr. Oaten applies a cost allocation methodology
                   based on floor area as opposed to revenue generated that results in over 2/3 of G&A
                   Expenses being allocated to Non-Gaming operations, thereby inflating EBITDA
                   for the higher MSA fee categories.147 According to the Respondents, this "volume"
                   vs. "value" approach is nonsensical and impossible to apply with any objectivity.
                   Mr. Oaten provides no insight whatsoever into how he determines whether a given
                   G&A Expense is driven by "volume" as opposed to "value."148

          258.     The Respondents contend that the larger point that Mr. Oaten misses is that virtually
                   all of the G&A Expenses are "value" driven, in the sense that they are necessary
                   expenses to support the operations of the property as a whole, which is meant to
                   (and does) generate the vast majority of its revenues from gaming, rather than hotel
                   accommodation, restaurants, event space or theatre.149 Mr. Oaten's allocation
                   results in more than 66% of G&A Expenses being allocated to Non-Gaming
                   operations, which comprise less than 6% of Solaire's total revenue.15° This results

143
      Claimants' Supplemental Submission, para. 69.
144
      Ibid.
145
      Ibid.
146
       Respondents' Sur-Rejoinder on Damages, paras. 82 to 85.
147
      Ibid., para. 87.
148
      Ibid., para. 88.
149
      Ibid., para. 91.
150
      See 2"d Oaten Report, Appendix 11.




                                                        77
                   in a negative EBITDA for Non-Gaming operations and an increase in management
                   fees of more than US$ 17 million.15I

          259.     The Respondents further contend that Mr. Oaten's calculation of VIP rebates is
                   designed to inflate management fees and it is flawed for the following reasons:

                   (a)     He inconsistently relies on a document that Bloomberry produced showing
                           the breakdown of Local VIP revenues and Foreign VIP revenues that he had
                           rejected on the ground that the document allocated too high a percentage of
                           Total VIP revenues to Local VIPs. Relying on this document results in a
                           large amount of VIP Commissions and rebate expenses being allocated to
                           Local VIPs.152

                  (b)      He applies the wrong commission/rebate rate to the wrong tables.
                           Specifically, Mr. Oaten applies a 1.5% commission to the turnover on
                           Junket Tables located in the Premium Area (when he should apply a 1%
                           rebate, as this is a direct VIP rebate), and he applies a 1% rebate to the
                           turnover on High Roller Tables located in Junket Rooms (when he should
                           apply a 1.5% commission, as this is a junket operation commission).
                           Because turnover on the High Roller Tables located in Junket Rooms is on
                           average nearly four times as much as the turnover on Junket Tables located
                           in the Premium Area, by applying a 1% rebate rate to these High Roller
                           Tables located in Junket Rooms, instead of a 1.5% commission, Mr. Oaten
                           significantly reduces the total amount of historical junket commissions
                           expenses. 153

                  (c)      He compounds the impact of this mistake by relying on what he refers to as
                           "Total commissions" figures from BRC's financial statements. The BRC
                           financial statements actually refer to "gaming promoter's expenses" and,
                           contrary to what Mr. Oaten assumed, "gaming promoter's expenses" does
                           not refer to "Total commissions" (i.e., junket commissions + direct VIP
                           rebates), but only to junket commissions.I54

          260.    The Respondents argue that Mr. Oaten's inappropriate and mistaken assumptions
                  led to implying a 1% direct VIP rebate rate going forward despite the fact that
                  accurate historical data produced by Bloomberry implies a historical VIP rebate

151
      Respondents' Sur-Rejoinder on Damages, para. 93.
152
      Ibid, para. 99.
153
      Ibid., para. 100.
154
      Ibid., para. 101.




                                                         78
                 rate of approximately 1.3%. This results in an improper increase of management
                 fees of approximately US$ 44 million.155

        261.     When calculating damages from lost fees in the management agreement context, it
                 is well-accepted that damages must be adjusted downward to account for the
                 manager's avoided costs.156 The Claimants take the position, which their experts
                 accept as true, that GGAM would not have expended any funds of its own over a
                 period of ten years to continue earning Management Fees. The Claimants have
                 argued that they were able to discharge all of their MSA obligations through Mr.
                 French, the Management Team, and consultants (all paid by Bloomberry). Aside
                 from that, the Claimants have produced little evidence regarding GGAM's
                 "business model" and attendant costs.157

        262.     In respect of avoided costs, the Respondents argue that Claimants followed a
                 strategy of manipulation of corporate forms:

                 (a)     When faced with expenses, GGAM tried to shift such costs inappropriately
                         to Bloomberry.158 GGAM also ensured that its executives were paid by
                         somebody other than GGAM. 159

                 (b)     The Claimants have taken conflicting positions with respect to Cantor and
                         the Support Services Agreement. On the one hand, the Claimants have
                         stated that Cantor provided the back-office services pursuant to the Support
                         Services Agreement necessary to keep GGAM running as a company. On
                         the other hand, the Claimants have said that they would not have incurred
                         any costs, notwithstanding their contractual obligation to pay Cantor for any
                         services at cost plus 10%.1"

                (c)      GGAM purported to assign its Post-Opening Services under the MSA to
                         GGAM Netherlands, a shell company with no employees, no revenue, little
                         capital, and presumably no costs.161



155
     Respondents' Sur-Rejoinder on Damages, para. 103.
156
    Ibid., para. 213.
157
    !bid, para. 213.
158
    Ibid., para. 214. Respondents cite an email in which Mr. Saunders wrote to Mr. Weidner that suggested that
    GGAM were not happy to incur expenses and that it would be difficult to push the expenses to Bloomberry.
159
    Ibid., para. 214.
160
    Ibid., para. 215.
161
    Ibid., para. 216.




                                                     79
          263.     Finally, the Respondents assert that the Parties' agreement to apply 6% interest to
                   fees and other amounts due to GGAM does not apply in a situation where, as here,
                   a contract purportedly has been breached and the amount of fees due and owing is
                   in dispute. Moreover, pre judgment interest is not permitted under Philippine law
                   if the damages cannot be established with reasonable certainty at the time the
                   damages are demanded.162

          C.       Analysis of the Tribunal

                           Framework of the Analysis

          264.    Because of the implications it has for the calculation of damages, the Tribunal will
                  first determine whether the MSA would have likely been renewed for a second five-
                  year term, followed by a determination of the sources of financial information to
                  be relied on for the calculation of historical revenues and costs.

          265.    The remaining questions raised in the Parties' arguments and to be decided by the
                  Tribunal will be considered in the following order: (i) allocation of revenues (ii)
                  specific issues of cost allocation: G&A Expenses, temporary adjustment of
                  PAGCOR' s license fees, complimentaries, commissions and rebates, bad debt, and
                  avoided costs, (iii) failure to mitigate damages, (iv) date of valuation, and (v)
                  amount of the lost management fees.

          266.    In addition to the arguments made by the Parties in their submissions on quantum
                  as well as at the Remedies Hearing, the Tribunal requested updated financial
                  information as well as updated calculations by the Parties' experts based on
                  Tribunal-directed parameters by way of the Tribunal's Directions of February 4,
                  2019 (see paragraph 141 above). Where appropriate, the Tribunal's decision will
                  take into account such updated financial information as well as the experts'
                  Updated Calculations of March 12, 2019.

                           Term of the MSA

          267.    The Initial Term would have ended on March 16, 2018. Whether the MSA would
                  have been allowed to lapse or been terminated by either Party at the end of the first
                  term, or continued by unilateral decision of the Claimants, is the subject of dispute
                  and is determined by the Tribunal in this section.




162
      Respondents' Sur-Rejoinder on Damages, para. 126.


                                                      80
           268.    In answering the question on whether the unearned management fees for the second
                   five-year term would have been earned by the Claimants with reasonable certainty
                   — i.e., "is there a basis for determining with reasonable certainty such unearned
                   profits?"163 — the Tribunal's view is that there is such a basis. The Claimants had a
                   unilateral option to renew the MSA. It is not disputed that managing the casino and
                   hotel was a profitable venture. These are the undisputed facts on the evidence
                   before the Tribunal. The strong inference, therefore, is that (without any
                   extenuating circumstance, such as the Respondents being entitled, and exercising
                   such entitlement, to terminate the MSA) GGAM would have exercised its unilateral
                   option to renew the MSA for a further 5 years. In other words, the evidence warrants
                   "the inference that [GGAM] has been damaged by the loss ofprofits which he might
                   with reasonable certainty have anticipated but for [the Respondents'] wrongful
                   act."164 For the reasons below, the Respondents have not shown any countervailing
                   evidence that would displace this inference.

           269.    The Respondents have argued that the MSA might not have been renewed and may
                   have even been terminated before the end of the Initial Term. The Respondents
                   refer to the opinion of Justice Vitug in support of their argument that, under
                   Philippine law, it cannot be inferred that a party would have exercised an option to
                   renew a contract. On the other hand, the Claimants affirm on the basis of Justice
                   Puno's opinion that, "where the non-breaching party has a unilateral option to
                   renew a contract, but the other party's breach deprives the non-breaching party of
                   its right to extend for the renewal term, the non-breaching party may recover
                   damages for the renewal term."165

          270.     In the view of the Tribunal, the cases referred to by Justice Vitug are not apposite.
                   None of them contemplate wrongful termination of the contract by the counter-
                   party that does not have an option to renew. In the case of Dioquino vs. Intermediate
                   Appellate Court,166 the court held that a tenant could not be held for the additional
                   term unless the tenant has exercised the privilege by some affirmative act. In that
                   case, however, the entire original period had lapsed, and the issue in question was
                   whether the tenants had renewed the lease, and whether they needed to notify the
                   landlord of their intention to do so. In the other case referred to by Justice Vitug,
                   the court held that "it cannot be inferred that the lessees, who were given the option

163
      Paragraph 182 above; Claimants' Supplemental Submission, para. 37.
164
      Applying Casillo v. Court ofAppeals, G.R. No. 133803 (S.C., September 16, 2005) (Phil.) as set out at.Claimants'
      Supplemental Submission, para. 38.
165
      Puno Report, para. 115.
166
      Dioquino vs. Intermediate Appellate Court, G.R. Nos. 68580-81, (Phil. November 7, 1989) (RL- 69); cited by the
      Respondents in its Rejoinder on Damages at footnote 252; 3`d Vitug Report, para. 28.




                                                          81
                   to renew the lease contract, would have exercised such option when there was never
                   any positive act on the part of the lessees, before or after the termination of the
                   original period, showing their exercise of such option."167 Preliminarily, the
                   Tribunal observes that the present case is not about a tenant-landlord relationship.
                   Further, the Claimants had been directly deprived of the benefits of the first term
                   of the MSA because of the Respondents' wrongful termination of the MSA. GGAM
                   could not have exercised or indicated that it would exercise an option in the
                   wrongfully terminated contract. It would have served no purpose as the contract
                   had already been wrongfully terminated. The Respondents may not at the same time
                   deprive GGAM of the benefit of the MSA and then argue that a right granted to
                   GGAM in the MSA has not been exercised by GGAM.

          271.     Under Article 1.3 of the MSA, "GGAM may give notice to the Owners [...] that it
                   wishes to continue the performance of the Services for a subsequent period [...] of
                  five (5) years under the same terms and conditions. This Agreement shall then be
                   deemed extendedfor the Subsequent Term offive (5) years." These terms are clear
                   in giving GGAM the option to extend the MSA if it wishes to do so. The MSA is
                   extended by the mere fact of giving notice to the Owners of the desire to extend it.
                   The terms of Article 1.3 contrast with those of Article 1.4. No convincing evidence
                  has been presented to the Tribunal to show that GGAM would not have exercised
                  the option to renew but for termination of the MSA by the Respondents.

          272.    Further, while GGAM was subject to the performance standards set forth in the
                  MSA, 168 and the Cornell Report recognizes that "renewal clauses are often
                  tempered with language giving the owner the right to terminate if certain
                  performance hurdles have not been achieved, and thus the probability of
                  continuation needs to be tempered by this fact, if such language appears,"169 the
                  Respondents have not shown the Tribunal that there was a probability that GGAM
                  would not have met the performance standards set out in the MSA (which might
                  have justified GGAM's termination at some later date). It was Respondents'
                  premature wrongful termination of the MSA that prevented GGAM from meeting
                  the performance standards. For the same reason, the Tribunal rejects the
                  Respondents' argument that a renewal risk premium should be added to the
                  applicable discount rate (see also the Tribunal's analysis at paragraph 318 below).




167
      Respondents' Sur-Rejoinder on Damages, footnote 192; 4111 Vitug Opinion, para. 34. Emphasis in the original.
      Estate of Llenado vs. Llenado, G.R. No. 145736 (Phil. March 4, 2009) (RL-143).
168
      Set out at Annex B of the MSA.
169
      Cornell Report, p. 10 (set out in the de Roos Report, Appendix A).


                                                        82
        273.     The Tribunal turns to address the Respondents' concerns in relation to the findings
                 made by the DOJ and SEC (together the "FCPA Findings") (see paragraph 229
                 above). While the majority of the Respondents' submissions on this issue were
                 made in the context of their request to the Tribunal to reconsider the Liability
                 Award (which the Tribunal denied on the basis that it could not do so under
                 Singapore law), the Tribunal will address this issue insofar as it is relevant to the
                 question of damages (and, in this section, to the issue of reasonable certainty of
                 damages). The Parties will recall that, while the Tribunal rejected the Respondents'
                 Request for Reconsideration on the basis that it could not reconsider the Liability
                 Award under Singapore law, it did not consider the merits of the Request. As to the
                 relevance of these findings vis-à-vis the reasonable certainty of damages, the
                 Respondents primarily pitch their arguments on two possibilities: (a) that the
                 Respondents would have terminated the MSA in light of the FCPA Findings before
                 the second five-year term could start; or (b) that GGAM would have resigned or
                 agreed not to renew the MSA in order to "save face" (see paragraph 229 above).

        274.    At the outset, the Tribunal observes that the FCPA Findings were made in relation
                to a different entity (i.e., LVS), and not in relation to GGAM. Moreover, they do
                not on their face name either Mr. Weidner or Mr. Chiu, although their identities
                seem to be conceded by Claimants. Further, the most that the FCPA Findings could
                mean is that the US DOJ and SEC have come to certain conclusions about the
                actions of certain persons (who have not apparently been given an opportunity to
                personally answer the allegations against them by those authorities). Moreover, the
                FCPA Findings, while raising questions, do not appear on their face to actually find
                any illegal conduct by those persons, except possibly for LVS to have a sufficient
                internal monitoring and compliance system in place. Facially, the DOJ Non-
                Prosecution Agreement, which attaches the Findings, seems aimed at requiring that
                such a system be put in place for the future for LVS. In the context of the present
                arbitration, these findings clearly do not bind the Tribunal as to their correctness.
                What the Tribunal considers relevant is the possibility that these findings may have
                influenced PAGCOR (if and when it became aware of such findings) to institute its
                own investigations. This, however, is not in itself sufficient for the Tribunal to find
                that there is a probability that the situations envisaged at 273(a) and (b) above
                would have materialised. Even if the Tribunal accepts the Respondents'
                identification of Messrs Weidner and Chiu in the FCPA Findings 1" at face value
                (over which there does not seem to be serious dispute), the Respondents have not
                shown how exactly the FCPA Findings would have entitled them to terminate the
                MSA prematurely (i.e., at the time the FCPA Findings came to light, or before the
                commencement of the second five-year term, or at any time after that). In the

170 Annex B of Respondents' Request for Reconsideration.


                                                     83
       Tribunal's view, there is a missing link between the FCPA Findings and the
       Respondents' position that the MSA would have been terminated after (at most) the
       first five-year term of the MSA (or that GGAM would resigned or not renewed the
       MSA).

275.   In this regard, the Tribunal's view is that the Respondents have not presented a
       convincing case showing how exactly the SEC and DOJ findings would have led
       to an event or sequence of events that would have culminated in a contractually
       recognised event entitling the Respondents to terminate the MSA. The most
       relevant provisions of the MSA are clauses 15.1(f) and 15.1(g) of the MSA — neither
       of which, on their face, would be triggered by the mere fact that (even accepting
       the Respondents' case at its highest) Mr Weidner and Mr Chiu were necessarily
       "tainted" by the FCPA findings.

276.   Clauses 15.1(g) and 15.1(f) state:

       "15.    TERMINATION

              15.1    By Ownerfor GGAM's Breach

                     The Owners may at any time, by written notice addressed to GGAM,
                     give prior notice of intention to terminate the Services under this
                     Agreement, in whole or in part if any of the following have occurred:




                            an affirmative act or failure to act by GGAM that results in a
                            final order by PAGCOR that GGAM is unsuitable to
                            participate in the management of the Facilities, and such
                             order by PAGCOR cannot be remedied within the cure period
                            as may be allowed by PAGCOR, provided no cross-default is
                            triggered thereby.

                     (g)    William Weidner ceases to be the CEO of GGAM, unless
                            William Weidner, Brad Stone, or Garry Saunders, or any
                            person nominated by any of them and approved by the
                            Owners, continue as a senior officer of GGAM actively
                            involved in the performance of GGAM's obligations under
                            this Agreement.




                                       84
         277.     At the Remedies Hearing, counsel for Bloomberry sought to argue that Bloomberry
                  "would have had the ability to rely on [Clause 15.1(f)]" to terminate the MSA. 171
                  Based on the evidence submitted, the Tribunal disagrees. On a plain reading, the
                  engagement of Clause 15.1(f) clearly requires an affirmative act or failure to act by
                  GGAM which results in a final order by PAGCOR that GGAM is unsuitable to
                  participate in the management of the Solaire. Even if the Tribunal took the FCPA
                  Findings at face value, there is no mention of GGAM in those Findings, much less
                  any act or failure to act by GGAM. Even if Mr Weidner and Mr Chiu's acts while
                  they were working for LVS could somehow be attributed to GGAM, there is no
                  evidence (besides the Sarmiento Declaration and Mr Sarmiento's testimony, in
                  which Mr Sarmiento made important concessions (see paragraph 278 below)) that
                  PAGCOR would have made "a final order" that GGAM itself is unsuitable to
                  participate in the management of the Solaire.

         278.     Further, while the Sarmiento Declaration makes the assertions that that the FCPA
                  Findings and the hiring of Mr French were "reasons enough for PAGCOR to
                 disqualify GGAMfrom being involved in gaming in the Philippines," that PAGCOR
                 would have required that Bloomberry "disassociate itselffrom Mr. Weidner, Mr.
                  Chiu and Mr. French," and that PAGCOR "would have required the immediate
                  termination of the MSA if its continuation would not be possible without the
                 involvement of Mr. Weidner, Mr. Chiu and Mr. French," there is no reference to,
                 or evidence of, any previous case where any disqualification was based on similar
                 reasons, nor any reference to, or evidence of, any specific regulation to support
                 these statements. While the Respondents made some reference to the revelation that
                 Mr Stone had previously fired Mr French for his role in rigging a drawing while he
                 worked for LVS, there appears to be nothing in the FCPA Findings implicating Mr
                 Stone. Any suggestion that Mr Stone would have been somehow disqualified by
                 reason of the FCPA Findings, or his connection with Mr French, would thus appear
                 to be speculative. Further, even if the Tribunal were to assume arguendo that Mr
                 Stone would somehow be disqualified by PAGCOR from being involved in the
                 management of the Solaire, Mr Sarmiento conceded in cross-examination during
                 the Remedies Hearing that he did not know of any reason to disqualify Mr Saunders
                 (one of the key personnel under the MSA and a senior officer named in Clause
                 15.1(g) of the MSA) from running the Solaire through GGAM. The Tribunal also
                 does not see any reason why (even if, arguendo, it assumed for the Respondents'
                 benefit that Mr Weidner and Mr Stone (through his connection with Mr French)
                 would be "disqualified" by PAGCOR from being involved in the management of
                 the Solaire) Mr Saunders would not have continued as a senior officer of GGAM
                 actively involved in the performance of GGAM's obligations under the MSA. This

171 Transcript of Hearing on June 1, 2018 ("Day 5 Transcript"), page 190 lines 6 to 19.


                                                       85
       would effectively take the present scenario out of the ambit of the Respondents'
       right to terminate under Clause 15.1(g) of the MSA.

279.   The Tribunal's view, therefore, is that the evidence is simply not strong enough to
       show that there was any likelihood that PAGCOR would have ordered GGAM to
       be dismissed as the manager under the MSA, nor that any other clause in the MSA
       would have entitled the Respondents to terminate the MSA simply by reason of the
       FCPA Findings.

280.   Following from the reasoning above, the Tribunal is even less convinced by the
       Respondents' argument that GGAM would have resigned or that the Parties would
       have brought the MSA to a mutual end by the end of the first five year term to "save
       face." If there is no probability that the Respondents could have justifiably
       terminated the MSA before the start of the second five-year term, the Tribunal
       considers it even less likely that GGAM would have given up on what is
       indisputably a valuable right worth millions of dollars in order to "save face," or
       that it would have simply walked away from such a valuable right without at least
       some form of negotiated settlement fee.

281.   Accordingly, the Tribunal does not consider that the FCPA Findings would have
       entitled the Respondents to terminate the MSA. The Tribunal also does not consider
       it likely that the FCPA Findings would have led to GGAM's resignation, or to the
       Parties bringing the MSA to a mutual end. Put another way, the Tribunal finds that
       the FCPA Findings would not have substantially impacted the "reasonable
       certainty" of GGAM exercising its unilateral right to renew.

282.   Besides the FCPA Findings themselves, the Respondents also alleged that the
       findings of the DOJ and the SEC revealed that the Claimants concealed critical
       information from, and made misrepresentations to, the Respondents and the
       Tribunal. The Tribunal has ruled that it cannot re-open the Liability Award under
       Singapore law pursuant to its Decision on Reconsideration. Further, as noted above,
       although raising questions, the Findings do not appear on their face to actually find
       illegal conduct by Mr. Weidner or Mr. Chiu, and no evidence beyond the DOJ and
       SEC documents was presented by Respondents to prove the underlying facts and
       conduct. For the reasons above, the Tribunal has also found that, even if it took the
       FCPA Findings at face value, such findings do not, on balance, affect the reasonable
       certainty of GGAM exercising its unilateral right to renew the MSA for the second
       five-year term. Therefore, even if there had been any concealment, there would
       have been no prejudice suffered by the Respondents.




                                        86
283.       In conclusion, the Tribunal finds that Claimants would have been entitled, and
           indeed probably would have, exercised its option to renew the MSA beyond the
           Initial Term, and hence that it is reasonably certain they would have been in a
           position to earn the lost management fees beyond the Initial Term. Therefore, for
           purposes of the calculation of the lost fees, the Tribunal finds that the MSA would
           likely have been renewed for a second term and will thus assess GGAM's lost
           management fees over a period of 10 years.

   (iii)          Sources of Information for Historical Costs and Revenue

284.   The Tribunal will next consider the sources of information that the Parties' experts
       rely on to arrive at their calculations of the Claimants' lost management fees.

285.   For the period 2013-2018, both Parties' experts, Mr. Oaten and Mr. Tantleff,
       purport to use the actual results at Solaire to determine the historical revenues and
       costs. They have assumed that Solaire's actual performance under the Respondents
       is the same as it would have been under GGAM, but the experts use different
       sources to determine Solaire's actual results: for the most part, BRC's financial
       statements and analyst reports in the case of Mr. Oaten versus Solaire's Financial
       Books relied on by Mr. Tantleff.

286.   Mr. Oaten justifies the use of BRC's financial statements as the primary source
       because they have been audited by BRC's independent, external auditors and, thus,
       received greater scrutiny than documentation generated internally. On the other
       hand, Mr. Tantleff has relied on Solaire's Financial Books for historical
       performance and various disclosures provided by the Respondents (VIP-Split
       Disclosure, VIP Premium Disclosure, 2' Festin Declaration, etc.). In Mr. Tantleff s
       opinion, these documents, based upon Solaire's actual operational reporting,
       provide a more complete picture than the financial statements of BRC to estimate
       the MSA Fees.

287.   For the Tribunal, the question is how the choice of sources affect the credibility of
       the results of the calculations as the best evidence. BRC's financial statements
       reflect consolidated accounts and include the results of Jeju Sun casino, which is
       not involved in this case. On the other hand, the Financial Books are prepared in
       the ordinary course of business as part of management reporting, are more detailed
       than the financial statements, and the financial information is exclusively that of
       Solaire. While the Tribunal recognizes the merit of audited financial statements, the
       accuracy of the Financial Books has not been disputed by the Claimants. Indeed,
       Mr Oaten, one of the Claimants' experts, makes the observation that the Financial



                                           87
                   Books "do not appear to have been prepared for the purposes of this
                   Arbitration,"172 and relies on the Financial Books for certain components of his
                   own calculations.173 For these reasons, the Tribunal is persuaded to generally rely
                   on the Financial Books unless there is a compelling reason why it should not do so
                   for a given item of cost or revenue. This was reflected in the Tribunal's request for
                   updated calculations from the Parties' experts in the Tribunal's Directions of
                   February 4, 2019, after which the Parties' experts provided their Updated
                   Calculations of March 12, 2019 based on the Financial Books.

               (iv)        Allocation of Revenues

          288.     The Claimants dispute the reliability of the evidence produced by the Respondents
                   on the allocation of revenues to the various segments, particularly because they say
                   it does not permit the Tribunal to determine Foreign VIP EBITDA and Local VIP
                   EBITDA as defined in Sections 4.4 and 4.5 of the MSA. On the other hand, the
                   Respondents submit that the data provided by Solaire may be used to calculate
                   Solaire's historical Local VIP EBITDA and Foreign VIP EBITDA as has been done
                   by Bloomberry's experts by assuming: (a) that all the revenue generated by High
                   Roller Tables and Junket Tables in Junket Rooms, and Junket Tables in the
                   Premium Area are used to calculate Foreign VIP EBITDA, irrespective of how they
                   are classified in the VIP-Split Disclosure; and (b) all revenue generated from the
                   High Roller Tables located in the Premium Area are used to calculate Local
                   EBITDA. The Respondents observe that this method under-allocates the amount of
                   revenue generated from Local VIP players to Local VIP EBITDA but it allows
                   expenses to track revenues more closely, as required by the MSA.

          289.    The issue of revenue allocation stems from the MSA terms "Foreign VIP EBITDA"
                  and "Local VIP EBITDA," which in turn comprises revenue from "Foreign High
                  Roller Tables" and "Foreign Junket Tables" and revenue from "Local High Roller
                  Tables," respectively. Under the MSA these terms were to take the meaning as set
                  forth in the PAGCOR Regulations, but the PAGCOR Regulations only refer to
                  "Junket Tables" and "High Roller Tables." In these circumstances, the Claimants
                  take the position that, because the MSA distinguishes between "Local High Roller
                  Tables" and "Foreign High Roller Tables," gaming on "High Roller Tables" must
                  separately account for revenue by local and foreign customers on this type of table.
                  Thus, the emphasis of the Claimants is on the geographical origin of customers who
                  play on High Roller Tables, (i.e. the "Foreign" and "Local" part of the phrase).


172
      2" Oaten Report, para 4.3.
173   See e.g. page 7 of the Claimants' Oaten-Tantleff Summary, where Mr. Oaten lists the Financial Books as input
      for certain aspects of his calculations (this is repeated at page 6 of the Claimants' Oaten-Searby Summary).


                                                        88
           290.    On the other hand, the Respondents argue that "Foreign High Roller Tables" and
                   "Foreign Junket Tables" refer to gaming on "Junket Tables" (as defined in the
                   PACGOR Regulations), and "Local High Roller Tables" refers to gaming on "High
                   Roller Tables" (as defined in the PACGOR Regulations). The Respondents' focus
                   is thus on the type of table on which on which the customers played.

           291.    The Tribunal notes that, in support of their argument, the Respondents point to the
                   Bloomberry Model (RE-381) and the Cantor Model (RE-411). Both documents are
                   contemporaneous and pre-date the dispute. According to the Respondents, these
                   documents show that there was a common understanding between the Parties at that
                   time. The Tribunal further notes that both Parties' experts agree that the
                   overwhelming majority of VIP revenues come from Foreign VIPs. Thus, Mr. Oaten
                   assumes:174 (i) for 2013 and 2014 local VIP revenue makes up 20% and foreign
                   VIP revenue makes up 80% of Solaire's total VIP revenue; (ii) for 2015, local VIP
                   revenue makes up 15% and foreign VIP revenue 85% of Solaire total VIP revenue;
                   and (iii) for 2016 onwards, local VIP revenue makes up 10% and foreign VIP makes
                   up 80% of Solaire's total VIP revenue. On the other hand, Mr. Tantleff splits
                   revenues between foreign and local VIP revenue as follows:175

                     Year            Foreign VIP Revenue            Local VIP Revenue
                     2013            87%                            13%
                     2014            89%                            11%
                     2015            93%                            7%
                     2016            94%                            6%
                     2017            94%                            6%
                     2018            94%                            6%

          292.     The Tribunal is aware that the Claimants consider the Cantor Model dated and that
                   the interpretation advanced by the Respondents may result in allocating to foreign
                   revenues, those revenues actually generated from the Local VIP Tables. However,
                   Mr Tantleff's methodology actually allocates more VIP revenue to Foreign VIP
                   Revenue than Local VIP Revenue in every single year from 2013 to 2018 (see
                   paragraph 291 above). The Claimants' concern that the Respondents' methodology
                   under-allocates revenue to the Foreign VIP Revenue Segment is therefore
                   unfounded. Further, the Tribunal is persuaded by the Respondents' understanding


174
      See para. 2.6 of Mr. Oaten's Updated Calculations of March 12, 2019.
175
      See para. 175 of the Respondents' Sur-Rejoinder on Damages, which compares Mr. Oaten's and Mr. Tantleffs
      VIP revenue allocations. For 2017 and 2018 figures, see Figure 2 of Mr.Tantleff s Updated Calculations of March
      12, 2019.


                                                         89
                       because it was formulated before, or independent of, the dispute with the Claimants
                       and seems to have been at least generally embraced by Claimants as well.

                 (v)          Allocation of Costs: Specific Issues

                              a.      G&A Expenses

          293.     The Parties agree on the need to identify an appropriate driver for each item of cost
                   when allocating G&A Expenses. They also agree that the casino is the primary
                   driver of the resort. But they differ on how these premises are to be applied. The
                   MSA is silent on how G&A Expenses are to be allocated between gaming and non-
                   gaming revenues and then among the three gaming segments corresponding to the
                   fees to be perceived by GGAM. In June 2012, the Parties agreed to engage an
                   accounting firm to prepare a report on how to make this allocation. The
                   Respondents retained SVG/EY. There is no record of GGAM retaining
                   PricewaterhouseCoopers as it had originally proposed.

          294.     The Report produced by SVG/EY allocates G&A Expenses to two levels. In the
                   first, allocation of G&A Expenses between gaming and non-gaming is made on the
                   basis of generated gross revenue. In the case of costs incurred jointly by gaming
                   and non-gaming, they are allocated according to attributed cost drivers (occupied
                   floor area, usage or fixed asset value). The remainder of the costs are allocated by
                   payroll costs and by full-time equivalent ("FTE") personnel. The level two
                   allocation among gaming segments depends on the gross revenue contribution.

          295.     Mr. Tantleff, the Respondents' expert, has applied the allocation proposed in the
                   SGV Report as shown in the tables in Appendix D to his Second Report. The results
                   for the years 2013-2016 for which data was produced show (a) roughly, a 50% split
                   allocation of G&A Expenses between gaming and non-gaming revenues,176 and (b)
                   an allocation of G&A Expenses to gaming segments of 20%-23% to Foreign VIP,
                   1%-3% to Local VIP, and the remainder to Mass Gaming.

          296.     Mr. Oaten, Claimants' expert, uses a different methodology because he claims not
                   to have sufficient information or that the information available is not reliable. This
                   results in charging as much as two thirds of the G&A Expenses to non-gaming,
                   which generates only between 10 and 15% of revenue. On the other hand, according
                   to the Claimants, the allocation among gaming segments based solely on revenue
                   proposed in the SGV/EY Report may make sense for some (but not all) costs.


176   Between 2013 and 2016, the proportion of G&A Expenses allocated to Non-Gaming (as set out in Appendix D
      to the 2' Tantleff Report) ranged between 44% and 54%.


                                                       90
        297.     The Tribunal first notes that the Claimants had the opportunity to seek independent
                assistance to develop a methodology responsive to different criteria, but that they
                did not do so. Second, Mr. Oaten's methodology has been developed in the context
                of this proceeding rather than in a non-adversarial context. Third, the Parties agree
                on the need to identify an appropriate driver for each category of costs in allocating
                G&A Expenses. Fourth, the casino is the primary driver of the integrated Solaire
                resort. Fifth, the argument that data is unreliable or missing to apply the SGV/EY
                methodology is not convincing since the experts of the Respondents have been able
                to apply the SGV/EY methodology with the same data as provided by the
                Respondents to the Claimants. Sixth, the Claimants recognized that the alleged
                missing data on the number of employees assigned to different segments of the
                business was actually provided by the Respondents. As to this data's reliability,
                the Respondents explained that Mr. Oaten failed to account for about 1,000
                employees that perform G&A functions, such as executive, internal audit, legal,
                finance and security, and inappropriately compared data showing the monthly
                average of FTEs for the year and data showing the year-end number of FTEs.I77
                For these reasons, the Tribunal considers that the methodology of SGV/EY is a
                reasonable starting point for the allocation of the G&A.

        298.    The Tribunal is mindful that the MSA does not provide any parameters for the
                allocation of fixed expenses to each category of EBITDA and only stipulates that
                it be "fair and reasonable."178 Having looked at both expert reports, and considering
                the Parties' submissions, the Tribunal's view that the SGV/EY allocation
                methodology is a good starting point is reinforced, and the Tribunal is convinced
                that this satisfies the requirement of "fair and reasonable" under the MSA. In this
                regard, the Tribunal is mindful that the SGV/EY report was prepared by external
                accountants and was done before the onset of the present dispute. Further, while
                the SGV/EY Report does not contain allocation methodologies for the sub-
                categories of "Internal Audit," "Construction," and "Scheduling," the Parties'
                experts actually agree on the allocation methodology to be used (see paragraph 90
                of the 2" Tantleff Report; paragraph 9.33 of the 2nd Oaten Report). The Tribunal is
                therefore content to adopt those agreed allocation methodologies in addition to the
                SGV/EY allocation methodology.

        299.   In this regard, the Tribunal had previously directed that this approach (i.e., the
               SGV/EY methodology, supplemented by the Parties' experts agreed allocation
               methodologies) be adopted by the Parties' experts in their further calculations


' 7 Respondents' Sur-Rejoinder on Damages, para. 84.
178 MSA, Annex H, definition of Segmentation EBITDA Computation.


                                                  91
                   submitted on March 12, 2019 (which had been requested pursuant to the Tribunal's
                   directions of February 5, 2019).

                           b.       Temporary Adjustment of PAGCOR License Fees

           300.    In April 2014, BIR179 issued a ruling whereby Bloomberry and other PAGCOR
                   licensees became subject to regular corporate income tax. PAGCOR temporarily
                   reduced its license fees by 10% to compensate the licensees for the financial impact
                   of the BIR Ruling. PAGCOR and Bloomberry successfully challenged the ruling
                   and in July 2016 the income tax and license fee regime reverted to their previous
                   level. This temporary change in the license fee and tax regime had the effect of
                   reducing PAGCOR license fees — an expense factored into EBITDA — and
                   increasing income taxes — an expense that is not considered when calculating
                   EBITDA. The adjustment in license fees cancelled out the financial impact on
                   Bloomberry's income tax. The issue is the impact of the fee reduction on the
                   calculation of EBITDA. By definition, the calculation of EBITDA does not include
                   income taxes, but would take into account the reduction of fees as part of the costs.
                   The Parties disagree on whether the temporary adjustment in fees should be taken
                   into account in the calculation of EBITDA.

          301.    The Tribunal is of the view that the actual fees paid should be used in the calculation
                  of the EBITDA as required by the definition of EBITDA. There is no basis for the
                  Respondents to contend that historical EBITDA should be adjusted to reflect
                  "original expectations" when objective facts contradict such "expectations."

                           c.      Complimentaries ("Comps")

          302.    The Parties disagree on whether Comps18° should or should not be netted out. In
                  the Claimants' view, the value of Comps should be accounted for as an
                  intercompany allocation (i.e., a cost in the casino and an equal amount in hotel
                  revenue). Mr Oaten justifies this on the basis that he is "following the MSA
                  definition that EBITDA should be based on a consolidated basis."181 In the
                  Claimant's Oaten-Tantleff Summary, Mr Oaten also states that this is consistent
                  with the MSA definition of "Segment EBITDA Computation" and "Facilities
                  Revenue," as well as the International Financial Reporting Standards, which require
                  the contra (elimination) of comp revenue and expenses.


179
      This refers to the Bureau of Internal Revenue (Philippines).
180
      Comps or Complimentary Expenses consist of the costs of services and products provided by Solaire that are
      (generally) free of charge to gaming customers. See Respondents' Sur-Rejoinder on Damages, para. 75.
181   2nd Oaten Report, paras 7.1 to 7.3.



                                                       92
           303.    The Respondents, on the other hand, rely on the provision of the MSA that provides
                   that "Operating Expenses shall be allocated between each such category in a
                   manner which takes into account the actual amount of variable Operating Expenses
                   incurred in generating such category of EBITDA." For the Respondents, Comps
                   expenses are a direct cost of doing business and, consistent with the MSA, should
                   be allocated to the operating segment that generates the revenue.

          304.     For the most part, the issue of Comps arises in the context of the fees due to GGAM
                   for Foreign VIP and Junket Players and to a lesser extent in respect of the local VIP
                   base because Comps are essentially incentives for such players to play in the casino.
                   Section 4.3 of the MSA provides that the owners shall pay GGAM an annual base
                   fee of two per cent of the Base Fee EBITDA from the Facilities. Thus, in the case
                   of the Base Fee, any Comps expenses should be netted out in calculating the
                   EBITDA for the Facilities as a whole. As regards the Local VIP Base Fee and the
                   Foreign VIP/Junket Fee the Tribunal refers to the Segment Computation prescribed
                   in Annex H of the MSA, which has been quoted above but may be clearer if a fuller
                   portion is quoted here:

                           "[...] all Facilities Revenue shall be segregated amongst each and every
                           category of EBITDA and, further, Operating Expenses shall be allocated
                           between each such category in a manner that takes into account the actual
                           amount of variable Operating Expenses incurred in generating each and
                           every such category of EBITDA and a distribution of all fixed expenses to
                           each such category of EBITDA which isfair and reasonable 1.4"

          305.    As the Tribunal understands this definition, Operating Expenses must be allocated
                  to the operating segment that generates the revenue. Therefore, for purposes of
                  calculating the EBITDA of the Local VIP and Foreign VIP, the cost of the Comps
                  should not be netted out.

          306.    On this issue, the Tribunal notes that Mr Oaten introduced an argument based on
                  the International Financial Reporting Standards ("IFRS") in the Claimants' Oaten-
                  Tantleff Summary that such standards required the "contra" of Comp revenue and
                  expenses; this was objected to by the Respondents for being made late.182 Further,
                  Mr. Oaten advanced another late argument in the Claimants' Oaten-Tantleff
                  Summary not previously made (and also objected to by the Respondents), that if
                  the Tribunal decided not to net out the Comps then "the appropriate calculation of

182   See paragraphs 107 and 110 above.




                                                    93
                   that expense would be the actual marginal/variable cost of providing the comps,
                   not the retail value."183 Because these arguments were made out of time, the
                   Tribunal instructed the Parties in the Tribunal's Instruction of May 23, 2018 to
                   refrain in their arguments or cross-examination of experts or fact witnesses in the
                   Remedies Hearing from referring to the highlighted segments of Mr. Oaten's
                   summary in Exhibit A to the letter of Respondents dated May 16, 2018.184 The
                   Claimants reiterated these arguments in their opening presentation at the Remedies
                   Hearing, and further reiterated the actual marginal/variable cost argument in the
                   updated financial calculations requested by the Tribunal on February 4, 2019. On
                   each occasion the Respondents objected to the late arguments of Mr. Oaten,185 and
                   on the latter occasion this led to a flurry of correspondence between the Parties (see
                   paragraphs 150 to 156 above). The Tribunal makes clear that it has not taken these
                   late arguments into account. Nevertheless, even if they had been taken into account,
                   the Tribunal does not agree with Mr. Oaten's views on this issue and would have
                   reached the same conclusions. The key point is that there is no basis for the netting-
                   out of Comps in the face of the clear terms of the MSA that Operating Expenses
                   must be allocated to the operating segment that generates the revenue.

                           d.       Commissions and Rebates

          307.     The Parties' disagreements arise from misunderstandings of the terminology used
                   and differences in assumptions. As explained by the Respondents, the Claimants
                   apply the wrong commission or rebate rate to the wrong tables, which result in
                   reducing the historical expenses for junket commissions. There is also a
                   misunderstanding of the expression "gaming promoter's expense" in BRC's
                   financial statements. This expression does not refer to total commissions including
                   rebates, it refers to junket commissions and does not include direct VIP rebates as
                   shown in documents in the record.186 Mr. Oaten comments that, if one assumed that
                   the commission amount shown in the financial statements relates only to junket
                   commissions, this would significantly exceed the PAGCOR maximum percentage
                   limit.187

          308.    The issue of the limits set by PAGCOR on junket commissions surfaced only when
                  the Experts' Issue Summaries were submitted to the Tribunal. It had not been raised
                  in either of Mr. Oaten's reports, and was only raised in the Claimants' Oaten-
                  Tantleff Summary and, as in the case of the use of IFRS and Comps, opposed by

183
      Claimants' Oaten-Tantleff Summary, p. 11.
184
      Email to the Parties from the Tribunal dated May 23, 2018.
185
      Letter of the Respondents dated May 29, 2018 and Respondents' submission of April 8, 2019.
186
      See Exhibits RE-388, RE-389 and RE-383.
187
      Claimants' Oaten-Tantleff Summary, p. 20.


                                                        94
                   the Respondents for being made out of time. Thus, the Tribunal instructed the
                   Parties to refrain in their arguments or cross-examination of experts or fact
                   witnesses in the Remedies Hearing from referring to the highlighted segments of
                   Mr. Oaten's summary in Exhibit A to the letter of Respondents dated May 16, 2018
                   (which included this issue) in the Tribunal's Instruction of May 23, 2018.
                   Nevertheless, in Mr. Oaten's Updated Calculations dated March 12, 2019 in
                   response to the Tribunal's Directions of February 4, 2019, Mr. Oaten again based
                   his calculations on purported "maximum rate limits" set by PAGCOR in respect to
                   commissions and Comps.188 This was again objected to by the Respondents, and,
                   as observed above, led to a flurry of correspondence between the Parties (see
                   paragraphs 150 to 156 above). In any event, the Respondents presented Mr.
                   Sarmiento as a person who could address this issue during the Remedies Hearing.
                   While the Claimants noted in their letter dated May 18, 2018 that Mr Sarmiento
                   was "presumably able to address at the hearing issues arising under those
                   regulations," the Claimants chose not to ask Mr. Sarmiento any question on
                   PAGCOR's limits. It became clear and undisputed at the hearing that the
                   commissions for fixed junket room operators were part of revenue sharing
                   programs and that there were no limits set by PAGCOR for these programs.189
                   Furthermore, already in 2013, before the termination of the MSA, GGAM itself
                   implemented a revenue sharing program with implied commission rates of 1.5% or
                   1.6% depending on the amount of turnover before the termination of the MSA.19°
                   UBS Securities Philippines Inc. has, in analyst reports, reported on implied
                   commissions as part of a revenue sharing program of Bloomberry with Suncity
                   without any indication that such an arrangement would be contrary to PAGCOR
                   regulations.191

          309.     The Tribunal therefore rejects the Claimants' reliance on the purported maximum
                   rate limits set by PAGCOR. Besides being made out of time, this argument was
                   unmeritorious for the reasons already stated above (see above at paragraph 308).
                   That being the case, the Tribunal fails to see the need to base the calculation of the
                   commissions and rebates on the financial statements or outside analysts' reports,
                   instead of the actual amounts in the Financial Books. Therefore, the Tribunal
                   concludes that the information in the Financial Books should be used for purposes
                   of calculating the commissions and rebates.




188
      Mr. Oaten's Updated Calculations dated March 12, 2019, paras. 2.9; 2.19-2.24.
189
      See examination of Mr. Almeda, Transcript of Hearing on May 29, 2018, pp. 202 and ff.
190
      Email from Mr. Sanders to Mr. Chiu, JCBR-166, p. 49. See also testimony of Mr. Almeda.
191
      Exhibit 38 to the 2nd Oaten Report, Exhibit 6 to the 4th Stone Declaration, slide 20 of Respondents' Closing
      Argument.


                                                        95
                         e.       Bad Debt Expenses

         310.    As regards the allocation of bad debt expenses, the Respondents explain that,
                 "When Solaire is unable to collect on the loan it makes to individual VIPs and/or
                 junket operators, it accountsfor these as bad debt expenses. Accordingly, although
                 Bloomberry is incapable of tracking bad debt expenses by table type, it is capable
                 of tracking whether bad debts are incurred by junket operators, individual Foreign
                  VIPs, or individual Local VIPs."192 The Respondents recognize that the MSA
                 requires that expenses must follow the source of revenues, but the system in place
                 for tracking VIP revenues and expenses does not always allow this to be done. The
                 Respondents point out that the current system was already in place when GGAM
                 managed Solaire. The Respondents add that the imperfections of the system do not
                 justify disregarding Solaire's actual financial and operating data in exchange for
                 analyst reports and experts' assumptions.

        311.     The Tribunal is persuaded by the undisputed facts that the current system is actually
                 used in the management of Solaire, and was already in place when GGAM managed
                 it. As stated earlier, the Tribunal considers that, in general, the financial information
                 provided by Solaire in the Financial Books should be used with preference to the
                 financial statements and external reports.

        312.    As regards the Claimants' contention that, under their experienced management,
                the level of debt would have been lower, particularly in light of the provision for
                bad debt of 16% in 2015, the Tribunal declines to speculate on whether the financial
                results of Solaire would have been better if the MSA had not been terminated. The
                Tribunal will only observe that Mr. Oaten in his bad debt assumptions commented
                that the high level of bad debts in 2015 appeared to have been an anomaly. Bad
                debts were around 1% of VIP revenue in 2016. Mr. Oaten adds "In Bloomberry's
                most recent financial statements (for the year-ended 31 December 2017), the bad
                debt `write-off' was negative, i.e. there was a net recovery of bad debts."193

                         f.      Avoided Costs

        313.    The Claimants contend that they have no avoided costs. The Respondents disagree
                and have argued that the Claimants manipulated corporate forms to shift costs
                inappropriately. The Tribunal notes that Section 4.7 of the MSA requires the
                Respondents to reimburse the Claimants for expenses related to the Services which


192 Respondents' Sur-Rejoinder on Damages, para. 64.

193 Claimants' Oaten-Searby Summary, p. 22.




                                                       96
                      have not been paid by the Respondent. According to Prof. de Roos's testimony, it
                      is consistent with industry norms that there would not be any avoided costs to
                      attribute to the Respondents' termination of the MSA.194 The Tribunal has no
                      evidence of any specific costs (which the Claimants would have expended and
                      which would not have come within the reimbursement clause in the MSA) that
                      could have been avoided or the basis on which an amount could be calculated. The
                      Tribunal also notes that the Respondents' own expert, Mr. Searby, proceeded with
                      the calculations in his Searby Report on the understanding that "it is not disputed
                      that... the Claimants have avoided no cost by not performing the MSA"195. Indeed,
                      this was an express matter of agreement between Prof Kalt and Mr. Searby (as listed
                      in the Claimants' Kalt-Searby Summary at (III)(A)(5); Respondents' Kalt-Searby
                      Summary at (III)(A)(5)).

           314.       Therefore, the Tribunal will not deduct any costs. The Tribunal has already rejected
                      the Respondents' sham entity argument above (see paragraph 180 above).

               (vi)          Date of Valuation

           315.       As explained by the Respondents, there are two possible dates for the valuation of
                      lost management fees under the MSA: the date of termination or the date of the
                      eventual award. The Respondents argue that the more appropriate date of valuation
                      is the date of termination. The Claimants, on the other hand, have used a proxy date
                      of the eventual award for their calculations of the lost management fees.

          316.     The Tribunal finds that the date of valuation should be the date of the eventual
                   award (as represented by the proxy date of April 30, 2019, which was the latest date
                   used by the Parties' experts in calculating damages) as opposed to the date of
                   wrongful termination. As the Solaire's cash flows from 2013 up to the date of the
                   Award would (theoretically) have been known to the Parties (had the MSA not been
                   wrongfully terminated), the Tribunal's view is that it is not appropriate to discount
                   the historical management fees (i.e. the management fees that would have been paid
                   to GGAM to-date, had it not been for the Respondents' wrongful termination of the
                   MSA). The discount rate is employed to account for the risk of the cash flows that
                   underlie the lost fees. As the historical management fees no longer carry any risk
                   (in the words of Claimants' counsel, they are "de-risked"196), the Tribunal's view
                   is that they should not be discounted. Further, using the date of wrongful
                   termination would result in the Claimants being undercompensated (since the


194   de Roos Report, para. 39.
195   See Searby Report, para. 5.24.
196   See Day 5 Transcript, page 53 line 17 to page 54 line 6.


                                                          97
                       historical fees would have to be artificially discounted to the date of wrongful
                       termination, despite the fact that the Claimants would certainly have earned that
                       amount of fees had the MSA not been wrongfully terminated). In such
                       circumstances, the Tribunal finds that it is more appropriate to use the date of the
                       Award rather than the date of the wrongful termination as the date of valuation (so
                       that there is no discounting of management fees that the Claimants would have
                       already earned).

               (vii)          Discount rate

           317.    The Tribunal finds that a discount rate of 10.7% is appropriate in the present case.
                   This is the discount rate that was calculated by Mr. Kalt by applying the Capital
                   Asset Pricing Model (which the Parties' experts agree should be used).197 The
                   Tribunal considers that this discount rate is appropriate because it may also be
                   reached by making appropriate adjustments to Mr. Searby's proposed discount rate.
                   In this regard, the Tribunal notes that if it adjusts the beta Mr. Searby uses to take
                   into account five years of data, the beta will change from 1.28 to 0.96 (see pages 8
                   to 9 of the Respondents' Kalt-Searby Summary). The Tribunal considers that this
                   adjustment is appropriate as five years of data would be subject to lower variance
                   and include more data, rendering the measure of beta more reliable. After this
                   adjustment, and based on the formula set out in Appendix 5 of the Searby Report
                   at A.540, Mr Searby's discount rate would be adjusted to 10.738% - very close to
                   the 10.7% used by Mr. Kalt. The discount rate of 10.7% may therefore be justified
                   on both experts' views, and is adopted by the Tribunal.

          318.     For the avoidance of doubt, this means that the Tribunal rejects Mr. Tantleff s initial
                   position set out in his expert report dated December 15, 2015, which added several
                   unique discount premiums to the applicable discount rate (i.e., company size
                   premium, the incentive fee risk premium and the renewal risk premium). The
                   addition of these premiums appear to have been the position taken by the
                   Respondents at the time of its Rejoinder on Damages (where the Respondents
                   criticised the Claimants for not adopting these risk premiums);198 However, the use
                   of these premiums was all but abandoned in their Sur-Rejoinder on Damages, where
                   the Respondents relied primarily on the expert evidence of Mr Searby on this issue,
                   and did not raise these premiums at all. Indeed, Mr Searby does not make any
                   mention of a company size premium, incentive fee risk premium, or renewal risk
                   premium in the Searby Report and had, in his calculation for discount rate, set out


197
      This is expressly listed as a matter of agreement in both Parties' Kalt-Searby Summaries —Claimants' Kalt-Searby
      Summary at (III)(A)(3); Respondents' Kalt-Searby Summary at III(A)(2).
198
      Respondents' Rejoinder on Damages, paras. 68 to 72.


                                                          98
                       only the following elements: risk-free rate, equity market risk premium, beta,
                       country risk premium (see Appendix 5 of Searby Report).

              (viii)         Projections of revenues

           319.       As the Tribunal has found that damages should be awarded for lost management
                      fees for ten years rather than five years, it turns to consider projected revenue
                      growth rates for the years 2019-2023.

           320.       In Mr Oaten's Updated Calculations dated March 12, 2019, he applies the growth
                      rates reflected in the latest MS Report for his revenue projections for 2019 and
                      2020. Thereafter, for the remaining years (2021-2023), he projects revenue at the
                      2020 growth rate.199 This is a departure from his previous methodology, where Mr
                      Oaten uses a "long-run" growth rate of 2.5% for these years.2°°

           321.       In Mr Searby's Updated Calculations dated March 12, 2019, he also applies the
                      growth rates reflected in the latest MS Report for his revenue projections for 2019
                      and 2020. However, he uses "the same longrun forecasts of revenue and cost
                      growth rates that [he] used in [his] first report to project Solaire's revenues and
                      costs."201 This is a departure from his previous methodology, where he explicitly
                      carried forward the latest projected growth rate from the MS Report available
                      then.202

               (Lc)          Projections of costs and expenses

          322.      Mr Searby's updated Report (consistent with his previous report) projects costs in
                    two ways: first, in proportion with revenues for direct costs; second, for indirect
                    costs, at 2.5% in line with inflation. Mr Oaten's updated Report does not segment
                    direct and indirect costs, but projects costs to grow proportionately with the revenue
                    segment to which they are attributed.

          323.      The Claimants argue that that Mr Searby's way of projecting indirect expenses
                    would "inexplicably" lead to the conclusion that "Solaire will become unprofitable


199
      Oaten's Updated Calculations dated March 12, 2019, at para. 2.8. It is not clear from Mr Oaten's report what the
      particular rate he used is, or whether he has split the growth rate used in the way that the MS Report has. In the
      MS Report, there are projected growth rates for 2019 and 2020 for gross revenue (6% / 7%); VIP revenue (0% /
      6%); Mass revenue (14% / 7%); Slot revenue (9% / 8%); Non-Gaming (4% / 3%).
200
      See e.g. 2"d Oaten Report, paras. 6.21, 6.25, 6.30, and footnote 134.
201
      Searby's Updated Calculations dated March 12, 2019, para. 2.13.
202
      Searby Report, para. 5.35.




                                                           99
                       over time."203 It is not clear what are the "indirect expenses" to which Mr Searby
                       refers. Mr Oaten's Report does not refer to indirect expenses. The Tribunal notes
                       that the experts had previously agreed in their summaries (i.e. the Claimants' Kalt-
                       Searby Summary and the Respondents' Kalt-Searby Summary) that it would be
                       appropriate to apply an inflation rate of 2.5%204 to projected costs from 2019
                       onwards.

                 (x)          Failure to Mitigate Damages

          324.        The Respondents carry the burden of proof that the Claimants failed to mitigate
                      damages.205 The Respondents have not provided any evidence to substantiate that
                      the Claimants could have mitigated damages or the amount of the damages that
                      they could have mitigated (which is required under Philippine law).206 Moreover,
                      conceptually, it seems unlikely that the Claimants could have mitigated its damages
                      in the circumstances of this case since it had the capacity and ability to manage the
                      Solaire resort as well as others at the same time.

          325.        For these reasons, the Tribunal finds that the Respondents' claim that the Claimants
                      failed to mitigate damages has no merit.

               (xi)           Pre-award interest

          326.     The Claimants argue that the Respondents must pay GGAM pre judgment interest
                   of 6% per annum (either under the MSA or Philippine law), while the Respondents
                   disagree. The Respondents argue that the contractually agreed rate of 6% does not
                   apply in a situation of breach of contract in which the amount of fees due and owing
                   is in dispute. The Respondents assert that, under Philippine law, post-award interest
                   is not mandatory and the Claimants are not entitled to it under the circumstances.
                   The Respondents explain that the "Claimants seek damages in the form of lost
                   profits that have yet to be earned, and thus, they cannot point to a loss of capital,
                   investment, or `cost of money. "'207

          327.     The Tribunal agrees with the Respondents that the rate to be applied on account of
                   fees lost after the wrongful termination of the MSA is not necessarily the
                   contractually agreed interest rate. The Tribunal further agrees that the amount


203
      GGAM's letter to the Tribunal dated March 26, 2019.
204
      Claimants' Oaten-Searby Summary, page 2.
205
      Hicks v. Manila Hotel Co., cited by the Claimants in their Supplemental Submission, para. 120.
206
      Lim v. Court of Appeals, G.R. No. 125817 (S.C., January 16, 2002) (Phil.), cited by the Claimants in their
      Supplemental Submission, para. 120.
207
      Respondents' Sur-Rejoinder on Damages, para. 127.


                                                         100
           remains uncertain until determined by the Tribunal. Therefore, in accordance with
           Philippine law, no pre-award interest will be granted on the MSA management fees.

   (xii)          Amount of the Lost Management Fees

328.   The Tribunal's analysis above guides, in large part, the Tribunal's decision on the
       final amount of lost management fees due to the Claimants.

329.   On February 4, 2019, the Tribunal directed the Parties to provide the Tribunal with
       updated calculations related, inter alia, to the amount of lost management fees (see
       paragraphs 10 to 31 of the Tribunal's Direction of February 4, 2019), which resulted
       in the Parties submitting each expert's Updated Calculations of March 12, 2019.
       This direction included the Tribunal's guidance on the various bases on which the
       Parties' experts should update their calculations in relation to the lost management
       fees. This guidance corresponds with the Tribunal's findings in this Final Award,
       which, for convenience are all set out at paragraph 330 below.

330.   To recapitulate, the Tribunal has decided in this Final Award that:

       (a)       damages for lost management fees should be assessed over a 10-year term
                 (see paragraph 283 above);

       (b)       it will generally rely on the Financial Books unless there is a compelling
                 reason why it should not do so (see paragraph 287 above);

       (c)       it prefers Mr. Tantleff s revenue allocation methodology, for the reasons set
                 forth above (see paragraph 292 above);

       (d)      it prefers the SGV/EY allocation methodology supplemented by the Parties'
                experts agreed allocation methodologies (see paragraph 299 above);

       (e)      there should be no "adjustment" to historical EBITDA on account of the
                PAGCOR license fees (see paragraph 300 above);

       (f)      there should be no "netting-out" of Comps, and the Tribunal also rejects the
                Claimants' late argument that the appropriate calculation of that expense
                should be the actual marginal/variable cost of providing the comps, not the
                retail value (see paragraph 305 above);




                                          101
                    (g)     there is no PAGCOR "maximum rate limit" on junket commissions, and the
                            relevant information in the Financial Books should be used for purposes of
                            calculating the commissions, rebates, and bad debts (see paragraphs 308, 309
                            and 311 above);

                    (h)     the Claimants have not avoided costs (see paragraph 313 above);

                    (i)     the Respondents have not shown that the Claimants could have mitigated
                            damages or the amount of the damages that they could have mitigated (see
                            paragraphs 324 to 325 Above);

                    (j)    damages for the lost management fees should be calculated for a full 10-year
                           term (see paragraph 315 above); and

                   (k)     there should be no pre-award interest awarded (see paragraphs 326 to 327
                           above).

          331.     For convenience, the table below sets out the various updated calculations
                   submitted to the Tribunal by way of the Parties' experts' Updated Calculations of
                   March 12, 2019:208

                                                        Claimant                          Respondent
            5-year term (without pre-                    $ 85.12m                           $ 52.9m
            award interest)
            10-year term (without pre-                  $ 206.17m                           $ 85.2m
            award interest)
            5-year term (with pre-                      $ 101.58m                    $ 62.7 / 63.6 (5.33%;
            award interest)                                                          simple / compound)
                                                                                       64.0 / 65.0 (6%;
                                                                                     simple / compound)
            10-year term (with pre-                     $ 223.48m                    $ 95.0 / 95.9 (5.33%;
            award interest)                                                          simple / compound)
                                                                                       96.3 / 97.3 (6%;
                                                                                     simple / compound)


208
      The Tribunal notes that Mr Searby had additionally provided calculations based on alternative assumptions (i.e.
      that the date of valuation should be the date of termination, or that there should be a hypothetical adjustment to
      account for the reduction in PAGCOR license fees). In line with the Tribunal's analysis, these bases are rejected,
      and the alternative figures proffered by Mr Searby are not included in the analysis here.




                                                          102
         332.    For clarity, the Tribunal observes that the most responsive figure that the
                 Claimants' experts have proffered in respect of the lost management fees for a 10-
                 year term is US$ 206.17 million without pre-award interest.209 While the
                 Respondents' experts provided several updated calculations at the request of the
                 Respondents' counsel, the most responsive figure set out in Mr. Searby's Updated
                 Calculations of March 12, 2019 calculates lost management fees of US$ 85.2
                 million without pre-award interest.210

         333.    One of the main differences between the Claimants' and Respondents' experts'
                 Updated Calculations of March 12, 2019 can be explained by the experts' allocation
                 of costs for Comps, commissions, and rebates. As explained above, Mr. Oaten
                 allocated costs and based his calculations in part on late arguments previously made
                 in his Summary of Issues, which the Tribunal has decided not to take into account
                 (see paragraphs 330(f) and 330(g) above). In particular, Mr Oaten based his
                 calculations, in part, on: (a) the argument that the "actual marginal cost" be used in
                 determining the cost of Comps, and (b) the existence of a PAGCOR regulatory
                 limit. These bases for calculation were raised late and have been rejected by the
                 Tribunal in its analysis above (see paragraphs 306 and 308 above).

        334.     While there is also a difference in the way the experts allocated revenues to mass
                 gaming, Local VIP and Foreign VIP, the Tribunal is persuaded to use Mr. Tantleff s
                 revenue allocation methodology, as reflected in the Tribunal's analysis and
                 decision at paragraph 330(c) above.

        335.     The other main difference between the Claimants' and Respondents' Updated
                 Calculations of March 12, 2019 lies in the way that their respective experts have
                 projected costs and revenues. In this regard, the Tribunal observes that both sides'
                 experts could be said to have departed from their previous methodologies in their
                 projections.

        336.     Having closely considered the evidence, the submissions, the expert reports, and
                 the Updated Calculations of March 12, 2019, the Tribunal is persuaded to use the
                 Respondents' experts' Updated Calculations of March 12, 2019 for the Claimants'
                 lost management fees for a 10-year term, because, in the Tribunal's view, the
                 Respondents' experts (i.e. Mr. Tantleff and Mr. Searby) present calculations that
                 adhere more closely to the decisions of the Tribunal set out at paragraph 329 above
                 (see especially the analysis at paragraph 333 above). While both sides' updated


209 Prof. Kalt's Updated Calculations of March 12, 2019 , para. 7; Figure 3.
210 Mr. Searby's Updated Calculations of March 12, 2019, Table 1-1; para. 3.9.


                                                      103
       calculations are not without reproach (especially in relation to the projections of
       revenues and costs), the Tribunal's view is that, on the whole, the Respondents'
       updated calculations more accurately reflect the lost management fees suffered by
       the Claimants.

337.   Accordingly, based on the above considerations and the conclusions reached above
       by the Tribunal on each of the elements of the lost management fees calculation,
       the Tribunal finds that the lost fees as calculated by the Respondents' experts are
       more aligned with the Tribunal's directions, and determines that the lost
       management fees for the MSA's 10-year period amount to US$ 85.2 million.




                                      104
VIII.          SHOULD THE TRIBUNAL APPLY THE DOCTRINE OF EQUITABLE
               MITIGATION?

               A.      Respondents' Arguments

               338.    The Respondents contend that the Tribunal should apply equitable principles in
                       determining the amount of damages based on Article 2215 of the Civil Code of the
                       Philippines ("CCP").211 According to the Respondents, the amount of damages
                       should be reduced on a number of grounds:212 (a) because the Claimants have
                       already derived substantial benefits from the MSA for their pre-opening and
                       development services;213 (b) the instances in which the Claimants contravened the
                       MSA revealed by the FCPA Findings, as well as the purported concealment of
                       evidence by GGAM in the present Arbitration;214 (c) the imbalance between the
                       MSA's obligations and compensation caused by the Tribunal's interpretation of the
                       phrase "through the Management Team";215 (d) because Cantor will "benefit
                       handsomely" from any damages award despite being a non-party whose role was
                       suppressed by the Claimants; (e) GGAM's manipulation of corporate forms;216 and
                       (f) the repeated desire of the Respondents to compromise.217

              B.       Claimants' Arguments

              339.     The Claimants oppose the application of the doctrine of equitable mitigation, and
                       contend that the Respondents' arguments on the basis of the Claimants' alleged
                       breach of the MSA are an attempt to re-litigate the unfounded allegations made in
                       the Liability Phase. In this regard, as the Tribunal has already found that the
                       Respondents, and not GGAM, breached the MSA, the arguments on equitable
                       mitigation of damages based on those allegations is moot.218

              C.       Analysis of the Tribunal

              340.     Article 2215 of the CCP provides:




    211
          RL-1.
    212
          See e.g. Respondents' Sur-Rejoinder on Damages, para. 25.
    213
          Ibid.
    214
          Ibid., paras. 193 to 204.
    215
          Ibid., paras. 205 to 212.
    216
          Ibid., paras. 213 to 216.
    217
          Ibid., paras. 217 to 218.
    218
          Claimants' Supplemental Submission, footnote 237.


                                                           105
                   "Article 2215. In contracts, quasi-contracts, and quasi-delicts, the court may
                   equitably mitigate the damages under circumstances other than the case referred
                   to in the preceding article, as in the following instances:

                       (1) That the plaintiff himself has contravened the terms of the contract;

                       (2) That the plaintiff has derived some benefit as a result of the contract;

                       (3) In cases where exemplary damages are to be awarded, that the defendant
                       acted upon the advice of counsel;

                       (4) That the loss would have resulted in any event;

                       (5) That since the filing of the action, the defendant has done his best to lessen
                       the plaintiffs loss or injury."

          341.    The Respondents have highlighted, in particular, that Article 2215 allows a court
                  (or a tribunal) to mitigate damages in certain circumstances, including where the
                  plaintiff himself has contravened the terms of the contract, where the plaintiff has
                  derived some benefit as a result of the contract, or the loss would have resulted in
                  any event.21 9

          342.    The first ground on which the Respondents rely to argue that they are entitled to an
                  equitable reduction of damages against them is that the Claimants have already
                  derived great benefits from the MSA. In this regard, the Respondents argue that
                  GGAM was paid extraordinarily well for its development and pre-opening services,
                  while, in the view of the Claimants, they were under-compensated. The fees for the
                  services of GGAM were those provided in the MSA, which was freely entered into
                  by the Parties. There is no claim that the development and pre-opening services
                  were not performed, only that the contracted fees were high. In the Tribunal's view,
                  both Parties derived benefits from the MSA, and this cannot form a basis for the
                  equitable reduction of damages to which the Claimants are entitled (whether
                  contractually or by the decision of this Tribunal).

          343.    The second ground for equitable reduction, viz the allegation that the Claimants
                  contravened the MSA, is based on (a) the FCPA Findings;220 and (b) on the fact
                  that a significant portion of any damage award may ultimately go to Cantor.221 At


219
      Respondents' Sur-Rejoinder on Damages, para. 190.
220
      Respondents' Sur-Rejoinder on Damages, paras. 193-196.
221
      Ibid., para. 25.


                                                      106
                   the outset, the Tribunal reiterates that it did not find any breaches of the MSA by
                   GGAM in its Liability Award, and that it is unable to revisit the issues of liability
                   already decided in the Liability Award (as decided in its Decision on
                   Reconsideration). Insofar as the Respondents' submissions on the equitable
                   reduction of damages invite the Tribunal to revisit issues of liability (for example,
                   the first allegation submitted to the Tribunal as the basis of the Respondents'
                   request for reconsideration of the Liability Award was that "Bloomberry urges the
                   Tribunal to take notice of GGAM's multiple breaches of the MSA, the existence of
                   which the FCPA Orders permitted Bloomberry to discover, as a contributoryfactor
                   to GGAM's damages claim, which should be reduced to nil"222), the Tribunal finds
                   that this is an attempt by the Respondents (through the invocation of equitable
                   principles) to re-litigate matters submitted earlier to the Tribunal. For the same
                   reasons that the Tribunal decided not to reconsider the Liability Award, the
                   Tribunal finds that it is not appropriate through the application of equitable
                   principles to circumvent its inability to reconsider it.

          344.     The allegation regarding the role of Cantor is related to supposed suppression of
                   evidence of Cantor's role and relationship with the Claimants. It was considered by
                   the Tribunal in the Liability Award.223 The Tribunal concluded on this question:
                   "In sum, the Tribunal finds that the Respondents have not established any false
                   statement made in respect of Cantor 's role. To the extent that the Respondents are
                   arguing that the Claimants failed to disclose Cantor's role to them, the Respondents
                   have not shown any legal basisfor imposing a duty of disclosure, and the allegedly
                   non-disclosed document is not relevant to the Tribunal's reasoning. " 224 Moreover,
                   the Respondents clearly knew of Cantor's involvement with GGAM from an early
                   point in the project. As early in the relationship with GGAM as 2012, Ms. Occeria
                   of Bloomberry explained that "GGAM brought the gaming expertise, but for
                  financing had turned to Cantor, `Cantor owns 50 per cent. So the money will come
                  from Cantors. "'225 Again, this is an issue already considered by the Tribunal, and
                   the Tribunal finds that this cannot form the basis for any equitable reduction of
                  damages.

          345.    In any event (and as already foreshadowed in the Tribunal's analysis at paragraphs
                  273 to 283 above), the FCPA Findings on their face do not establish or imply that
                  GGAM did not perform its obligations under the MSA. In fact, those Findings do
                  not refer to GGAM at all, much less address GGAM's performance under the MSA.


222
      Respondents' Sur-Rejoinder on Damages, para. 196.
223
      Liability Award, paras. 140-147
224
      Ibid., para. 147. Emphasis in the original.
225
      Ibid., para. 143. Emphasis in the original.


                                                      107
                  Just as the Tribunal has found that the Respondents did not show how the FCPA
                  Findings could, or would, have impacted the reasonable certainty of the Claimants
                  exercising their unilateral right to renew the MSA, so the Respondents have not
                  shown how the FCPA Findings (which deal with another entity altogether, and do
                  not deal with GGAM at all) could justify the equitable reduction of damages to
                  which the Claimants are entitled.

          346.    The third ground the Respondents rely on for equitable reduction is the contractual
                  imbalance between obligations and compensation created by the Claimants'
                  interpretation of the phrase "through the Management Team" (which, the
                  Respondents say, if they had appreciated, they would not have agreed).226 In
                  addition to righting this imbalance, the Respondents request that the Tribunal
                  consider that the FCPA Findings have revealed that GGAM was not performing its
                  functions, and that the Tribunal should not enforce the terms of the MSA as written.
                  Again, the Tribunal considers that each of these reasons adduced as justification to
                  apply equitable principles imply a reconsideration of previous decisions of the
                  Tribunal on the interpretation of the MSA or its conclusion on the performance by
                  GGAM of its duties. As already highlighted above, at this phase of the proceedings
                  (i.e. the Remedies Phase), and having already declined the Respondents' Request
                  for Reconsideration in the Decision on Reconsideration, it is not appropriate for the
                  Tribunal to revisit questions of liability. Moreover, and as already set out above,
                  the FCPA Findings simply do not refer to GGAM at all, much less address
                  GGAM's performance under the MSA. For these reasons, the Tribunal finds that
                  there is no basis to equitably reduce or mitigate the damages that the Claimants are
                  entitled to. As regards the plea not to enforce the terms of the MSA based on the
                  premise that it will result in unjust enrichment, the Tribunal decided in the Liability
                  Award that there was no basis for the Respondents to recover any amounts from
                  the Claimants based on unjust enrichment.227 The Tribunal reiterates that it does
                  not consider appropriate through the application of equitable principles to
                  circumvent its inability to reconsider it. The Tribunal finds no basis for an unjust
                  enrichment claim by Respondents (nor the equitable reduction of damages on the
                  basis of unjust enrichment or on the basis of an "imbalance" in the interpretation of
                  the phrase "through the Management Team").

          347.    The fourth ground relied on by the Respondents for the equitable reduction of
                  damages is that the Claimants manipulated corporate forms to avoid incurring any
                  costs. In light of the Tribunal's finding in relation to avoided costs and the rejection



226
      Respondents' Sur-Rejoinder on Damages, para. 207.
227   Liability Award., para. 316.


                                                      108
                   of the "sham entity" argument advanced by the Respondents, this ground is also
                   meritless.

          348.     The fifth ground relied on by the Respondents for the equitable reduction of
                   damages is based on the alleged repeated willingness of the Respondents to
                   compromise. The Tribunal observes that the Respondents' professed willingness to
                   compromise was subject to the reduction or withdrawal of the claim of the
                   Claimants for damages on account of the wrongful termination of the MSA. The
                   Respondents clearly stated their position in objecting to the release of the Shares
                   by Deutsche Bank: "[TJhere would be no objection regarding the Shares if your
                   clients were not demanding excessive and unwarranted `compensation' in addition
                   to the Shares. "228

          349.     In this regard, it is clear that the Respondents' desire to compromise is based on
                   their own narrative of the dispute. The use of the writs of attachment and injunction
                   after they have been vacated by the IM Order of the Tribunal as leverage to settle
                   the dispute on the termination of the MSA in open disregard of the implementation
                   of that Order does not show a good faith effort by the Respondents to compromise,
                   and the Tribunal concludes that this does not justify any equitable mitigation or
                   reduction of damages.




228
      Claimants' Ex. 244, letter from M. Nolan to D. Weiner dated October 11, 2016.


                                                       109
IX.         GROSS-UP OF MANAGEMENT FEES TO ACCOUNT FOR PHILIPPINE
            TAXES

            A.       Claimants' Arguments

            350.     The Claimants contend that the tax treatment contemplated by the Parties in the
                     MSA requires that the Respondents gross up the Management Fee payment to
                     include withholding tax under Philippine law unless the Respondents also timely
                     provide the certifications required by law to support GGAM's exemption from the
                     withholding tax under the Philippines-Netherlands Tax Treaty.229 The Claimants
                     base this argument on Section 4.6 of the MSA: "the fees payable to GGAM shall
                     be structured in the most tax effective methodology. 99230

            351.     The Claimants explain that, before opening, GGAM Philippines established, as
                     allowed under the MSA, GGAM Netherlands. GGAM Philippines then assigned to
                     GGAM Netherlands the post-opening service obligations and the concomitant right
                     to receive the Management Fee for performance of those services. By doing so,
                     GGAM assured that the Management Fee paid would be exempt from withholding
                     tax under the Philippines-Netherlands Tax Treaty.23 I

            352.    According to the Claimants, in the ordinary course, GGAM Netherlands would
                    have filed an "Application for Relief from Double Taxation" with the Philippine
                    tax authorities, and Respondents would have filed two certificates, which constitute
                    an essential supporting element for GGAM's request for relief from double taxation
                    in the Philippines:232

                    (a)      The first certificate attesting that, to Respondents' knowledge, the fees to
                             be paid to GGAM were not subject to any administrative protest, audit,
                             investigation or similar proceeding, and

                    (b)      The second certificate attesting that, to Respondents' knowledge, GGAM
                             Netherlands would not assign its own personnel to the performance of the
                             services in the Philippines for more than 183 days annually.

            353.    The Claimants contend that, if not for the Respondents' wrongful termination of
                    the MSA, they would have earned the Management Fee, and it would not have been

  229
        Claimants' Supplemental Submission, para. 138.
  230
        MSA, Section 4.6.
  231
        Claimants' Supplemental Submission, para. 140.
  232
        Ibid., para. 141.




                                                         110
                    subject to withholding tax. The Philippine withholding tax is 30%, approximately
                    US$ 112,900,100.233

           354.    The Claimants request that the Tribunal include in the damages award a gross-up
                   of damages equal to the Philippine withholding tax, to be reduced if, within 30 days
                   of the Award, the Respondents file the necessary certificates.234

           B.       Respondents' Arguments

           355.    The Respondents contend that the Claimants' request for a "gross-up" is not based
                   on any analysis of the MSA, the Philippine tax code, taxation treaties or other
                   applicable tax systems. Notably, the MSA does not oblige Bloomberry to
                   indemnify GGAM for any taxes paid in the Philippines,235 on the contrary, it
                   provides that "[t]axes accruing on fees payable to GGAM shall be for the account
                   of GGAM. " 236

           356.    The Respondents further contend that the assignment of the MSA to GGAM
                   Netherlands would be treated as a sham or, in the alternative, be regarded as an
                   abuse of the Philippines — Netherlands Tax Treaty.237 In both instances the benefits
                   of the tax treaty would be denied. Parties to tax treaties must ensure that the tax
                   treaty is not improperly used and that the tax advantage does not operate to the
                   benefit of persons for whom it is not intended.238

          357.     While the Respondents acknowledge that the interposition of a company with a
                   view to benefit from a more favourable tax treaty per se does not lead to the
                   conclusion that the benefits of the treaty should be denied,239 in the present instance,
                   the Respondents contend that GGAM's actions warrant such conclusion for the
                   following reasons:

                   (a)      The Assignment and Assumption Agreement failed to reflect economic
                            reality by referring to GGAM Netherlands as being "highly capable" of
                            providing the Post-Opening Services despite the fact that GGAM
                            Netherlands did not conduct a business, had no revenue or employees, and


233
      Claimants' Supplemental Submission, para. 142.
234
      Ibid., para. 144.
235
      Ibid., para. 220.
236
      MSA, Section 4.6.
237
      Respondents' Sur-Rejoinder on Damages, para. 228.
238
      Ibid., para. 224; see also Van Weeghel Report, para. 130 — 139.
239
      Respondents' Sur-Rejoinder on Damages, para. 225.




                                                         111
                            therefore could not have been capable of providing such services. The office
                            address of GGAM Netherlands is the office address of a large trust company
                            that provides an address, and often nominee directors, to companies
                            established in the Netherlands for tax purposes; indeed, the website of the
                            Netherlands Chamber of Commerce indicates that almost 700 companies
                            are registered at this address.24°

                   (b)     Revenue and reimbursable expenses were allocated to GGAM Philippines,
                           when legally they should have been recognized at the level of GGAM
                           Netherlands pursuant to the Assignment and Assumption Agreement. As
                           appears from the 2013 Financial Report of GGAM Netherlands, none of the
                           payments made to and/or invoiced by GGAM Philippines pursuant to the
                           MSA and relating to Post-Opening Services rendered in 2013 were recorded
                           in the accounts of GGAM Netherlands. The failure to do so indicates the
                           failure of GGAM and GGAM Netherlands to respect their own structure.241
                           It may also even amount to tax fraud in the Netherlands.242

                   (c)     The Assignment and Assumption Agreement did not represent the
                           Claimants' true intention in establishing GGAM Netherlands since there is
                           no evidence of GGAM Netherlands actually having any involvement in
                           providing the Post-Opening Services. For example, GGAM Philippines sent
                           invoices for reimbursable expenses (concerning the trips of Messrs. Garry
                           Saunders and Brad Stone who were not employed by GGAM Netherlands,
                           as GGAM Netherlands has reported that it has no employees) to
                           Bloomberry relating to a period following the assignment of the MSA to
                           GGAM Netherlands. These various trips were undertaken in relation to the
                           provision of the Post-Opening Services despite the fact that these services
                           should have been carried out by GGAM Netherlands. Thus, while formally
                           the assignment of the MSA created rights and obligations for GGAM
                           Netherlands, in substance, the role of GGAM Philippines did not change.243

          358.     Further, the certificates that GGAM prepared, and which Bloomberry would have
                   to file, are counterfactual and insufficient to ensure that the Claimants would not
                   need to pay Philippine taxes.244 Indeed, the draft certificates require Bloomberry to
                   certify that "the assignment of GGAMNBV's employees to the Philippines is not
                   expect [sic] to last for an aggregate period of more than 183 days within any

240
       Respondents' Sur-Rejoinder on Damages, para. 225.
241
      Ibid., para. 226.
242
      See Van Weeghel Report, para. 151.
243
      Respondents' Sur-Rejoinder on Damages, para. 227.
244
      Ibid., para. 229.


                                                       112
                   twelve-month period." As noted above, to the Respondents' knowledge, GGAM
                   Netherlands did not have any personnel that would be "assigned" to the Philippines
                   to perform services under the MSA. Instead, all work was performed by the
                   Management Team.

           359.    The Respondents contend that, given that GGAM Netherlands is a sham entity, an
                   order requiring Bloomberry to sign the certificates prepared by GGAM would make
                   Bloomberry and the Tribunal complicit to an illegal tax evasion scheme.245

           360.    Should GGAM Netherlands be disregarded as a sham entity, the Respondents
                   affirm that the revenue authorities would treat GGAM Philippines as the taxable
                   entity.246 The Respondents contend that GGAM Philippines would be deemed to
                   have had a "permanent establishment"247 in the Philippines, and that the
                   remuneration it received for its services rendered under the MSA constitutes
                   "business profits" or income derived from active conduct of a business. Likewise,
                   an arbitral award for damages in the Respondents' favour would be considered to
                   be in the nature of indemnification for lost business profits or income that GGAM
                   Philippines would have otherwise received—and on which it would have paid
                   income tax—had the MSA not been terminated, and would be subject to Philippines
                   taxes. As noted above, the MSA does not oblige Bloomberry to indemnify GGAM
                   for any taxes paid in the Philippines.248

          C.       Analysis of the Tribunal

          361.     The Tribunal has already considered and rejected the Respondents' contention that
                   GGAM Philippines is a sham entity (see paragraph 180 above). In addressing the
                   gross-up claim, the key question is whether the Respondents were obliged under
                   the MSA to issue the certificates in question and, failing to issue them, be
                   responsible for the payment of the taxes of the Claimants. The MSA is clear in
                   stating that "[tJaxes accruing on fees payable to GGAM shall be for the account of
                   GGAM. " 249 The arguments of the Claimants are based on the general statement that
                   "the fees payable to GGAM shall be structured in the most tax effective
                   methodology."250 The plain reading of this sentence does not support the Claimants'
                   position. First, the issuance of the certificates is not related to the structure of the


245
      Respondents' Sur-Rejoinder on Damages, para. 229.
246
      Ibid., para. 230.
247
      "permanent establishment" is a relevant concept since GGAM Philippines is a U.S. resident (see Respondents'
      Sur-Rejoinder on Damages, para. 231).
248
      Respondents' Sur-Rejoinder on Damages, para. 232.
249
      MSA, Section 4.6.
250
      MSA, Section 4.6.


                                                       113
       fees but to the fulfilment of the requirements under the Philippines-Netherlands Tax
       Treaty. Second, even if the fee structure could be understood to fall within the terms
       of Section 4.6 of the MSA, this section does not impose any specific obligation on
       the Respondents to take any action to assist the Claimants before the tax authorities.
       Third, Section 4.6 needs to be read as a whole. The Claimants' understanding of
       this clause contradicts the clearly stated obligation of GGAM to pay the taxes that
       accrue on fees payable to GGAM. There is no record of what the Parties meant
       when they used the phrase "tax effective methodology" and no such evidence has
       been offered in the extensive exchanges on the tax gross up issue. Therefore, the
       Tribunal concludes that the Respondents are not responsible for any tax gross up
       and have no obligation to indemnify the Claimants for any taxes due on their fees
       or damages awarded by the Tribunal.

362.   The Tribunal notes that there were two further rounds of expert reports submitted
       by the Parties after the Parties made their respective supplemental submissions for
       the Remedies Phase (see paragraphs 70, 81, 82, and 83 above). These expert reports
       focused primarily on the issue of whether or not GGAM Netherlands qualified for
       treaty benefits under the Netherlands-Philippines Tax Treaty. In view of the
       Tribunal's conclusion at paragraph 361 above, it is unnecessary for the Tribunal to
       consider this issue as well as the other issues raised by the Parties' arguments.




                                       114
X.         PRE-OPENING FEES AND EXPENSES

           A.       Claimants' Arguments

           363.     The Claimants argue that the Respondents must fulfil their contractual obligations,
                    including paying all fees and expenses accrued before termination as required by
                    Section 15.4 of the MSA: "The Owner shall pay GGAM upon termination of this
                    Agreement all amounts which are due to it but unpaid under this Agreement up to
                    the effective date of such termination."251

           364.     According to the Claimants, GGAM is entitled to payment of fees and expenses
                    owed to them under the MSA before its termination on September 12, 2013. The
                    unpaid fees and expenses amount to $525,761.

           365.     As regards fees and expenses the Claimants contend that the Respondents have yet
                    to pay an invoice of US$ 148,750 for services performed outside the Philippines
                    for the month of February 2013 ("February Invoice"), which the Claimants had
                    failed to include in their earlier submission of invoices to the Respondents. After
                    realising the omission, GGAM on June 5, 2013 submitted the outstanding February
                    2013 invoice to the Respondents with a note explaining the oversight. The
                    Respondents never paid this outstanding invoice.252 This claim amounts to
                    US$194,820, which is comprised of the US$ 148,750 invoice and interest owed
                    under the MSA.253

           366.     The Claimants also contend that the Respondents have yet to compensate GGAM
                    for US$ 288,031 in reimbursable expenses consisting of:254 (a) US$ 242,474 in
                    travel expenses to and from the Solaire ("Travel Expenses"), and (b) US$ 45,557
                    in expenses related to work on behalf of Respondents and BRC, including a
                    roadshow, investor conferences, and a potential investment opportunity in
                    Argentina ("Additional Expenses").

           367.     The Claimants argue that, while the Additional Expenses were incurred outside the
                    scope of the MSA, it should be reimbursed as the Respondents established a
                    practice of reimbursing GGAM for expenses related to GGAM's efforts on behalf
                    of them and BRC that were not directly related to Solaire, which GGAM relied on


 251
       MSA, Section 15.4.
 252
       Claimants' Supplemental Submission, para. 132.
 253
       See 2nd Kalt Report, Fig.5.
 254
       Claimants' Supplemental Submission, paras. 136 — 137.




                                                        115
                   in incurring these expenses.255 Alternatively, not awarding the Additional Expenses
                   to GGAM would unjustly enrich the Respondents.256

      B. Respondents' Arguments

          368.     With regard to the February Invoice, the Respondents note that it has searched its
                   records, and it does not appear that payment was made to GGAM for this invoice.
                   The Respondents explain that the Respondents' experts have taken this into account
                   and calculated accrued interest. Indeed, in the Respondents' request for relief there
                   is the item "Award Claimant GGAM Philippines US$ 148,750 plus interest in
                   unpaid Pre-Opening and Development Fees. " 257

          369.     With regard to the Travel Expenses, the Respondents contend that GGAM has
                   provided no evidence that these invoices and supporting documentation were
                   submitted to the Respondents prior to this Arbitration. According to BRC's
                   Corporate Controller, it will be quite difficult, if not impossible, to verify expenses
                   that were incurred four or five years ago. Further, a significant portion of these
                   expenses were incurred in March to June 2013 after GGAM Philippines assigned
                   the MSA to GGAM Netherlands. Yet, the invoices are on GGAM Philippines'
                   letterhead. Such disregard of corporate form is yet another sign that the purported
                   assignment was to evade taxes. The Respondents should not be ordered to pay
                   expenses to a sham entity.

          370.     As regards Additional Expenses, the Respondents contend that these activities were
                   all undertaken in GGAM's role as a shareholder (or prospective shareholder) in
                   Bloomberry Resorts Corporation under the EOA and the Participation Agreement
                   ("PA"). Neither BRHI nor SPI is a party to either of those agreements, and thus,
                   should not be ordered to reimburse GGAM for activities undertaken in furtherance
                   of those agreements.

          C.       Analysis of the Tribunal

          371.     The February Invoice plus accrued interest does not seem to be in issue and the
                   Tribunal will include the amount of this invoice (i.e., US$ 148,750) in the amount
                   awarded.




255
      Claimants' Supplemental Submission, para. 137.
256
      Ibid.
257
       Respondents' Sur-Rejoinder on Damages, para. 269(ii)(c).


                                                        116
372.   The Additional Expenses amounting to US$ 45,557, as the Claimants themselves
       recognize, were incurred outside the scope of the MSA. For that reason, the
       Tribunal will not order that the Respondents pay them.

373.   As regards the Travel Expenses amounting to US$ 242,474, the Tribunal notes that
       they have been incurred for the benefit of the Respondents irrespective of the
       letterhead used in the invoices. In this respect, the Tribunal further notes that
       GGAM Philippines is the responsible party under the MSA no matter to whom it
       assigns the MSA or to whom it sub-contracts. To the extent that the Travel
       Expenses are documented in this proceeding, the Tribunal will include their
       aggregate amount as part of the amount awarded. The Tribunal is satisfied that
       GGAM Philippines is entitled to be awarded Travel Expenses amounting to US$
       242,474 plus interest at a rate of 6% per annum compounded monthly and
       beginning thirty (30) days after the pertinent invoices became due in accordance
       with the terms of Article 4.8 of the MSA.




                                     117
XI.        OBSTRUCTION OF THE SALE OF GGAM'S SHARES

           A.      Background

           374.    After the Respondents terminated the MSA, GGAM prepared to se11258 its
                   921,184,056 shares in BRC.259 On January 15 or early January 16, 2014, GGAM's
                   investment bank placing agents had confirmed sales of GGAM's Shares to more
                   than 50 institutional investors, with a final price of Philippine Pesos ("PHP") 8.05
                   per share. Settlement of the transaction was scheduled to occur on January 21,
                   2014.26°

           375.    On January 15, 2014, BRC wrote to the Philippine Stock Exchange requesting
                   suspension of trading in all BRC shares for one week. On January 16, 2014, the
                   Philippine Stock Exchange suspended trading in BRC shares, effectively
                   preventing the settlement of GGAM's planned sale transaction.261

          376.     On or about January 17, 2014, before the Tribunal was constituted, the Respondents
                   and Prime Metroline Holdings, Inc. ("PMHI") filed with the Regional Trial Court
                   ("RTC") in Manila a Petition seeking the issuance of writs of preliminary
                   attachment and preliminary injunction of GGAM's sale of its Shares, and seeking
                   a temporary restraining order. In their Petition, the Respondents and PMHI
                   acknowledged that "GGAM has contractedfor the sale of the Shares on 15 January
                   2014 to approximately 50 institutional investors, and was poised to complete the
                   sale by a cross transaction through the Philippine Stock Exchange. 51262 The
                   Respondents and PMHI informed the RTC in their Petition that the Shares were the
                   subject of the Respondents' counterclaims in this arbitration under the MSA.263

          377.     On January 20, 2014, the RTC granted the Respondents' and PMHI's application
                   for a temporary restraining order. Thereafter, on February 25, 2014, the RTC issued
                   the Philippine Preliminary Injunction Order providing interim measures of
                   protection in the form of writs of preliminary attachment and preliminary injunction
                   restraining GGAM from disposing of, selling, or transferring its Shares.264 On



  258
      Claimants' Supplemental Submission, para. 168.
  259
      Ibid., para. 146.
  260
      Ibid., para. 168.
  261
      Ibid., para. 169.
  262
      !bid, para. 170.
  263
      Ibid.
  264
      Ibid., para. 171.




                                                       118
                   February 27, 2014, the RTC issued writs of preliminary attachment and preliminary
                   injunction (the "Preliminary Writs").265

           378.    The Philippine Preliminary Injunction Order expressly provides that the
                   Preliminary Writs were subject to revocation by this Tribunal once it was duly
                   constituted.266

           B.      Claimants' Arguments

           379.    According to the Claimants, on September 28, 2016, BRC made a disclosure to the
                   Philippine Stock Exchange that misleadingly stated that the Liability Award could
                   only be enforced in a Philippine court. This disclosure created widespread
                   confusion in the market, perpetuating doubt as to GGAM's ability to sell the
                   Shares.267 This confusion was apparent in various media and analyst reports.268

          380.     The Claimants contend that, on November 14, 2016 after issuance of the Liability
                   Award by the Tribunal, BRC made another misleading disclosure to the Philippine
                   Stock Exchange stating that Respondents had terminated the MSA "because of a
                   material breach by [GGAMT without disclosing that the Tribunal found that
                   Bloomberry's termination of the MSA was unjustified.269 On December 31, 2016,
                   once again BRC misleadingly stated that the Liability Award could only be
                   enforced in a Philippine court.27°

          381.      The Claimants explain that it could not publicly correct BRC's misstatements
                   because of the confidentiality restrictions ordered by the Tribunal in Procedural
                   Order No. 3. The Claimants requested the Respondents to issue a joint press release
                   to resolve the marketplace confusion. The Respondents refused.271



265
       Claimants' Supplemental Submission, para. 171.
266
      Ibid., para. 172.
267
      Ibid., para. 205.
268
      See Richard Lafieda, Bloomberry Resorts Corporation: Arbitration ruling creates uncertainty and overhang, COL
       Financial, September 29, 2016; Patricia Palanca & Kenneth Fong, Bloomberry—Quick take: Arbitration says
      GGAM entitled to shares and damage claims, Credit Suisse (September 29, 2016); BRC's SEC Form 17-C, dated
      September 28, 2016; Keith Richard D. Mariano, Ex-Solaire manager scores win against Bloomberry Resorts,
       Business World Online (September 29, 2016); Kristyn Nika M. Lazo, Global Gaming wins arbitration case vs
      Bloomberry, The Manila Times (September 30, 2016); Angping Securities, Inc., Daily Market Insights,
      September 30, 2016; Bloomberry Resorts: Gloomy In The Short Term, Booming In The Long Term, Seeking
      Alpha (February 18, 2017).
269
      Claimants' Supplemental Submission, para. 209.
270
      Ibid., para. 210.
271
      Ibid., para. 212.




                                                        119
           382.    Following the Tribunal's issuance of the Liability Award on September 20, 2016,
                   GGAM again took prompt action to attempt to sell its Shares.272 Deutsche Bank
                   (the custodian of GGAM's Shares) held the Shares in a restricted, non-trading
                   account since the RTC issuance of the Preliminary Writs. On October 3, 2016, Mr.
                   Rein requested on behalf of GGAM that Deutsche Bank restore GGAM's Shares
                   to a trading account, in light of the Liability Award. Deutsche Bank advised Mr.
                   Rein that, before it could act on GGAM's request, it would need to see a complete
                   certified copy of the Liability Award or receive BRC's express agreement that
                   GGAM can sell the Shares.273

          383.     Following the Tribunal's ruling on November 17, 2016, allowing GGAM to
                   disclose the Liability Award to several entities, GGAM disclosed the Liability
                   Award to Deutsche Bank. However, Deutsche Bank continued to take the position
                   that, without the Respondents' express permission for it to "unfreeze" the Shares,
                   Deutsche Bank would not release the Shares to GGAM.274 The Claimants contend
                   that Deutsche Bank, in refusing to release the shares, relies upon Respondents'
                   renewal of the Preliminary Writs' bonds as evidence that the Preliminary Writs
                   remain in place.275

          384.     In a letter dated October 10, 2016, GGAM's outside counsel requested the
                   Respondents' outside counsel to provide written consent to Deutsche Bank
                   releasing the Shares. The following day, Respondents' counsel responded that it
                   objected to Deutsche Bank releasing the Shares,276 and: "[T]here would be no
                   objection regarding the Shares if your clients were not demanding excessive and
                   unwarranted `compensation' in addition to the Shares."277 Thus, the Respondents
                   acknowledge that they are withholding their consent to GGAM's sale of the Shares
                   in order to leverage financial concessions from GGAM notwithstanding the
                   Tribunal's unanimous decision that GGAM has the right to sell the Shares.278

          385.     On March 17, 2017, GGAM's counsel again wrote to the Respondents' counsel
                   requesting that the Respondents "immediately assure implementation" of the
                   Tribunal's IM Order ("IM Order") and Liability Award by (a) withdrawing the
                   Respondents' January 17, 2014 petition filed with the RTC seeking the Preliminary


272
      Claimants' Supplemental Submission, para. 214.
273
      !bid, para. 215.
274
      Ibid., para. 218.
275
      Ibid., para. 219.
276
      Ibid., para. 222.
277
      Letter from M. Nolan to D. Weiner (October 11, 2016).
278
      Claimants' Supplemental Submission, para. 223.




                                                       120
                   Writs, and (b) confirming in writing to Deutsche Bank, the Philippine Stock
                   Exchange and the Philippine Depository & Trust Corp. that the Respondents have
                   no objection to GGAM's sale of its BRC shares.279 The Respondents refused to take
                   both actions28° and explained that their position was that: "In this particular dispute,
                   at every stage, Bloomberry's position has been that, ifyour side [i.e., GGAM] were
                   not demanding unreasonable `compensation' in addition to the Shares, objections
                   to the sale of the Shares could be put aside as part of a compromise to resolve the
                   Parties' dispute."281

           386.    The Claimants conclude that the Respondents have admitted that they will not
                   comply with the Tribunal's ruling and withdraw their objection to GGAM's sale of
                   the Shares unless GGAM withdraws its claims for damages resulting from the
                   Respondents' wrongful termination of the MSA and wrongful restraint on the
                   Shares.282 The Claimants renewed their request to the Respondents on April 3,
                   2017. The Respondents refused the request once more on April 10, 2017.283

          387.    The Claimants contend that the Philippine Special ADR Rules require a court's
                  interim measures of protection to be issued without prejudice to subsequent ipso
                  jure revocation by the arbitral tribunal.284 In particular, the Claimants refer to Rules
                  5.9 and 5.13:

                           Rule 5.9

                           "[T]he [court's] order granting or denying any application for interim
                           measure of protection in aid of arbitration must indicate that it is issued
                           without prejudice to subsequent grant, modification, amendment, revision
                           or revocation by an arbitral tribunal."

                           Rule 5.13

                           "Any court order granting or denying interim measure/s of protection is
                           issued without prejudice to subsequent grant, modification, amendment,
                           revision or revocation by the arbitral tribunal as may be warranted.




279
      Claimants' Supplemental Submission, para. 224.
280
      Ibid., para. 225.
281
      Letter from M. Nolan to D. Weiner (March 27, 2017).
282
      Claimants' Supplemental Submission, para. 229.
283
      Ibid., paras. 230 to 231.
284
      Ibid., para. 241.


                                                      121
                           An interim measure ofprotection issued by the arbitral tribunal shall, upon
                           its issuance be deemed to have ipso jure modified, amended, revised or
                           revoked an interim measure ofprotection previously issued by the court to
                           the extent that it is inconsistent with the subsequent interim measure of
                           protection issued by the arbitral tribunal."

          388.     The Claimants contend that the IM Order by its terms is self-executing:

                           "This Order of the Tribunal on Interim Relief issued in the instant
                           arbitration proceeding . . . is deemed to have superseded the final Order
                           dated February 25, 2014 of the Regional Trial Court of Makati City,
                           Philippines.

                           Accordingly, the Writs of Preliminary Injunction and Attachment issued
                           pursuant to the final Order dated February 25, 2014 of the Regional Trial
                           Court of Makati City, Philippines shall now be deemed vacated and lifted.

                           This Order of the Tribunal on Interim Relief is in all respects substitutedfor
                           and replaces [the Regional Trial Court's Preliminary Injunction Order]
                           and the Writs of Preliminary Injunction and Attachment."285

          389.     The Claimants, relying on their expert, Justice Puno, submit that, under the Special
                   ADR Rules, the Parties need not have taken any further action, as the IM Order
                   revoked or superseded the Philippine Preliminary Injunction Order and vacated and
                   lifted the Preliminary Writs issued pursuant to such Order, ipso jure.286

          390.     The Claimants cite Limitless Potentials v. Court of Appeals287 for the proposition
                   that an improvidently granted injunction or wrongful attachment — even one
                   obtained in good faith — gives rise to a claim for actual and compensatory
                   damages288. Claimants also contend that Rule 57, section 20, of the Philippine's
                   1997 Revised Rules of Civil Procedure,289makes it clear that malice is unnecessary
                   to recover damages for a wrongful attachment::

                           "Nothing herein contained shall prevent the party against whom the
                           attachment was issued from recovering in the same action the damages

285
      IM Order, para. 141. Emphasis added by the Claimants.
286
      Claimants' Supplemental Submission, para. 253.
287
      G.R. No. 164459 (S.C., April 24, 2007) (Phil.).
288
      Claimants' Supplemental Submission, para. 256.
289
      Ibid., para. 258.




                                                       122
                           awarded to him from any property of the attaching party not exempt from
                            execution should the bond or deposit given by the latter be insufficient or
                           fail to fully satisfy the award."29°

           391.    The Claimants further contend that the right of a party to recover actual or
                   compensatory damages for an improvidently issued injunction is also consistent
                   with Articles 20 and 2176 of the CCP.29I Article 20 provides:

                            "Every person who, contrary to law, willfully or negligently causes damage
                            to another, shall indemnify thethe latter for the same."292

          392.     The Philippine Supreme Court has held that "Article 20 does not contemplate
                   malice per se."293 Article 2176 provides:

                           "Whoever by act or omission causes damage to another, there being fault
                           or negligence, is obliged to pay for the damage done. Such fault or
                           negligence, if there is no pre-existing contractual relation between the
                           parties, is called a quasi-delict and is governed by the provisions of this
                           Chapter. " 294

          393.     Justice Puno submits that, under Philippine law, the Tribunal's IM Order revoking
                   the Philippine Preliminary Injunction Order and vacating and lifting the
                   Preliminary Writs amounts to a determination that the preliminary injunction was
                   wrongfully obtained, and therefore a right of action for the full amount of its
                   damages on the injunction immediately accrued to GGAM.295

          394.     The Claimants contend that, separate and apart from Respondents' liability for the
                   improvidently granted preliminary injunction and wrongful attachment,
                   Respondents are also liable for their obstructive conduct in preventing GGAM's
                   sale of its Shares.296 As Justice Puno explains, Philippine law recognizes the right
                   of an owner "to enjoy and dispose of a thing" and a corresponding right of action
                   for interference with that right. Under Article 428 of the CCP, "the owner has the
                   right to enjoy and dispose of a thing, without other limitations than those


290
      Philippine R. of Civ. P. 57 § 20 (1997). Emphasis added by the Claimants.
291
      Claimants' Supplemental Submission, para. 259.
292
      CCP, Rep. Act 386, as amended (Phil.), Art. 20.
293
      Federation of Free Farmers v. Court of Appeals, G.R. No. L-41161 (S.C., September 10, 1981) (Phil.).
294
      CCP, Rep. Act 386, as amended (Phil.), Art. 2176.
295
      Claimants' Supplemental Submission, para. 260.
296
      Ibid., para. 262.




                                                        123
                   established by law"297 and "The owner has also the right of action against the
                   holder and possessor of the thing in order to recover it."298

           395.    The Claimants note that, in Fleischer v. Botica Nolasco Co., Inc.,299 the Supreme
                   Court of the Philippines, in discussing the nature, character and transferability of
                   shares of stock on the basis of Section 35 of the Corporation Code, held that the
                   holder of shares, as owner of personal property, is at liberty to dispose of them in
                   favour of whomsoever he pleases, without any other limitation in this respect, other
                   than the general provisions of law.3°°

           396.    The Claimants contend that, as a BRC shareholder, GGAM thus has the undisputed
                   right to dispose of its Shares and that Respondents' continued obstruction of the
                   implementation of the IM Order is directly analogous to the deprivation and
                   corresponding right of action addressed by Article 428 of the CCP301 (see paragraph
                   394 above). Having been wrongfully deprived of that right by the Respondents,
                   GGAM is entitled to compensation from the Respondents.302

           397.    According to the Claimants, the Respondents by their actions have injured GGAM
                   by reducing the value of the Shares. They contend that the damage was caused by
                   the following:

                   (a)      Involuntary Lockup. Respondents' actions effectively converted GGAM's
                            Shares into restricted shares that cannot be sold. Shares that cannot be sold
                            are worth far less to GGAM than shares that can be sold: not only can
                            GGAM not sell them, but it cannot use them as collateral for loans or
                            derivative transactions.303

                   (b)       Prevented Reinvestment. Respondents' actions also prevent GGAM from
                            realising and reinvesting the proceeds from the sale of its Shares into other
                            projects or investments. Had GGAM's sale of the Shares proceeded in
                            January 2014, GGAM would have had more than US$ 165 million to invest
                            for more than three years. While it is not known exactly in which projects



297
      CCP, Rep. Act 386, as amended (Phil.), Art. 428.
298
      Ibid. Art. 428.
299
      G.R. No. L-23241 (S.C. March 14, 1925) (Phil.).
300
      Claimants' Supplemental Submission, para. 265.
301
      Ibid., para. 267.
302
      Ibid., paras. 266 — 267.
303
      Ibid., para. 270.




                                                         124
                              GGAM would have invested, at the very least GGAM would have invested
                              broadly in equities and received a commensurate rate of return.304

                    (c)      Block Sale Discount. At the time that GGAM originally planned to sell the
                             Shares in January 2014, it considered selling them in increments to avoid a
                             steep drop in the BRC share price. However, the investment banks that
                             GGAM retained advised that, because the market knew that GGAM was
                             positioned to sell the entirety of the Shares, GGAM should sell the block as
                             a whole, because an incremental sale would create a "market overhang" that
                             would result in a loss of value. This "market overhang" reflects that the
                             immediate supply of shares is greater than the average daily trade demand.
                             When Respondents finally cease their unwarranted interference with
                             GGAM's sale of the Shares, it is likely that the market will expect GGAM
                             to liquidate all of the Shares and therefore again expect the Shares to be sold
                             as a block or otherwise reduce the BRC share price in contemplation of
                             GGAM's sale of the entire holding.305

                    (d)      Controlling Shareholder Effect. Beyond the effects of their actions on
                             GGAM directly, the Respondents' actions since January 2014 have
                             demonstrated that Mr. Razon, as controlling shareholder, has not protected
                             and will not protect the interests of BRC's minority shareholders. This has
                             the effect of making BRC shares a riskier investment, which in turn
                             negatively affects the value of the shares for all investors.306

           398.     The Claimants submit that the Philippine Supreme Court has adopted the "Highest
                    Intermediate Value" ("HIDV") approach307 to measure damages when sales of
                    shares or stocks are improperly restricted. Claimants cite Tan Tiong Teck vs. SEC
                    & CUA OH & Co., 308 in which the Supreme Court stated: "[T]here is no reasonfor
                    us not to adopt and apply in this jurisdiction the `Highest Intermediate Value' rule,
                    adopted in the United States, which is a fair and universally accepted rule."309


304
      Claimants' Supplemental Submission, para. 272.
305
      Ibid., paras. 273 — 274.
306
      Ibid., para. 275.
307
      Claimants' Supplemental Submission, paras. 279 to 280. Under this approach, where a party restricts
      stockholders' ability to sell their shares, courts determine the loss caused by the restrictions. Specifically, U.S.
      courts calculate damages by taking the difference between (a) the price at which the stockholder would have sold
      the shares but for the restriction (the "But-For Price"), and (b) the price at which the stockholder could have sold
      the shares at the end of the restricted period (the "Post-Restriction Price") — Claimants' Supplemental Submission,
      para. 298.
308
      G.R. No. L-46472. (S.C., January 23, 1940) (Phil.).
309
      As cited by the Claimants in the Claimants' Supplemental Submission, para. 279.




                                                           125
          399.     The Claimants argue that the Respondents' attempt to distinguish this case310 as
                   one which does not involve a court order prohibiting the sale of shares is
                   inapposite.311 The Claimants assert that the Tan Tiong Teck decision does involve
                   interference in the sale of shares. In that case, the shareholder claimed he was
                   damaged by the inability to sell his shares at the time and for the price that he
                   instructed the shares to be sold. The failure of the shareholder's broker to sell the
                   shareholder's shares in accordance with the shareholder's instructions was a
                   wrongful restriction or interference on the shareholder's sale of his shares.312

          400.     According to the Claimants, for purposes of determining the measure of damages,
                   there is no principled basis to distinguish between interference with a shareholder's
                   sale of its shares as a result of an improvidently granted injunction, on the one hand,
                   and the interference with a shareholder's sale of its shares as a result of a broker's
                   wrongful actions, on the other.313 The Claimants agree with the Respondents'
                   expert, Justice Vitug, that "AIhere is no set methodfor computing lost profits under
                   Philippine Law. What is important, however, is that such damages be actually
                   proven and not mere conjecture or speculation."314 In this vein, the Claimants
                   contend that Tang Tiong Teck is consistent with these principles and invites the
                   Tribunal to consider the manner in which the US courts have applied the HIDV.315

          401.     The Claimants also rely upon Duncan v. TheraTx, Inc. 316 In that case the court
                   adopted the HIDV for calculating damages where an issuer's temporary suspension
                   of a shelf registration prevented trading by stockholders during a certain time in
                   breach of a merger agreement.317 Claimants also find support in the case re New
                   York, N.H. & H.R. Co318, where the court adopted the HIDV to calculate damages
                   resulting from an ex parte injunction. The court found that the injunction was
                   strongly analogous to a conversion based on the underlying principle that the owner
                   of property has the unrestricted choice of whether to hold and enjoy it or to sell it
                   and obtain its equivalent in cash.319 The Claimants argue that this principle is
                   directly analogous to the principles underlying the right of action recognized under

310
      See below, para. 414.
311
      Claimants' Supplemental Submission, para. 280.
312
      Ibid.
313
      Ibid., para. 281.
314
      Ibid., para. 285; 3rd Vitug Report, para. 47.
315
      Claimants' Supplemental Submission, para. 285.
316
      775 A.2d 1019 (Del. 2001).
317
      Claimants' Supplemental Submission, para. 286. See also the 4th Subramanian Report, para. 20.
318
      64 F. Supp. 487 (D. Conn. 1945).
319
      Claimants' Supplemental Submission, para. 287.




                                                        126
                    Philippine law for interference with the right of an owner "to enjoy and dispose of
                    a thing," (jus disponendi), and the right of a party against whom an improvidently
                    granted injunction is obtained to recover for the damages it has suffered.32°

           402.     The Claimants argue that the Tribunal should implement a remedy that addresses
                    both the past and ongoing harm suffered by GGAM resulting from the
                    Respondents' restriction on GGAM's sale of the Shares.321 The Claimants explain
                    that, ordinarily, where the restriction has been lifted by the time of the hearing, the
                    Tribunal would compare (a) the highest price of BRC's shares in the reasonable
                    period following imposition of the restriction with (b) the price in the period after
                    the restriction is removed. But here, GGAM cannot present evidence of the price
                    during a reasonable period following lifting of the restriction because the restriction
                    is still in effect. The Tribunal, therefore, should adopt a constructive remedy, and
                    determine the highest price at which GGAM's sale would have occurred once the
                    restriction began, and award GGAM that value for the Shares in exchange for
                    GGAM giving the Shares to the Respondents.322

           403.     The Claimants submit that the Tribunal has the authority to adopt a constructive
                    remedy under Singapore law (the law of the seat) and would be able to grant this
                    injunction.323 In particular, section 12(5) of the International Arbitration Act
                    ("IAA") provides:

                            "an arbitral tribunal, in deciding the dispute that is the subject of the
                            arbitral proceedings — (a) may award any remedy or relief that could have
                            been ordered by the High Court if the dispute had been the subject of civil
                            proceedings in that Court."324

           404.     The Claimants contend that a constructive remedy is appropriate because of the
                    Respondents' continued obstruction of implementation of the Tribunal's IM Order
                    in violation of that Order, even following the Tribunal's issuance of the Liability
                    Award in which the Tribunal unequivocally recognized GGAM's right to sell its
                    Shares. The constructive remedy is also consistent with the GGAM's put right,
                    which demonstrates that the Parties contemplated, in the event the MSA terminated,
                    that GGAM would have the right to put the Shares back to the Respondents through

320
      Claimants' Supplemental Submission, para. 290.
321
      Ibid., para. 294.
322
      Ibid.
323
      Ibid., para. 295.
324
      International Arbitration Act (Chapter 143A) section 12(5)(a) (Sing.). The Tribunal parenthetically notes that the
      Tribunal has the power to issue interim injunctions pursuant to section 12(1)(i) of the IAA.




                                                          127
                   their agent and controlling shareholder PMHI. This would result in the Respondents
                   receiving the Shares that they have previously argued have "unique value"325 for
                   them while assuring that Respondents bear only the difference between the value
                   of the Shares and their Highest Intermediate Value but for the Respondents'
                   restriction. In this manner, GGAM would receive the full amount of the damages it
                   has suffered, and the Respondents would have paid only the amount that the HIDV
                   approach demands.326

      C. Respondents' Arguments

           405.    The Respondents dispute that there is an automatic effect to be given to arbitral
                   awards or orders. Under Philippine law, an award means "any partial or final
                   decision by an arbitrator in resolving the issue in a controversy."327 Hence, it is
                   subject to judicial review by the RTC.328 The RTC can set aside the IM Order under
                   the New York Convention.329

          406.     The Respondents further note that the Claimants' interpretation that the IM Order
                   is "self-executing" is solely based on Rule 5 (Interim Measures of Protection) of
                   the Special ADR Rules, which is inapposite, because the IM Order is an award.33°
                   The Respondents argue that "by ordering that GGAM be `free to... sell or dispose
                   of the Shares at their discretion,' the Tribunal disregarded the distinct rights and
                   interests that Prime Metroline, as the party to the Equity Option Agreement
                   ("EOA") and the party that transferred the Shares to GGAM for below market
                   price, had in the Shares."331 According to the Respondents, this is relevant as the
                   Claimants commenced this Arbitration under the MSA only and not the EOA, and
                   accordingly the relief is inappropriate, in light of the fact that PMHI, the party to
                   the EOA, was not heard in connection with GGAM's claim concerning the Shares.
                   The Tribunal therefore did not have the competence to grant that relief.




325
      Respondents' Memorial in Opposition to Claimants' Request for Interim Measure of Protection dated July 15,
      2014 ("Respondent's Opposition Memorial to IM Request"), paras. 18 and 29.
326
      Claimants' Supplemental Submission, paras 296 - 297.
327
      Alternative Dispute Resolution Act of 2004, Philippines Republic Act No. 9285 ("ADR Act"), Section 3(f).
328
      Respondents' Sur-Rejoinder on Damages, para. 237.
329
      Respondents' Sur-Rejoinder on Damages, para. 237, footnote 496, citing the ADR Act, Section 42 (Alternative
      Dispute Resolution Act of 2004) which states that "The New York convention shall govern the recognition and
      enforcement of arbitral awards covered by the said Convention. The recognition and enforcement ofsuch arbitral
      awards shall be filed with regional trial court in accordance with the rules of procedure to be promulgated by
      the Supreme Court."
330
      Respondents' Sur-Rejoinder on Damages, para. 238.
331
      !bid, para. 240.




                                                        128
           407.     Also, the Tribunal granted GGAM's request for PMHI to be "bound by this
                    decision" in the IM Order, at GGAM counsel's urging, despite its
                    acknowledgement that it was "not convinced at this stage that either of the
                    Respondents in the present proceedings is the correct party to whom those Shares
                    would or could belong. " 332 If it is "beyond this Tribunal 's remit to protect the rights
                    of non-parties in this arbitration,"333 it is also beyond its remit to affect such rights,
                    a cardinal rule of due process. Therefore, Bloomberry, Sureste and PMHI are
                    entitled to oppose enforcement of the Liability Award and the IM Order under
                    Article V(1)(c) of the New York Convention.334

           408.     The Respondents further contend that, as award-debtors, Bloomberry and Sureste
                    have legitimate grounds to oppose the enforcement of the Tribunal's IM Order and
                    Liability Award under Article V(1)(b) of the New York Convention. In this regard,
                    the Respondents make the following assertions:

                    (a)      GGAM committed fraud in the arbitration, in addition to having engaged in
                             corrupt practices in the course of the contractual performance that was at
                             the heart of the arbitration such that enforcing the Liability Award would
                             be contrary to the public policy of the Philippines.335

                    (b)      Bloomberry and Sureste were denied an adequate opportunity to present
                             their case, as a result of GGAM's manipulation of the document disclosure
                             process,336 which included on the part of the Claimants the withholding of
                             emails and documents exchanged between GGAM and Cantor Fitzgerald,
                             failing to search the files of Eric Chiu or Howard Lutnick, and forcefully
                             objecting to the production of documents from Weidner Resorts on the basis
                             that Weidner Resorts was a nonrelated party notwithstanding the fact that
                             Eric Chiu, GGAM's President for Asia, was by GGAM's counsel's
                             admission, on Weidner Resorts' payroll.


332
      See, e.g., IM Order at para. 127(b) which states "[f]irst, in respect of the identity of the party to whom the Shares
      could possibly return (assuming that restitution were ordered), the Tribunal is provisionally not convinced at this
      stage that either of the Respondents in the present proceedings is the correct party to whom those Shares would
      or could belong. If indeed restitution isfound to be the appropriate remedy, the Shares would, on the Respondents'
      Experts' own case, revert to the entity in which they vested prior to their transfer. That entity is PMTC. However,
      neither PMTC, nor its successor in interest, PMHI, is a party to the present proceeding."
333
      See, IM Order at para. 127(c) which states "[IJt is insufficient if the Respondents show' that a third party — say,
      Mr. Razon, or PMHI, or PMTC — is likely to or even will certainly suffer irreparable harm, since it is beyond this
      Tribunal's remit to protect the rights of non-parties in this arbitration."
334
      Respondents' Sur-Rejoinder on Damages, para. 242.
335
      See generally Respondents' Request for Reconsideration, paras. 39 — 66.
336
      Respondents' Sur-Rejoinder on Damages, paras. 246.




                                                           129
                    (c)      The IM Order manifests a procedural defect in the adversarial proceeding,
                             which denied Bloomberry and Sureste their due process rights, because the
                             Tribunal decided to require both GGAM and Bloomberry to bear the burden
                             of proof contained in UNCITRAL Rules, Article 26 on interim measures,
                             notwithstanding the fact that it was GGAM and not Bloomberry that filed a
                             request under Article 26. At no time did the Tribunal notify Bloomberry of
                             any intent to shift the burden of proof, much less explain the rationale for
                             such shift."7

           409.     The Respondents contend that, had the Claimants wanted to enforce the IM Order
                    or Liability Award regarding the disposition of the Shares, it was for GGAM to
                    seek enforcement before the appropriate trial court in the Philippines, and not for
                    Bloomberry to withdraw its petition for a preliminary injunction and attachment in
                    court.338 Yet, the Claimants have not sought to enforce the IM Order before the
                    RTC as it was directed to by the Philippine Court of Appea1.339 The Respondents
                    therefore argue that the equitable doctrine of laches34° bars GGAM's claim for
                    damages purportedly arising from the tort of conversion.341

           410.     The Respondents dispute GGAM's theories of damages based on improvidently
                    granted court orders. According to the Respondents, there was "no malice in
                    Bloomberry seeking to protect its interests, through its request to the Regional Trial
                    Court for a preliminary injunction and attachment order, at a time when the
                    Tribunal was not yet constituted and GGAM was attempting to sell the Shares pre-
                    emptively. " 342 The RTC found that ownership of the Shares was in dispute in the
                    arbitration and warned against disposing of the Shares before the Tribunal's final
                    determination.343 The RTC's findings thus make clear that Bloomberry's request
                    was legitimate.344

          411.     The Respondents also contend that GGAM's ipse dixit that the RTC
                   "acknowledged" a purported "unrestricted right to seek damages before the


337
      Respondents' Sur-Rejoinder on Damages, paras. 247.
338
      Ibid., paras. 239.
339
      Ibid., para. 250.
340
      See, 4th Vitug Report, paras. 87 to 89, which explain that !aches is the failure or neglect for an unreasonable and
      unexplained length of time to do that which by exercising due diligence could nor should have been done earlier;
      it is negligence or omission to assert a right within a reasonable time, warranting a presumption that the party
      entitled to assert it either has abandoned it or declined to assert it.
341
      Respondents' Sur-Rejoinder on Damages, para. 250.
342
      Ibid., para. 251.
343
      Order of the Republic of the Philippines, Spec. Proc. No. 7567, February 25, 2014.
344
      Respondents' Sur-Rejoinder on Damages, para. 252.




                                                          130
                   Tribunal in the event that injunction was improvidently granted" is irrelevant345
                   because the RTC never "acknowledged" that GGAM could unrestrictedly seek
                   damages beyond damages charged against the bond to be secured by
                   Bloomberry.346

           412.    Further, GGAM's reliance on Limitless Potentials is beneficial to the Respondents
                   because the Philippine Supreme Court specified that "malice or lack of goodfaith
                   is not a condition sine qua non for liability to attach on the injunction bond."347
                   The Respondents further contend that GGAM have failed to point to a case where
                   in the absence of malice, damages exceeding the amount posted in a bond was
                   awarded.348 For this reason, GGAM's request for damages above the bonded
                   amount must fail.349

          413.     The Respondents argue that GGAM's argument that Bloomberry has "converted"
                   the Shares must also fail because Bloomberry never exercised any "dominion and
                   control" over the Shares nor "unauthorised and wrongful dominion and control."35°
                   The Respondents elaborate as follows:

                   (a)     Bloomberry's alleged inaction in not pre-emptively dropping the injunction
                           does not create dominion and control over the Shares, as the Shares are not
                           held by Bloomberry but by Deutsche Bank AG subject to the Philippine
                           RTC's orders. Thus, even if there was dominion and control on the part of
                           Bloomberry, such dominion and control would not be "unauthorized and
                           wrongful." GGAM's conversion theory thus falls short of the legal
                           requirements for asserting conversion-based damages.351

                  (b)      If GGAM believed that the Philippine injunction and attachment had been
                           "improvidently granted," it should have brought forth this assertion before
                           the RTC, along with a request to enforce the IM Order, as the proper body
                           to determine this issue when the Court of Appeal remanded the issue back
                           to the RTC. This decision became final on January 21, 2016 when GGAM
                           declined to file a petition with the Philippine Supreme Court to appeal the
                           decision. In the intervening 19 months, GGAM has not taken any action


345
      Respondents' Sur-Rejoinder on Damages, para. 253.
346
      Ibid
347
      Ibid., para. 254. Emphasis in the original.
348
      Ibid.
349
      Ibid.
350
      Ibid., para. 256.
351
      Ibid., para. 257.




                                                      131
                           before the RTC to commence recognition and enforcement proceedings.
                           Instead, GGAM has decided to seek relief from this Tribunal in the form of
                           a manufactured tort of conversion. By failing to exercise its remedies before
                           the proper Philippine court on the basis of the IM Order or Liability Award,
                           under the equitable doctrine of laches, GGAM cannot now be heard to
                           complain that it is somehow prejudiced by an allegedly "improvidently
                           granted" order from the RTC.352

          414.    The Respondents also contend that a court of law in the Philippines under these
                  circumstances would not apply the "Highest Intermediate Value Test" ("HIVT")
                  because there is clear evidence of the price at which GGAM tried to sell the Shares
                  at the time of the IM Order in January 2014.353 The Respondents distinguish Tan
                  Tiong Teck from the present case by noting that, in that case, a stock broker refused
                  to account for the actual price at which it sold the shares of stock of the Complainant
                  which the broker said to have sold at PHP 0.15 per share, when stock exchange
                  records show that all sales on that day occurred at prices higher than PHP 0.15. The
                  Court resolved that case based on the Code of Commerce and CCP provisions that
                  a broker must act with the prudence and care of a good father. The broker was
                  ordered to pay for the shares at PHP 0.175 per share, the highest price the shares
                  were sold on that same day the broker said it sold the shares. The Court said a broker
                  has the fiduciary duty to sell the shares of a client at the highest price they can be
                  sold at the time the broker sells them. While the Court mentioned a HIDV rule
                  adopted in the United States, it did not explain what the rule was, and it was clearly
                  obiter dictum. Further, unlike the broker in Tan Tiong Teck, Bloomberry has no
                  fiduciary duty to GGAM with respect to the BRC Shares.354

          415.    The Respondents contend that the HIVT is self-contradictory and outside the
                  Parties' agreement to arbitrate, and highlight the following:

                  (a)      GGAM has to rely on the PA's "Buy-Out Option" to argue that their
                           proposed HIVT remedy is consistent with the Parties' agreement. But the
                           PA did not involve the Respondents, this arbitration does not involve the
                           PA, and the Tribunal admittedly cannot direct a non-party to the arbitration
                           to take any actions.355



352
      Respondents' Sur-Rejoinder on Damages, para. 258,
353
      Ibid., para. 263.
354
      Ibid., paras. 263 — 264.
355
      Ibid., para. 266.




                                                      132
                   (b)      GGAM expressly disavows any explicit or implicit invocation of the "put
                            right" in the PA, which is contractually limited to the "Fair Value" of the
                            Shares —not the HIDV of the Shares.356 Fair Value is, in turn, defined as
                            "the applicable share price of the Shares as listed on the PSE . . . as of the
                            date of such sale."357

           416.    The Respondents further argue that GGAM admits that their "constructive remedy"
                   based on HIVT is a form of damages that is intended to deter future bad conduct.358
                   As such, GGAM is seeking punitive damages. Yet, the Parties expressly agreed in
                   the MSA that neither Party would be liable for punitive damages.359 Further,
                   punitive damages are considered an "exemplary" or "corrective" damage under
                   Philippine law,36° which can only be awarded in cases involving breach of contract
                   if the defendant acted in a "wanton, fraudulent, reckless, oppressive, or malevolent
                   manner."361 Respondents contend that there is simply no argument in GGAM's
                   submissions to suggest that punitive damages would be appropriate.

           417.    Respondents also reject Claimants' references to "prevented reinvestments" as
                   being purely speculative under Philippine law, and not allowed under the MSA
                   because it is in the nature of a claim for consequential damages.362

           D.      Analysis of the Tribunal

          418.     The Tribunal will first address matters already decided by the Tribunal and which
                   continue to be raised by the Respondents in their arguments. It will then proceed to
                   consider matters of jurisdiction, liability and quantum in respect of the alleged
                   obstruction of the sale of the Shares reserved for this phase of the proceedings in
                   the Liability Award.

                            Matters Previously Decided by the Tribunal

          419.     The Respondents continue in their Sur-Rejoinder on Damages to argue on the basis
                   of claims already decided by the Tribunal in the IM Order or the Liability Award.
                   The Tribunal will not reconsider them and will only refer to the rulings by which it


356
       Respondents' Sur-Rejoinder on Damages, para. 266.
357
       PA, Clause 5.4.
358
      Claimants' Supplemental Submission, para. 291.
359
      MSA, Section 12.3(a).
360
      See, CCP, art 2229.
361   Ibid, art 2232.
362
      Respondents' Sur-Rejoinder on Damages, para. 265.




                                                       133
                   decided them. Thus, on the claim of causal fraud, the Tribunal concluded that: "to
                   the extent that the Claimants made representations, the evidence does not show that
                   the representations were false at the time they were made. The Tribunal has
                   rejected each of the grounds the Respondents have advanced in support of their
                   claim of causalfraud; consequently, this claim is dismissed."363 Further allegations
                   of fraud were made by the Respondents in the Request for Reconsideration of the
                   Liability Award. The Tribunal did not consider them because it found that it "may
                   not reconsider the Liability Award. In particular the request for reconsideration
                   does notfall within any of the enumerated exceptions ofsection 19B of the IAA."364

          420.     On the Respondents' allegation of the shifting of the burden ofproofby the Tribunal
                   in the Interim Phase of the proceedings, the Tribunal addressed the alleged shifting
                   of the burden of proof in its IM Order. GGAM owned and possessed the Shares in
                   question, but the Respondents obtained an injunction from the RTC preventing their
                   sale. But the RTC only had jurisdiction until this Tribunal was constituted and
                   could act on the injunctive request, which it did. Since it was the Respondents
                   which sought the injunction from the RTC, it is at least arguable that it should have
                   been the Respondents who sought the same relief from the Tribunal because of the
                   limits of the RTC's jurisdiction. The Tribunal explained the unusual procedural
                   posture of the Parties:

                            "These are, in essence, the Parties' respective positions: the Respondents,
                            while technically the respondents in opposing the Claimants' Request, are
                            in effect asking the Tribunal to grant them an Order preventing the
                            Claimantsfrom selling any of the Shares. Conversely, the Claimants, while
                            technically the applicants in the present interim measures application, are
                            in effect both responding to the Respondents' actions in seeking interim
                            relief before the Philippine Court but also asks to be relieved from all
                            restrictions on their disposition of the Shares. The Tribunal notes, for
                            completeness, that the Respondents' application was taken in response to
                            the Claimants' attempt to sell the Shares, and the Tribunal emphasises that
                            it is not suggesting that there was any impropriety on the part of either side
                            in respect of the events leading to the present procedural posture. To the
                            contrary, the Tribunal assumes the goodfaith of all parties before it and of
                            the Philippine Court."365

          421.     After these considerations, the Tribunal concluded:


363
      Liability Award, para. 148.
364
      Decision on Reconsideration, para. 75.
365
      IM Order, para. 106.


                                                     134
                          "The result of the current procedural posture, however, is that the Tribunal
                          cannot startfrom either the position that the Second Philippine Court Order
                          should remain and the Party opposing it has the burden of proving that it
                          should be revoked; or that the Second Philippine Court Order should be
                          revoked and the Party askingfor it to remain should bear the entire burden
                          of that request. In this unusual posture, both parties bear the burden of
                          presenting evidence and persuading the tribunal of the correctness of their
                          explicit and implicit affirmative propositions."366

                 (ii)      Jurisdiction

         422.     For purposes of considering the arguments that PMHI was not heard and the lack
                  of jurisdiction of this Tribunal in respect of non-parties to the MSA, it will be useful
                  to review in detail the Parties' arguments at the various phases of this proceeding
                  and the Tribunal's decisions in their respect.

                           a.      Interim Measures Phase

         423.    At the Interim Measures ("IM") Hearing Mr. Nolan stated for the Respondents:
                 "Were this Tribunal to accept GGAM's argument as correct and grant their
                 Application, it would be granting preliminary reliefpursuant to an agreement as to
                 which no arbitration has been brought, certainly none before this Tribunal.
                 Claimant, thus, makes of this Tribunal a request that it has not been given
                 competence to grant."367

         424.    The Claimants in their Request for Interim Measures ("IM Request") in the section
                 on "The Parties to the Arbitration and Related Entities" stated:

                          "Prime Metroline is not a party to the MSA (MSA Clause 19.2), nor was it
                          an original party to the Arbitration. However, in the Philippine Court
                          Proceedings, Prime Metroline represented that as `the owner of the Shares
                          which transferred the Shares to Respondent GGAM. . . [Prime Metroline]
                          is a real party in interest who stands to be benefitted or injured by any order
                          of the [Philippine Court], or entitled to the avails of the suit. ' MSA Clause
                          19.2(P provides that the arbitration provisions of the MSA are `intended to
                          benefit and bind third-party non-signatories and shall continue in fullforce
                          and effect subsequent to and notwithstanding the expiration or termination

366 IM Order, para. 107. Emphasis added.
367 Transcript of Interim Measures Hearing, page 637 lines 2 to 11.




                                                       135
                            of this Agreement. ' By asserting it is a real party in interest and
                            acknowledging that the Philippine proceeding was only in aid of this
                            Arbitration, Prime Metroline has acknowledged both that the Tribunal has
                            jurisdiction with respect to this issue (among others), and that it is bound
                            by any determination by this Tribunal regarding any interim measures."368

           425.    In their Opposition Memorial to the IM Request, the Respondents asserted that
                    "There is simply no reason for the Tribunal to grant Claimants' extraordinary
                   request [for interim measures], which would impair, if not destroy, the Tribunal's
                   effective jurisdiction to make an award in Bloomberry's favor, and thereby
                   irreparably prejudice Bloomberry—precisely the effect interim measures are not
                   supposed to have."369 The Respondents also reserved their "right to include any
                   plea as to the arbitral tribunal's jurisdiction, assert additional defenses and
                   counterclaims and/or seek further or alternative relief as appropriate, in their
                   Statement of Defence."37°

           426.    In their Sur-Reply Memorial in Opposition to the Claimants' Request for Interim
                   Measure of Protection dated August 14, 2014 (the "Respondents' Sur-Reply
                   Memorial in Opposition to the IM Request"), the Respondents continued to refer
                   to the remedial jurisdiction of the Tribunal:

                           7..1 When GGAM initiated this Arbitration, the status quo was asfollows:
                            the block of Shares was intact, held by GGAM, and within the Tribunal's
                           remedial jurisdiction. That situation has not changed. As of today, the block
                           of Shares is intact, held by GGAM, and within the Tribunal's remedial
                           jurisdiction. GGAM's request to sell the Shares—thereby dispersing the
                           block and eliminating the Tribunal's remedial jurisdiction over the
                           Shares—is a request to alter permanently the status quo prior to the
                           resolution of this Arbitration."371

          427.     In the IM Order the Tribunal made the following observations in respect of the
                   Respondents' Proprietary Claim (as defined at paragraph 126 of the IM Order):372

                           "(a) On the basis of the evidence and arguments submitted at this early
                           stage, the Tribunal is not convinced for the purposes of enjoining Shares
                           pursuant to Article 26 of the UNCITRAL Rules 2010 that the Respondents

368
       IM Request, para. 20(3)(ii).
369
      Respondents' Opposition Memorial to the IM Request, para. 21. Emphasis added. See also paras. 27 and 28.
370
      Ibid., footnote 139.
371
      Respondents' Sur-Reply Memorial in Opposition to the IM Request, para. 5.
372
      IM Order, para. 127.


                                                       136
themselves have a serious claim to the Shares which could be subverted by
the sale of those Shares.

(b) First, in respect of the identity of the party to whom the Shares could
possibly return (assuming that restitution were ordered), the Tribunal is
provisionally not convinced at this stage that either of the Respondents in
the present proceedings is the correct party to whom those Shares would or
could belong. If indeed restitution is found to be the appropriate remedy,
the Shares would, on the Respondents' Experts' own case, revert to the
entity in which they vested prior to their transfer. That entity is Prime
Metroline Transport Corp ("PMTC"). However, neither PMTC, nor its
successor in interest, PMHI, is a party to the present proceeding.

(c) The Tribunal is not persuaded, on the face of the record before it at this
time, that there is authority for the proposition (as the Respondents argue)
that "it's entirely possible as a legal matter that the PMHI entity is a
beneficiary with respect to a Contract entered by its prior subsidiaries, in
that sense, the Shares could be restituted to PMHI, notwithstanding the fact
that it's not a party", and that "the existence of a doctrine of privity of
Contract doesn't negate the possibility of restitution to a third party
beneficiary, for example, of a contract." The threshold question before this
Tribunal is whether or not the Respondents are likely to suffer substantial
harm if the Tribunal does not make an Order on the same terms as the
Second Philippine Court Order.

(d) The Tribunal emphasizes that it is not pre-judging any merits of this
case, which the Parties will have full opportunity to ventilate in their
submissions prior to and during the merits hearing. However, the Tribunal
must be convinced for the purposes of maintaining or ordering an
injunction against the Claimants' Shares that it is likely that the
Respondents will suffer substantial harm. It is insufficient if the
Respondents show that a third party — say, Mr. Razon, or PMHI, or PMTC
— is likely to or even will certainly suffer irreparable harm, since it is beyond
this Tribunal 's remit to protect the rights of non-parties in this arbitration.

(e) In all the circumstances, the Tribunal, without pre-judging the merits of
this claim, has not been presented with convincing evidence that the
Respondents themselves will suffer irreparable harm if they do not receive
the Shares. Accordingly, any harm arisingfrom the sale of the Shares would




                          137
                             be suffered by the Grantor. The Tribunal has not been shown evidence that
                             the Respondents are the Grantor 's successors or assigns.

                            (t) In any event, the Tribunal notes that, even if the Respondents succeed at
                            the merits phase on their Proprietary Claim, the Respondents have not
                            persuaded the Tribunal that they are likely to suffer irreparable, or
                            substantial, harm. Should the Claimants sell the Shares, the Claimants will
                            simply have assets other than the Shares, such assets being of equivalent
                            value to the sale price of the Shares, and out of which the Claimants can
                            satisfy any award made against them (if at all). " 373

                            b.       Merits Phase

           428.    In the Statement of Defense and Amended Counterclaims dated February 2, 2015
                   ("Respondents' Statement of Defense"), the Respondents submitted their
                   counterclaims:

                            "Bloomberry now asserts amended counterclaims for (1) monetary
                            damages equivalent to the value of the Shares, (2) rescission of the equity
                            option grant and restitution of the Shares on behalf of its agent, Prime
                            Metroline; (3) annulment of the MSA on the basis of causal fraud and
                            restitution of the Shares on behalf of its agent, Prime Metroline; and (4)
                            equitable relieffrom GGAM's unjust enrichment."374

          429.     The Respondents explained:

                            "As the Grantor, Prime Metroline acted on behalf of and as agent for,
                            Bloomberry and Sureste to comply with their enforceable obligation under
                            the MSA to grant GGAM the right to purchase up to 10% ownership rights
                            in the Solaire. Under Philippine law, agency may be impliedfrom the words
                            and conduct of the parties, as well as the circumstances of a particular case.
                            Although there was not a separate written agreement between Bloomberry,
                            Sureste and Prime Metroline, the Parties' actions make clear that Prime
                            Metroline was acting as the agent of Bloomberry and Sureste."375

          430.     At the Remedies stage, the Claimants argued that the Respondents have no basis to
                   challenge the Tribunal's jurisdiction over GGAM's Shares damages claim because,


373
      IM Order, para. 127.
374
      Respondents' Statement of Defense, para. 143.
375
      Respondents' Statement of Defense, para.156. See also paras. 169-70, 172, 174- 78, 181, 190(b)-(e).


                                                        138
               inter alia, the Respondents' counterclaims put damages related to the Shares before
              the Tribunal, and Respondents waived any jurisdictional challenge regarding the
              Shares dispute. The Claimants added that the Tribunal should not "credit any
              argument by Respondents (should they make one) that the Tribunal lacks
              jurisdiction to award GGAM damages arisingfrom Respondents' interference with
              GGAM's sale of its Shares on the basis that PMHI is not a party to the Arbitration.
              Respondents themselves acknowledge that PMHI is their agent, and acts on behalf
              of Respondents (BRHI and Sureste). " 376

      431.    The Respondents made the following argument:

                       "'First, by ordering that GGAM be `free to... sell or dispose of the Shares
                       at their discretion, ' the Tribunal disregarded the distinct rights and
                       interests that Prime Metroline, as the party to the Equity Option Agreement
                       ("EOA') and the party that transferred the Shares to GGAMfor below
                       market price, had in the Shares. By virtue of these rights, Prime Metroline
                       was a joint petitioner for the Writs of Attachment and Preliminary
                       Injunction that were granted by the Regional Trial Court in Makati."

                      "Claimants commenced this Arbitration, however, under the MSA only, not
                      the EOA. Bloomberry expressly objected to the relief GGAM was seeking,
                      which was outside of the Tribunal 's jurisdiction. GGAM took the position
                      that the EOA was the sole basis for the equity option, pursuant to which it
                      bought the Shares, and therefore, on the basis of GGAM's theory, the EOA
                      was the source of the rights GGAM wanted to vindicate. Such relief was
                      inappropriate, in light of the fact that Prime Metroline, the party to the
                      EOA, was not heard in connection with GGAM's claim concerning the
                      Shares, and that the Tribunal did not have the competence to grant that
                      relief"

                      "'That the Tribunal granted GGAM's request for Prime Metroline to be
                       `bound by this decision' in the IM Order, at GGAM counsel 's urging despite
                      its acknowledgement that it was `not convinced at this stage that either of
                      the Respondents in the present proceedings is the correct party to whom
                      those Shares would or could belong' militates against enforcement. If it is
                       `beyond this Tribunal's remit to protect the rights of non-parties in this
                      arbitration', it is also beyond its remit to affect such rights, a cardinal rule
                      of due process. Therefore, Bloomberry, Sureste and Prime Metroline are

Claimants' Supplemental Submission, para. 233.




                                                 139
                          entitled to oppose enforcement of the Partial Award on Liability and the IM
                          Order under Article V(1) (c) of the New York Convention."377

         432.    First, the Tribunal observes that, as pointed out by Justice Puno, the RTC "issued
                 the limited preliminary injunction and preliminary attachment notwithstanding the
                 presence of a non-party to the arbitration."378

         433.    Second, at the same time as the Respondents claimed that PMHI was not heard,
                 they affirmed to this Tribunal that PMHI was their agent in the context of the
                 counterclaims for damages. In their Amended Statement of Defense and
                 Counterclaims the Respondents argued:

                         "As Grantor [of the shares] Prime Metroline acted on behalf of and as
                         agent for, Bloomberry and Sureste to comply with their enforceable
                         obligation under the MSA to grant GGAM the right to purchase up to 10%
                         ownership rights in the Solaire. Under Philippine law, agency may be
                         implied from the words and conduct of the parties, as well as the
                         circumstances of a particular case. Although there was not a separate
                         written agreement between Bloomberry, Sureste and Prime Metroline, the
                         Parties' actions make clear that Prime Metroline was acting as the agent
                         of Bloomberry and Sureste. The EOA plainly states that it was entered into
                         because of Clause 18.3 of the MSA (even though Prime Metroline was not
                         a party to the MSA). The EOA then goes on to imply that the agreement
                         was being entered to satisfy the obligations of Bloomberry and Sureste,
                         which had granted the equity option in the MSA and were causing Prime
                         Metroline to act as their agent in the equity transaction. GGAM was well
                         aware of the relationship between Bloomberry, Sureste, and Prime
                         Metroline. For example, even when GGAM chose to exercise the equity
                         option, it could not effectively close the transaction until the boards of
                         directorsfor Bloomberry and Sureste had approved the sale."


                         "The Respondents further explained that common ownership and
                         interrelatedness of corporations may "give rise to a valid inference as to
                         the broad scope of agency. " In the corporate context, it is not unusual to
                         see situations where an affiliate will facilitate performance of another
                         affiliate 's obligation, particularly when the affiliates are owned and
                         controlled by the same corporate parent. Courts recognize the possibility
                         that a parent corporation may act as the agent of its subsidiary. For

377 Respondents' Sur-Rejoinder on Damages, paras. 240 to 242. Emphasis in original.
378 Claimants' Puno Summary, p. 3. Emphasis in the original.


                                                     140
                          example, when a parent company acts as an agent for its subsidiary for a
                          particular purpose, the parent has necessarily acquiesced to the
                          subsidiary's control, albeit onlyfor the particular purpose."379


         434.    The Tribunal considers that the issues raised by the Respondents in this proceeding
                 relating to the competence of the Tribunal in respect of (i) PMHI, and (ii) the
                 obstruction of the sale of the Shares, contradict what had been stated by the
                 Respondents to the Tribunal as the basis for the Respondents' standing to submit
                 counter-claims on which the Tribunal relied. If PMHI was the Respondents' agent,
                 then the principals were before the Tribunal, and they owned any claim or defence
                 of the agent and were fully heard on all issues related to the dispute relating to the
                 Shares. The RTC itself granted the interim measures of protection without prejudice
                 to the subsequent grant, modification, amendment, revision or revocation by the
                 arbitral tribunal.

         435.    Furthermore, the agency relationship is confirmed by the relief requested by the
                 Respondents that the Tribunal order GGAM to transfer the Shares to the
                 Respondents on behalf of PMHI.38°

          (iii) Liability

         436.    The Respondents have argued that they have a right to challenge the Liability
                 Award. The Tribunal agrees. But the Respondents also have an obligation to
                 comply with the IM Order and the Liability Award, and Claimants have no
                 obligation to seek enforcement of the IM Order or the Liability Award in the RTC.
                 Both Parties are, however, bound by the IM Order and the Liability Award and are
                 obliged to comply with them (see the Tribunal's analysis at paragraphs 440 to 445
                 below).

        437.     The Tribunal observes that the RTC had the initial authority to grant an IM Order
                 but, as a matter of Philippine law, this was subject to the Tribunal's express power
                 to modify or lift the RTC's order. In the IM Order the Tribunal recognized that the
                 RTC clearly acted within its proper jurisdiction. The Tribunal observed:

                         "[...] the Second Philippine Court Order arises from the fact that this
                         Tribunal was not yet constituted, and the Philippine Court was simply
                         `holding the ring' — i.e., preventing any substantive change in each side's

379 Respondents' Statement of Defense, paras. 156-157.
380 Respondents' Sur-Rejoinder on Damages, para. 269(i)(f).




                                                     141
                           position — prior to the Tribunal 's constitution. To this extent, the Court was
                           clearly acting within its proper jurisdiction."381

                   The Tribunal did not find that the RTC acted improvidently at the time it issued the
                   injunction. The question for the Tribunal is whether the Respondents' continuing
                   non-compliance with this Tribunal's IM Order and the Liability Award, the
                   resulting interference with the right of GGAM to dispose of the Shares, and the
                   Respondents' stated intent to continue to interfere, constitute grounds for a finding
                   of liability by this Tribunal.

          438.     The IM Order observed that "the Philippine Court clearly anticipated that its Order
                   (which simply held the status quo ante until the Tribunal was constituted) could be
                    `modified, amended, revised or revoked by the arbitral tribunal [emphasis added] '
                   once this Tribunal was constituted. There can therefore be no doubt that the Second
                   Preliminary Court Order does not bind this Tribunal. The Second Philippine Court
                   Order only bound the Parties in so far as this Tribunal was not yet constituted and
                   had not yet ruled on the issue."382

          439.     The Tribunal vacated the Second Preliminary Court Order when it issued its IM
                   Order. The IM Order is binding on the Parties and, if it is considered an award, it
                   can be enforced in any country signatory to the New York Convention. On the other
                   hand, awards issued by this Tribunal may only be vacated by the courts of
                   Singapore. The Philippine courts may enforce or not enforce them but have no
                   power to vacate them. None of this Tribunal's orders or awards have been vacated.
                   Regardless of whether the IM Order is enforceable in the courts, it directly binds
                   the parties and they are obligated to comply with it.

          440.    Whether the IM Order is self-executing in the Philippines is a matter of whether it
                  can be enforced in that country without the intervention of a Philippine court
                  recognizing and enforcing it. Even if it is not self-executing, the Parties still have
                  an obligation to comply with the IM Order and the Liability Award unless vacated
                  by a court in Singapore.383

          441.    The Respondents have the right to challenge the IM Order and the Liability Award
                  as they have argued, but they have not obtained any court decision from Singapore
                  setting aside the IM Order or the Liability Award. Until they do, the Parties are
                  bound by them and must comply with them. It is evident from the Respondents'


381
      IM Order, para. 101.
382
      Ibid., Emphasis in the original.
383
      UNCITRAL Rules, Article 34(2).


                                                    142
                   arguments that they take the position that the IM Order and Liability Award are
                   defective and they have not complied with them. Nonetheless, the Tribunal
                   understands that they did not seek to vacate either the IM Order or the Liability
                   Award in the Singapore courts within the time limits fixed by Singapore law, which
                   would have been the legitimate action for the Respondents to take. Eventually, the
                   Respondents sought to vacate the Liability Award apparently out of time, and
                   proceedings are pending. Those proceedings are properly for the courts of
                   Singapore to decide.

           442.    After the Tribunal issued the Liability Award, and since early 2017, the Claimants
                   corresponded with the Respondents to implement the IM Order and the Liability
                   Award as ordered by the Tribunal. As already noted at paragraph 384 above, the
                   Respondents refused and used their refusal to consent to try to bargain a reduction
                   of the Claimants' damage claim for breach of contract.

           443.    In their defence, the Respondents have contended that the Shares are not under their
                   dominion or possession since they are held in escrow by Deutsche Bank and
                   possession or ownership over the Shares could not have passed to the Claimants by
                   virtue of the RTC's writ of attachment. They argue that Justice Vitug has explained
                   that the effect of the attachment is that the property is brought under the custody of
                   the law and not the party who sought attachment.384

          444.     This notwithstanding, the Respondents' replies to the Claimants when requested to
                   agree to the release of the Shares and to withdraw their petition for interim measures
                   to the RTC attest to the fact that the release of the Shares and the withdrawal of the
                   petition are, de facto, effectively under their control. Thus, in their letter of March
                   27, 2017, the Respondents stated: "In this particular dispute, at every stage,
                   Bloomberry's position has been that, ifyour side [i.e., GGAMJ were not demanding
                   unreasonable `compensation' in addition to the Shares, objections to the sale of the
                   Shares could be put aside as part of a compromise to resolve the Parties'
                   dispute. "385 Deutsche Bank itself has taken the position that, notwithstanding the
                   IM Order and Liability Award, which have been disclosed to Deutsche Bank, it will
                   not unfreeze the Shares without the Respondents' express permission to this
                   effect.386


384
      4th Vitug Report., para. 99; Respondents' Sur-Rejoinder on Damages, para. 257.
385
      Claimants' Ex. 243. This is a reiteration of the position taken by the Respondents in previous correspondence
      dated October 11, 2016: "[T]here would be no objection regarding the Shares if your clients were not demanding
      excessive and unwarranted `compensation' in addition to the Shares." Claimants' Ex. 244.
3S6   Claimants' Supplemental Submission, para. 218.




                                                        143
           445.     Under Section 19.2(b) of the MSA, the decisions of the Tribunal are binding on the
                    Parties without right of appeal. The UNCITRAL Rules provide that the Parties are
                    to carry out all awards without delay.387 This notwithstanding, the Respondents
                    have failed to give effect to the IM Order and the Liability Award. When the
                    Tribunal rendered the IM Order, it ordered that the Claimants were "henceforth free
                    to deal with the Shares,"388 which included "the right to sell or dispose of the Shares
                    at their discretion" even though it left open the issue of title to the Shares.389 It was
                    clear at the time of the IM Order that Claimants were likely to prevail on their claim
                    to the Shares. The Liability Award decided that issue in December 2016.39°

          446.      To recapitulate, GGAM has tried to sell, or initiate the process of selling, the Shares
                    on at least the following occasions, only to be effectively prevented by the
                    Respondents in each instance:

                    (a)      In January 2014, GGAM, after consultation with investment bankers, came
                             close to selling its Shares at the final price of Php 8.05 per share. Settlement
                             was scheduled to occur on January 21, 2014. On January 15, 2014, BRC
                             wrote to the Philippine Stock Exchange requesting suspension of trading in
                             all BRC shares for one week, which was done on the next day. On January
                             17, 2014, the Respondents and PMHI filed an application with the RTC
                             seeking the issuance of writs of preliminary attachment and preliminary
                             injunction of GGAM's sale of its Shares, and seeking a temporary
                             restraining order. This was granted on February 27, 2014 (see paras 374 to
                             377 above).

                   (b)       In October 2016, after the issuance of the Liability Award, GGAM tried to
                             initiate the sale of the Shares again, and wrote to Deutsche Bank to ask that
                             it restore GGAM's Shares to a trading account. Deutsche Bank took the
                             position that it would need the Respondents' express consent to release the
                             Shares, which the Respondents refused to give (and which the Respondents

387
      UNCITRAL Rules, Article 34(2).
388
      IM Order, para. 138(a)(ii).
389
      "The Tribunal emphasizes that it makes no declaration as to the ownership of the Shares, and has not pre-
      judged any aspect of each side's pleaded case, and Parties shall have the full opportunity to ventilate their
      respective cases at the merits hearing. Accordingly, the Tribunal defers any decision as to the declaration of the
      legal and/or beneficial ownership of the Shares to the merits phase of the Arbitration (which is the appropriate
      phase in which to determine this question)." IM Order, para. 139.
390
       In the Liability Award the Tribunal concluded: "Since the Respondents' arguments about the Equity Option and
      the EOA are based on rescission or annulment of the MSA and there are no legal bases for rescinding or annulling
      the Equity Option granted in the MSA and the EOA, there is equally no basis to require GGAM to return the
      Shares." Liability Award, para. 305. In the operative part of the Liability Award, the Tribunal decided that "there
      is no basis on which to rescind the EOA or to require the return of the shares" at p. 120.


                                                          144
                             tried to use as a bargaining chip to reduce the compensation it was liable to
                             pay the Claimants) (see paras 382 to 384 above). Deutsche Bank
                             specifically relied on Respondents' continuing renewal of their original
                             preliminary injunction and preliminary attachment bonds as evidence that
                             the Philippine Preliminary Injunction Order and Preliminary Writs remain
                             in place.

                    (c)     In March 2017, GGAM's counsel wrote to the Respondents' counsel again
                            requesting that the Respondents "immediately assure implementation" of
                            the Tribunal's IM Order and Liability Award by (a) withdrawing the
                            Respondents' January 17, 2014 petition filed with the RTC seeking the
                            Preliminary Writs, and (b) confirming in writing to Deutsche Bank, the
                            Philippine Stock Exchange and the Philippine Depository & Trust Corp.
                            that the Respondents have no objection to GGAM's sale of its BRC
                            shares.39' The Respondents refused to take both actions, seeking again to
                            use its consent to releasing the shares as a basis for negotiating its damage
                            exposure. This request was renewed in April 2017 and rejected once more
                            when GGAM sought to sell its Shares at a 19.5 month high392 (see paras
                            385 to 386 above).

          447.     At the final hearing, the Respondents stated clearly that they would continue to
                   obstruct GGAM's access to the Shares irrespective of the Tribunal's ruling.393

          448.     In these circumstances, the Respondents' flagrant disregard for the Tribunal's IM
                   Order and Liability Award, and willful refusal indefinitely to enable GGAM access
                   to the Shares for the apparent purpose of pressuring the Claimants into a settlement
                   on Respondents' terms is tantamount to their de facto seizure, a misappropriation
                   for the purpose of using them to settle other matters in dispute between the Parties.
                   There is no doubt that the Respondents have refused to comply with the IM Order
                   and the Liability Award even though they had committed themselves to comply,
                   and have prevented the Claimants from the free disposal of their Shares.

          449.      On this basis, the Tribunal finds that, at least since the IM Order, the Respondents
                   are liable for damages under Articles 20 and 2176 of the CCP. The Respondents
                   have acted contrary to their legal obligations under the MSA and the UNCITRAL
                   Rules to be bound by the Tribunal's IM Order and Liability Award, and this act has
                   caused damage to GGAM Philippines, the rightful owner of the Shares. Pursuant


391   Claimants' Supplemental Submission, para. 224.
392
      Ibid., para 230.
393
      Day 5 Transcript, page 274 line 15 to page 275 line 14.


                                                         145
                 to Article 20 of the CCP, this gives rise to an obligation on the Respondents' part
                 to indemnify GGAM Philippines for the damage it has suffered as a result of
                 Respondents' actions. Further, the Respondents have acted willfully, and in doing
                 so, have committed a quasi-delict within the meaning of Article 2176 (which, again,
                 gives rise to an obligation on the Respondents' part to pay compensation for the
                 damage caused to GGAM Philippines). Under such circumstances, there is no need
                 for the Tribunal to determine whether the RTC order was improvident in order to
                 award damages for the wrongful interference with the property rights of the
                 Claimants, since the Respondents' actions in not complying with the IM Order and
                 Liability Award (despite clearly being bound to do so) would by themselves give
                 rise to liability under Articles 20 and 2176.

        450.    As demonstrated by the evidence set out above, the Respondents have willfully or
                at least negligently caused damage to GGAM by interfering with and blocking the
                exercise of its ownership rights in its Shares, especially its right to sell the Shares
                (Article 428 of the CCP).

        451.    For completeness, the Tribunal dismisses the Respondents' argument that the
                equitable doctrine of laches "bars" the Claimant's requested constructive remedy394
                and "GGAM's claim for damages purportedly arising from the tort of
                conversion."395 As already explained, the Claimants had no obligation to enforce
                the IM Order or the Liability Award. The Respondents, however, do have the
                obligation to comply with the IM Order and the Liability Award, and that obligation
                is a continuing one. It has not lapsed or been prescribed. In such circumstances,
                the doctrine of laches is clearly inapplicable. Moreover, no delays on the part of
                Claimants have been substantiated. It is not open for the Respondents to disregard
                orders and awards of the Tribunal (which are binding on them) when the Claimants
                have continuously asserted their rights properly in this arbitration, and then to argue
                that the Claimants are barred by laches when it is the Respondents who have refused
                to abide by the IM Order and Liability Award. The Tribunal also notes that the
                Respondents' defence of laches is not substantiated by authority. In this regard, the
                Respondents rely solely on the 4th Vitug Report to substantiate this defence —
                however, the only authority cited by him is used merely to illustrate the general
                principles or elements of a laches defence. The Tribunal finds that the elements of
                laches are not substantiated and thus dismisses the defence of laches.




3" Respondents' Sur-Rejoinder on Damages, para 250.
3" Ibid.


                                                      146
                     (iv)    Remedies

                             a.       Quantum

           452.     The Claimants have argued for the application of the HIDV on the basis of a single
                    Philippine case - Tan Tiong Teck - considered by the Philippine Supreme Court in
                    1940. The Respondents disagree. The Tribunal notes that no other Philippine
                    authority has been adduced by the Parties, and is not convinced that a single case
                    decided in 1940 that does not clearly involve the same circumstances is sufficient
                    evidence to demonstrate that the HIDV is necessarily part of Philippine law, and
                    should be applied in the circumstances of the instant case.396

           453.    Flowing from the Tribunal's finding that the Respondents are liable under Articles
                   20 and 2176 of the CCP from the time of the IM Order, the Tribunal finds that the
                   most appropriate date to use to value the Shares is the date of the IM Order (i.e.
                   December 9, 2014). This was the first date on which GGAM's right to sell the
                   Shares was confirmed by this Tribunal. The Tribunal is left in no doubt that GGAM
                   would have tried to sell the Shares had the Respondents then allowed them to do so
                   by taking the necessary steps to permit the sale (especially as the Claimants had
                   agreed on a substantially lower sale price for the Shares less than one year earlier).
                   While the Tribunal appreciates that the sale of the Shares might have taken some
                   time to negotiate (especially for what both Parties seem to accept to be a large chunk
                   of fairly thinly traded-shares), the Tribunal finds that the date of December 9, 2014
                   provides a principled date to value the Shares.

          454.     In this regard, the Tribunal requested that the Parties consider different possible
                   dates to value the Shares on the last day of the Remedies Hearing.397 These dates
                   were: (a) January 15, 2014 (the date on which GGAM was first supposed to sell the
                   Shares); (b) December 9, 2014 (the date of the IM Order); and (c) September 20,
                   2016 (the date of the Liability Award). This resulted in what the Respondents have
                   termed the Claimants' "unsolicited" submission of June 29, 2019, and which
                   sparked off a chain of correspondence in which experts from both sides tendered
                   further expert reports to calculate the share prices on these specified dates
                   (accompanied with comments by counsel).




396
      Justice Vitug says that "It is, accordingly, my considered view, that the "Highest Intermediate Value," as a
      measure of quantification, hardly has any solid foundation in Philippine law context and it is wrong to say that
      the same has been "'adopted" in the Philippine jurisdiction." 4th Vitug Report, para. 103.
397
      Day 5 Transcript, page 95 line 16 to page 98 line 3.


                                                         147
455.   For the purposes of this part of the Final Award, the Tribunal does not propose to
       set out exhaustively the Parties' contentions in detail. Instead, it will briefly
       summarise the Parties' key contentions, as well as set out the Tribunal's views on
       those contentions, before concluding on the value of the Shares (and corresponding
       damages due to the Claimants).

456.   The Claimants' Letter of June 29, 2018 was fairly brief. The key enclosure was
       Prof Kalt's Calculations of June 29, 2018, which set out (a) Prof Kalt's calculations
       on hypothetical sale dates of January 15, 2014 and December 9, 2014; and (b) Prof
       Kalt's calculations based on the HIDV for sale periods beginning on (i) January 15,
       2014, (ii) December 9, 2014, and (iii) September 20, 2016. Prof Kalt only applied
       a discount to the hypothetical sale date of January 15, 2014, and did his calculations
       on the basis of the PHP/USD conversion rate as of the selected date.

457.   The Respondents' Letter of July 10, 2018, disagreed with Prof Kalt's methodology.
       Besides submitting that there was no basis to hold the Respondents liable for the
       injunction and attachment the Respondents also submitted that the Claimants'
       Letter of June 29, 2018 was unsolicited and put forth "entirely new calculations for
       damages related to the Shares based on new and/or inconsistent positions." The
       Respondents highlighted, inter alia, that Prof Kalt's Calculations of June 29, 2018
       did not include any discounts on the HIDV calculations; offered a calculation based
       on the non-discounted sale price of the Shares on January 15, 2014; grossed up his
       current value calculation of the Shares by including returns accruing at an
       annualized S&P 500 total return, which is unsupported by record evidence;
       provided for the first time a calculation based on the HIDV after the Liability
       Award; failed to satisfy the requirements of Philippine law because it did not show
       the actual damages suffered by the Claimants (and only showed the current value
       of the Shares at selected dates); and was based on the HIDV method, which was
       impermissible under both Philippine and Singapore law. The Respondents also
       argued that "no damages of any kind should be awarded to Claimants in light of
       the FCPA Orders, which have revealed GGAM's fraud and contravention of the
       MSA." In contrast with Prof Kalt's calculations, Mr Searby contended in Searby's
       Calculations of July 10, 2018 that the HIDV was inappropriate; that a block sale
       discount should be used regardless of date; that the currency and interest rates
       should be matched (i.e., PHP for Philippine statutory interest rate); that the S&P
       500 index should not be used; that he was instructed to use simple interest, and that
       because Prof Kalt's calculations do not include any deduction for the actual value
       of the Shares, there is no assessment of the Claimants' loss (if any).




                                       148
458.   The Claimants' Letter of August 24, 2018 rejects the Respondents' allegation that
       Prof Kalt presented entirely new calculations to the Tribunal; instead, the Claimants
       say that Prof Kalt focused on addressing the Tribunal's query in the Remedies
       Hearing through "three simple tables." The Claimants also argue that Prof Kalt's
       failure to apply a block sale discount was appropriate because "GGAM would not
       have sold the Shares in a single block at one time" were it not for "Respondents'
       unjustified termination of the MSA and subsequent efforts to prevent GGAM from
       selling the Shares." Indeed, the Claimants argue that they would have dribbled out
       the Shares to avoid suffering a block sale discount. The Claimants also argue that
       Mr Searby's criticism of Profs Kalt conversion of PHP to USD at the date of the
       sale is unfounded and belated (since Prof Kalt had consistently been doing this),
       and that Prof Kalt's use of compound interest (rather than simple interest) is
       "entirely reasonable and appropriate, if not conservative" (and that Prof Kalt's use
       of the annualized return rate of the S&P 500 illustrates this).

459.   The Respondents' Letter of September 14, 2018 reiterates much of their Letter of
       July 10, 2018. Further, the Respondents again reiterate in their Letter of September
       14, 2018 that "no damages of any kind should be awarded to the Claimants in light
       of the FCPA Orders, which have revealed GGAM'sfraud and contravention of the
       MSA." The Respondents further submitted that "Mr Weidner, assisted by his
       counsel, engaged in a continuum of deceit and misrepresentations from the
       beginning of the Parties ' relationship," and that the unrebutted expert opinion of
       Mr Thomas Mason was that "the Arbitration was compromised by the conduct of
       GGAM's former arbitration counsel's violation of their professional obligations."
       The Respondents also criticized Prof Kalt for not disclosing the data underlying his
       new calculations, as well as his omission of providing calculations at the date of
       the Liability Award despite this being specifically mentioned by the Tribunal. The
       Respondents also argue that Prof Kalt's "new positions" were belatedly presented
       to the Tribunal, which deprived them "of an opportunity to confront the case
       against it" (an allegation it repeats from its Letter of July 10, 2018).

460.   As a preliminary point, the Tribunal makes clear its view that it is entitled to take
       into account both Parties' expert calculations and submissions in relation to the
       exact quantum to be awarded at various dates. That is the extent of the Tribunal's
       query raised at the Remedies Hearing. The Tribunal does not think that taking into
       account the submissions at paragraphs 456 to 459 above in relation to the issue of
       quantum at a specific date would (as the Respondents submitted in the last
       paragraph of its Letter of July 10, 2018) "[deprive] Bloomberry of an opportunity
       to confront the case against it." In this regard, the Tribunal notes that the HIDV
       methodology for which Claimants have consistently argued, and which



                                       149
                   Respondents have consistently argued against, would allow the Tribunal to
                   consider all of the share prices since January 2014 and select the highest price. The
                   Tribunal has preferred instead to ground its decision in specific dates on which
                   Respondents should have allowed Claimants to sell the shares, which Claimants
                   own. In this regard, the Tribunal has considered the entirety of the submissions of
                   both Parties, and has come to a conclusion on liability on the basis of all the
                   submissions before it. The calculations by the experts on June 29, 2018 and July
                   10, 2018 (see paragraphs 131 and 135 above) merely represent calculations by the
                   Parties' experts, adjusted to the dates on which the Tribunal thought (at the time)
                   were possible dates for valuing the Claimants' loss.

          461.     Notwithstanding this, the Tribunal reiterates its earlier view that it is inappropriate
                   for it to revisit issues of liability already decided in the Liability Award, which is a
                   view confirmed by the Tribunal in its Decision on Reconsideration. Therefore,
                   insofar as the Respondents' submissions rely on arguments directed to the re-
                   opening of issues of liability (i.e., whether GGAM has breached the MSA), the
                   Tribunal rejects these outright.

          462.     Moving to the substantive decision on quantum, the Tribunal accepts the
                  Respondents' submission (including in Searby's Calculations of July 10, 2018 and
                  in Searby's Memo of September 14, 2018) that a block sale discount should be
                  applied in assessing the value of the Shares at a specified date (especially, as the
                  Tribunal has observed, for such a large chunk of thinly-traded shares). The
                  Claimants themselves have explained that, because of the relatively large number
                  of Shares in relation to the daily trade of BRC shares, the block sale discount would
                  be significant. On their own case, it would have been 10.4% if the sale had
                  materialized on January 15, 2014.398

          463.    In the present case, the Tribunal has decided that the appropriate date to value the
                  Shares (in order to ascertain the Claimants' loss) is December 9, 2014, which is the
                  date of the Tribunal's IM Order. Mr Searby has calculated that an appropriate block
                  sale discount on that date would have been 10.8%.399 While the Claimants disagree
                  that a block sale discount should be applied, they have not disputed that this would
                  be an appropriate block sale discount to use should the Tribunal find (as it has) that
                  a block sale discount should be applied. The Tribunal is persuaded that a block sale
                  discount of 10.8% (which was provided by an expert, is close to the figure
                  originally already agreed by GGAM in January 2014, and which is not specifically



398   Claimants' Supplemental Submission, paras. 168 and 274.
399   Searby's Calculations of July 10, 2018, Appendix 1.


                                                      150
       disputed by the Claimants) is suitable. The Tribunal therefore adopts Mr. Searby's
       10.8% block sale discount to the price of the shares on December 9, 2014.

464.   For the same reasons that the Tribunal declined to award pre-award interest on the
       lost management fees (see paragraph 326 above), the Tribunal also declines to
       award pre-award interest on the value of the Shares.

465.   The Tribunal is also inclined to accept that all calculations should be done in PHP
       (since that is the currency in which the Shares are traded, and the Philippine
       statutory interest has been pleaded by the Claimants as being applicable).

466.   In the premises, the Tribunal accepts Searby's Calculations of July 10, 2018 as the
       basis for calculating the value of the Shares as of December 9, 2014. Applying the
       block sale discount of 10.8% to the December 9, 2014 closing price per share of
       12.38 PHP for the Shares (see paragraph 463 above), the discounted price would
       be PHP 11.04. The total value of the Shares as of December 9, 2014, would
       therefore be:

       921,184,056 x 11.04 = 10,169,871,978.24 PHP.

       b.      The "Constructive Remedy"

467.   In the Claimants' Supplemental Submission, the Claimants argued that they should
       be entitled to a "Constructive Remedy" in relation to the damages they have
       suffered by reason of the Respondents' refusal to abide by the IM Order and
       Liability Award (thereby denying the Claimants access to the Shares). To
       recapitulate, the Claimants' "Constructive Remedy" is set out at paragraph 156 of
       the Claimants' Supplemental Submission:

              "156. The Tribunal should issue the following relief with respect to
              GGAM's Share damages claim: an award of damages to GGAM in
              the amount of US$ 383,472,464 (the NPV of the "Highest
              Intermediate Value" of the Shares) in exchange for GGAM's
              transfer of the Shares to Respondents (the "Constructive
              Remedy')."

468.   The Tribunal turns to address questions related to the authority of the Tribunal
       which may arise. The Claimants argue that the Tribunal has the power to grant the
       Constructive Remedy on the grounds that it may grant any remedy or relief that
       could have been awarded by the Singapore High Court if the dispute had been the
       subject of civil proceedings in that Court, and that includes the power to grant an


                                       151
                  injunction (see paragraph 403 above). On the other hand, the Respondents plead
                  that the constructive remedy by which the Tribunal would compel Bloomberry to
                  purchase the Shares should be denied. The Respondents did not dispute that the
                  Singapore High Court would have the power to grant the Constructive Remedy as
                  pleaded by the Claimants; nor did they dispute that the Tribunal accordingly also
                  has the power to make such relief. Rather, the Respondents argue that "Mills
                  constructive remedy conveniently would allow GGAM to avoid the difficulties of
                  trying to enforce an award that was rendered against the rights and interests of a
                  party that is not present in these proceedings, Prime Metroline. The Claimants'
                  constructive remedy is barred not only due to Prime Metroline's rights as party to
                  the EOA, but also by both Parties' contractual disavowal ofpunitive damages and
                  the equitable doctrine of laches. "40° The Respondents also argue that GGAM's
                  reliance on the PA to argue that the Constructive Remedy is consistent with the
                  Parties' agreement is misplaced and self-contradictory,401 and that the Constructive
                  Remedy is a form of punitive damages.402

          469.    While the Tribunal has declined to apply the HIDV/HIVT methodology to
                  determine the share price, it decides that the Respondents must pay the full value
                  of the Shares as of December 9, 2014 as damages to the Claimants, in exchange for
                  GGAM's transfer of the Shares to the Respondents, for the reasons it explains
                  below. Primarily, such a remedy would shift the risk of price fluctuations in the
                  Shares to the Respondents while avoiding the prospect of double recovery by the
                  Claimants.

          470.    While the Tribunal does not use the HIDV, it accepts that the Respondents'
                  recalcitrance justifies ordering that the Respondents pay the full value of the Shares
                  as of December 9, 2014 as damages to the Claimants, in exchange for GGAM's
                  transfer of the Shares to the Respondents. In particular, the Respondents' statement
                  that it would not allow GGAM to sell its Shares despite the IM Order and Liability
                  Award signals to the Tribunal that the exercise of such relief (i. e., an award for the
                  full value of the Shares based on the December 9, 2014 price to GGAM Philippines,
                  in exchange for GGAM Philippines transferring the Shares to the Respondents) is
                  necessary so that GGAM is not forced to bear the risk of price fluctuations on its
                  Shares and also to compensate GGAM fully for the value of its Shares.

          471.    In relation to the Respondents' objections, the Tribunal has dealt with the objections
                  in relation to PMHI' s rights, as well as the doctrine of laches, above (see paragraphs


400
      Respondents' Sur-Rejoinder on Damages, para. 29.
401
      Ibid., para. 266.
402
      Ibid., para. 267.


                                                         152
       432-435 and 451 respectively). The Tribunal further finds that it does not need to
       use or refer to GGAM's so-called reliance on the PA in order to find it has the
       power to provide the relief claimed by the Claimants in respect of the Shares. The
       Tribunal is not ordering specific performance or enforcing the "put right" in the
       PA. Rather, it is exercising its power to fashion appropriate relief in the face of the
       Respondents' transparent recalcitrance to allow GGAM to sell its Shares (despite
       the IM Order being made almost five years ago), and considers that such relief
       would shift the risk of fluctuations in the price of the Shares to the Respondents.
       Finally, as the Tribunal has rejected the HIDV, the Respondents' objection that the
       Constructive Remedy (based on the HIDV) is a form of punitive damages falls
       away. There is nothing "punitive" in valuing the Shares as of the date that GGAM
       clearly had the right to sell those Shares pursuant to the IM Order (and on which
       date the Respondents should have started to facilitate the implementation of the IM
       Order).

       c.      Other relief in respect of the Shares and the Dividends

472.   Since the Tribunal has decided that the Respondents shall pay the full value of the
       Shares as of December 9, 2014 as damages to the Claimants, in exchange for
       GGAM's transfer of the Shares to the Respondents, the Tribunal will make such
       orders as are reasonably necessary to give effect to this decision (see dispositive
       section at paragraph 505(c) to [e] below.

473.   Separately, the Tribunal notes that the Claimants have argued that the Respondents'
       actions in hindering and blocking GGAM's sale of the Shares have reduced the
       value of the Shares— i.e., involuntary lockup of the Shares, prevention of
       reinvestment, and controlling shareholder effect. The Tribunal simply observes that
       the Claimants have not (other than their Constructive Remedy) pleaded any
       separate remedy for these supposed ways that GGAM's Shares were reduced in
       value. As the Tribunal has awarded the full value of the Shares as of December 9,
       2014 (less a block sale discount) to the Claimants in return for the Claimants
       transferring the Shares to the Respondents, these points are no longer live (since
       any such harm would already be priced into the value of the Shares, and would
       accordingly be passed on to the Respondents with the transfer of the Shares to them
       after they pay GGAM Philippines the full value of the Shares).

474.   In the event that Respondents refuse to comply with the damage award, and as an
       alternative remedy, the Tribunal grants the relief (which is described more precisely
       in paragraphs 505[c] to[e] below) sought by Claimants to give effect to their
       ownership rights in the Shares. This relief is necessary because Respondents have
       indicated that they would not allow Claimants to sell their shares in response to this


                                        153
Tribunal's IM Order and Liability Award, and their conduct to date is consistent
with that intent. This relief will become effective only if Respondents refuse to
comply with the damages award for the Shares within thirty (30) days of the date
of this Award, and will only have the effect of enabling Claimants to sell the Shares
to remedy the damages they suffered.
XII.          DIVIDENDS

              475.    According to the Parties, dividends were paid on the Shares in May 2015, April
                      2018, and April 2019, totaling PHP 193,448,652. This is undisputed and was
                      confirmed by the Parties in their respective letters dated August 21, 2019.

             476.    After the issuance of the Liability Award on October 6, 2016, the Claimants applied
                     to the Tribunal to direct the Respondents to state to Deutsche Bank that they had
                     no objection to the release of the dividends paid by BRC for the account of GGAM.
                     On October 13, 2016, the Respondents confirmed they had no objection to the
                     release of the dividends paid by Deutsche Bank. The lack of objection was recorded
                     in Procedural Order No. 15 dated October 26, 2016. Subsequently, the Respondents
                     changed their position. On August 8, 2017, the Claimants requested leave from the
                     Tribunal to amend their request for relief in the Supplemental Submission because
                     the Respondents, through PMHI, reneged on their affirmation that they had no
                     objection to the release of dividends. The requested amendment was to include an
                     order from the Tribunal directing Respondents to submit a certified letter from BRC
                     addressed to Deutsche Bank that states: "Bloomberry Resorts Corporation,
                     Bloomberry Resorts and Hotels, Inc., Sureste Properties, Inc. and Prime Metroline
                     Holdings, Inc. have no objection to Deutsche Bank AG' s immediate release of all
                     dividends paid by Bloomberry Resorts Corporation for the account of Global
                     Gaming Philippines LLC."

             477.    Pursuant to the Tribunal's invitation, the Respondents confirmed on August 14,
                     2017 that it did not object to granting the Claimants leave to include the requested
                     amendment (even though they disagreed with the substance of the amendment).
                     Thereafter, in their Sur-Rejoinder on Damages, the Respondents stated that "BRHI,
                     Sureste, and Prime Metroline now object to Deutsche Bank's release to GGAM of
                     the dividendpaid by Bloomberry Resorts Corporation in May 2015 "403 due to their
                     appreciation of "the full context of the FCPA Orders and their implications for the
                      `strategies' Mr. Weidner was pursuing. "404 Respondents request that the Tribunal
                     "birder GGAM to direct its stockbroker, Deutsche Bank, to return the dividends
                     paid in May 2015 by Bloomberry Resorts Corporation to Bloomberry Resorts
                     Corporation. " 4°5




   403   Respondents' Sur-Rejoinder on Damages, footnote 438.
   404
         Id., para. 217.
   405
         Id., para. 269(i)(g).




                                                        155
           478.    The Respondents' change in position is not disputed and was noted by both Parties
                   in the Remedies Hearing. Counsel for the Claimants submitted that the Respondents
                   had been applying pressure on Deutsche Bank not to release the dividends,406 and
                   that in fact the Respondents had made filings stating that they objected to the release
                   of the dividends in the Philippines and in Hong Kong.407 Counsel for the
                   Respondents explained: "[nJow, there has been a change in position with respect
                   to release of the dividends. This change was -- this change was brought about for
                   a very simple reason, the FCPA orders... So it was the release of the FCPA orders
                   that caused Bloomberry to object to the release of the dividends. 11408

           479.    While the Parties disagree on whether the dividends should be released to GGAM,
                   they agree that, in the eventuality that the Tribunal finds that the dividends should
                   be released to GGAM, their amount should be used to reduce GGAM's share of
                   damages. Thus, in their post-hearing list of issues, the Claimants said: "if the
                   Tribunal grants GGAM's request for an order directing Respondents to submit a
                   certified letter to Deutsche Bank stating that Respondents and their affiliates have
                   no objection to Deutsche Bank's immediate release of all dividends paid by BRC
                  for the account of Global Gaming Philippines LLC, and those amounts are actually
                  paid to GGAM, then GGAM is share damages should be reduced by the value of
                  those dividends."' In the Respondents' Letter of July 10, 2018, Mr. Searby, the
                  Respondents' expert, also deducts the value of the dividends from the assessed
                  damages.41°

          480.     Consistent with its determination that GGAM is the rightful owner of the Shares,
                   the Tribunal finds that dividends paid by BRC shall be released and paid to GGAM.
                   The Parties have both confirmed that Deutsche Bank A.G., Hong Kong Branch
                   holds the Shares and the dividends. Therefore, as requested by the Claimants as part
                   of their request for relief,411 the Tribunal directs the Respondents to submit a
                   certified letter from their affiliate BRC addressed to Deutsche Bank AG, Hong
                   Kong Branch to release all dividends paid by BRC (in the sum of PHP
                   193,448,652) for the account of Global Gaming Philippines LLC. If the dividends
                   are released to the Claimants within twenty-one (21) days from the date of this
                   Award, then the amount of GGAM Philippines' damages for the Shares shall be
                   reduced by the value of the dividends. If the Respondents fail to do so within 21


406
      Transcript of Hearing on May 28, 2018 ("Day 1 Transcript"), page 83 line 15 to page 85 line 22.
407
      Day 1 Transcript, page 23 lines 8 to 17, and page 84 lines 5 to 14.
408
      Day 1 Transcript, page 217, lines 11 to 14, and page 220 line 11 to page 221 line 3
409
      Claimants' Letter of June 29, 2018.
4W
      See Respondents' Letter of July 10, 2018, para. 3.15 of Appendix A. There are minor differences in figures /
      whether dividends should be immediately converted to US dollars.
411
      See above at para. 168(b)(iv).


                                                       156
days, then the amount of the damages awarded for obstruction of the sale of the
Shares shall not be reduced but shall remain as 10,169,871,978.24 PHP.
XIII.   INTEREST

        481.   The Claimants have claimed interest at the rate of 0.5% per month compounded
               monthly for (i) pre-Award interest on the unpaid fees and expenses incurred before
               the termination of the MSA, (ii) pre-Award interest on the amount of lost
               management fees after termination of the MSA, and (iii) post-Award interest for
               each day payment in full of the Award is past due and compounded monthly at the
               interest rate of 6% per annum.

        482.   The Tribunal considers that, on fees and expenses due for work performed or
               incurred before the termination of the MSA, the interest rate of 6% per annum
               compounded monthly provided in Section 4.8 of the MSA shall apply as from 30
               days after payment was due to the date of payment.

        483.   As already set out above, the Tribunal has determined that no pre-award interest
               will be granted on the MSA management fees or on the value of the Shares. On the
               other hand, the Tribunal disagrees that no interest rate should accrue after the
               issuance of this Award.

        484.   Based on the discretion permitted by Philippine law and Article 20 of the IAA of
               Singapore, the Tribunal decides that post-Award interest on the amounts awarded
               to the Claimants shall accrue at the annual interest rate of 6% compounded annually
               beginning thirty (30) days after the date of this Award until payment, except that,
               in the case of the fees and expenses referred to in paragraphs 371 and 373, interest
               shall be compounded monthly as required by Section 4.8 of the MSA beginning
               thirty (30) days after the date they became due.




                                               158
XIV.          ISSUES RAISED BY THE RESPONDENTS' REQUEST FOR RELIEF

              485.    It remains for the Tribunal to consider certain questions raised by the relief
                      requested by the Respondents.

              486.    In their request for relief, the Respondents requested, inter alia, that the Tribunal
                      revisit the Liability Award and annul the MSA on grounds of causal fraud or find
                      that Respondents rightfully ended the MSA.412 The Respondents requested
                      reconsideration of the Liability Award by way of their Request for Reconsideration
                      on the same day they submitted their Sur-Rejoinder on Damages. The Tribunal
                      denied the Respondents' Request for Reconsideration on November 7, 2017. That
                      decision is re-affirmed here.

             487.     The Respondents also requested, inter alia, that the Tribunal "Find that Claimants
                      and their counsel failed to conduct themselves in good faith in the taking of
                      evidence, and pursuant to Article 9(7) of the IBA Rules on the Taking of Evidence
                      in International Arbitration, deny Claimants' requestfor attorney'sfees, costs, and
                      expenses. " 413 This request for relief is, in the Tribunal's view, related to the Request
                      for Reconsideration. The Tribunal denied the Respondents' request, and it does so
                      again here.




   412
         Respondents' Sur-Rejoinder on Damages, para. 269(i).
   413   Ibid., para. 269 (iii).


                                                         159
XV. COSTS

          488.     In the Claimants' Costs Submissions, the Claimants submit that, pursuant to section
                   19.2(h) of the MSA, the Tribunal has the authority, and shall designate, the party
                   whose position is substantially upheld, which shall recover from the other party all
                   of its reasonable attorneys' fees, costs and expenses incurred in connection with the
                   arbitration. The Claimants submit that they are "entitled to an award ordering the
                   Respondents to pay all of their reasonable attorneys' fees, costs, and expenses
                   incurred in connection with this arbitration. " 414 The Claimants submit that this is
                   because:

                   (a)      the Tribunal has the authority to designate the party whose position is
                            substantially upheld and award that party all of its reasonable costs incurred
                            in connection with the arbitration;

                   (b)      the Tribunal substantially upheld their position in the arbitration by deciding
                            in their favour that the Respondents wrongfully terminated and breached
                            the MSA, deciding in GGAM's favour that GGAM could exercise its rights
                            in relation to the Shares, including the right to sell them, and denying the
                            Respondents' Request for Reconsideration in its entirety;

                   (c)      all the costs claimed in the Claimants' Costs Submissions were incurred in
                            connection with the arbitration (including costs incurred in the ancillary
                            proceedings in the courts of the Philippines, Hong Kong, and Singapore);
                            and

                   (d)      their costs of USS 28,403,374.99 are reasonable given the amount in
                            dispute, complexity of the legal issues involved, extent of factual discovery,
                            substantial necessity for experts, the multiple phases and hearings of the
                            arbitration, and the ancillary actions in the Philippine, Hong Kong, and
                            Singapore Courts.

          489.    In the Respondents' Costs Submissions, the Respondents argue that the Claimants'
                  conduct throughout the arbitration, including repeated "sandbagging," withholding
                  of critical evidence, and their other misrepresentations and concealments,
                  "warrants apportionment of costs such that GGAM should pay at least a portion of
                  Bloomberry's costs and the entirety of its own costs." In their Costs Submissions,
                  the Respondents make repeated reference to alleged instances of such
                  "sandbagging," withholding of critical evidence, and other misrepresentations and

 414 Claimants' Costs Submissions, para. 1.




                                                     160
       concealments. The Respondents also argue that the degree of the Claimants'
       success "separately warrants that GGAM should pay at least a portion of
       Bloomberry's costs and the entirety of its own costs, as (i) GGAM was not
       successful on all of the issues (e.g., its claim for defamation), (ii) GGAM's
       "success" was facilitated by its "sandbagging" tactics, withholding of evidence,
       and other misrepresentations and concealments in the Arbitration, and (iii) the
       Partial Award on Liability cannot be permitted to stand as a matter of Singapore
       law."

490.   The Respondents' costs, as set out in their costs schedules, come up to US$
       15 164 766.23.

491.   Clause 19.2(h) of the MSA states:

       "19.   DISPUTES

              19.2   Arbitration

              Except as required by Annex I with respect to Expert Disputes, any dispute
              required to be settled in accordance with this Clause 19.2 shall be settled
              by arbitration in Singapore under the United Nations Commission on
              International Trade Law (UNCITRAL) Arbitration Rules inforce at the date
              of this Agreement (the "Rules'), except that to the extent the then current
              Rules are inconsistent with the provisions of this Clause 19.2, in which event
              the terms hereof shall control.




              (h) During the pendency of the arbitration, the Parties shall share equally
              the fees and expenses of the arbitrator. As part of the award, the arbitrator
              shall designate the Party whose position is substantially upheld, who shall
              recover from the other Party all of its reasonable attorneys'fees, costs and
              expenses, including its share of the fees and costs paid to the arbitrator,
              expert witness fees, compensation for in-house counsel, and all other fees
              and expenses incurred in connection with the arbitration. The arbitrator
              may determine that neither Party's position was substantially upheld or
              otherwise allocate the fees and expenses in accordance with the relative
              extent to which either Party's position was upheld."




                                       161
492.   As part of the Parties' agreement, this provides the starting point for the Tribunal
       to consider the apportionment of costs between the Parties.

493.   Article 40 of the UNCITRAL Rules provides:

        1. The arbitral tribunal shallfix the costs of arbitration in the final award and,
        if it deems appropriate, in another decision.

        2. The term "costs" includes only:
           (a) The fees of the arbitral tribunal to be stated separately as to each
           arbitrator and to be fixed by the tribunal itself in accordance with article 41;
           (b) The reasonable travel and other expenses incurred by the arbitrators;
           (c) The reasonable costs of expert advice and of other assistance required by
           the arbitral tribunal;
           (d) The reasonable travel and other expenses of witnesses to the extent such
           expenses are approved by the arbitral tribunal;
           (e) The legal and other costs incurred by the parties in relation to the
           arbitration to the extent that the arbitral tribunal determines that the amount
           of such costs is reasonable;
           (f) Any fees and expenses of the appointing authority as well as the fees and
           expenses of the Secretary-General of the PCA.

494.   Article 42 of the 2010 UNCITRAL Rules provides:

       I. The costs of the arbitration shall in principle be borne by the unsuccessful
       party or parties. However, the arbitral tribunal may apportion each of such
       costs between the parties if it determines that apportionment is reasonable,
       taking into account the circumstances of the case.

       2. The arbitral tribunal shall in the final award or, if it deems appropriate, in
       any other award, determine any amount that a party may have to pay to another
       party as a result of the decision on allocation of costs.

495.   According to Article 42, the costs of the arbitration "shall in principle be borne by
       the unsuccessful party or parties." This article grants the Tribunal discretionary
       power to apportion costs based on what is reasonable in the circumstances of the
       case. There is some variation in tribunals' practices, but the prevailing approach of
       international arbitral tribunals is to order costs to follow the event.




                                       162
       496.     The following amounts have been paid to the fees and expenses of each member of
                the Tribunal as well as the Secretary to the Tribunal ("Tribunal Secretary"):415

        Item                                 Amount Paid                Bank Charges Incurred
        Dr. Andres Rigo                     US$ 783,596.75                  US$ 1,064.64
        Mr. Doak Bishop, Esq                US$ 496,007.53                   US$ 767.02
        Dr. Michael Hwang S.C.              US$ 588,805.34
                                                                                US$ 954.72
        Tribunal Secretary                  US$ 215,021.04
        Total                              US$ 2,083,430.66                     US$ 2,786.38

       497.     The following amounts have been paid to the fees of the SIAC (transaction fees and
                fundholding fees):

SIAC Transaction Fees (SGD 100 per transaction requested by Tribunal):416

                         Item                                Amount deducted by SIAC
                         1 Payment Transactions
                 1                                                      US$ 75.55
                         processed in 2014
                 2       7 Payment Transactions
                                                                        US$ 502.92
                         processed in 2015
                         5 Payment Transactions
                 3.                                                     US$ 356.87
                         processed in 2016
                         5 Payment Transactions
                 4.                                                     US$ 369.22
                         processed in 2017
                         11 Payment Transactions
                 5                                                      US$ 815.03
                         processed in 2018
                 6       6 Payment Transactions
                                                                        US$ 441.20
                         processed in 2019
                         Total:                                       US$ 2,560.79

*amount varies due to different conversion period

SIAC Fundholding Fees (SGD 1,200.00 per annum):

                         Item                                Amount deducted by SIAC
                         Period Jun 2014 — May
                 1                                                     US$ 959.49
                     '   2015
                         Period Jun 2015 — May
                 2'                                                    US$ 888.39
                         2016



415
       This does not include pending bank charges for the last transactions.
416
       This does not include SIAC transaction fees for the last transactions.


                                                       163
                    Item                            Amount deducted by SIAC
                    Period Jun 2016 — May
               3.                                           US$ 884.34
                    2017
                    Period Jun 2017 — May
               4.                                           US$ 866.48
                    2018
                    Period Jun 2018 — May
               5                                            US$ 881.04
                    2019
                    Period Jun 2019 — May
               6.                                           US$ 886.10
                    2020
                    Total:                                 US$ 5,365.84

*amount varies due to different conversion period

       498.   The Parties have equally contributed to the costs of the fees and expenses of the
              members of the Tribunal and of the Tribunal Secretary, as well as to the fees of the
              SIAC (the "costs of the arbitration"). In total, the costs of the arbitration amount
              to US$ 2,094,143.67 (plus any further bank charges and transaction fees for the last
              tranche of payments requested by the Tribunal and Tribunal Secretary). Each side's
              contribution to the costs of the arbitration so far is thus US$ 1,047,071.835). In
              total, the Claimants' share of the deposits with the SIAC amounts to US$
              1,054,751.97 while the Respondents' share of the deposits with the SIAC amounts
              to US$ 1,054,962.94 (for a total of US$ 2,109,714.91 in deposits). There will thus
              be US$ 15,571.24 left in deposits held by the SIAC (minus further bank charges
              and transaction fees), of which US$ 7,891.135 represents the Respondents' share
              and US$ 7,680.135 represents the Claimants' share. These amounts (less any
              further transaction fees and bank charges, which shall be borne equally by the
              Parties) shall be returned to the respective Parties after the issuance of this Award
              in the proportion that each party advanced the funds.

      499.    In terms of costs, each Party has requested as relief that the Tribunal award costs
              from the other side. As set out above, the total costs of the Claimants come up to
              US$ 28,403,374.99, while those of the Respondents' come up to US$
              15 164 766.23.

      500.    The proceedings have been lengthy with frequent procedural incidents initiated by
              both sides.

      501.    The Claimants prevailed substantially in the Liability Award. Therefore, the
              Tribunal designates the Claimants as the "Party whose position is substantially
              upheld" pursuant to clause 19.2(h) of the MSA. However, the Tribunal's ultimate
              decision on quantum eventually awarded less than half of the Claimants' claims.


                                              164
                    Accordingly, the Tribunal considers that not all of the Claimants' costs fall within
                    the ambit of "reasonable" costs, and that the Claimants are in any event not entitled
                    to their full costs. The Tribunal sets out its reasons and its allocation of costs below.

           502.     First, the Tribunal does not consider that the Claimants' costs and expenses in
                    relation to the court proceedings in the Philippines, Hong Kong, and Singapore fall
                    within the definition of costs, fees and expenses "incurred in connection with the
                    arbitration," nor the meaning of "costs" as set out at Article 40(2) of the 2010
                    UNCITRAL Rules (set out at paragraph 493 above). Such proceedings are
                    applications to national courts, which themselves have the jurisdiction to award
                    costs in respect of the proceedings before them. The Tribunal considers that the
                    award of these costs to the Claimants would present a double risk: (a) of double
                    recovery (since the Claimants, if they prevail in those proceedings, may recover
                    their costs in those proceedings; or (b) of unjustifiably indemnifying the Claimants
                    from averse costs orders in those national courts. The Tribunal would therefore
                    disallow all costs, fees, and expenses in connection with this part of the Claimants'
                    costs (this is the sum of US$ 3,406,620.73).417

           503.    Second, the Tribunal notes that the Claimants did not succeed on all of their claims
                   in the Liability Phase, and did not succeed on various issues at the Remedies Phase.
                   For example, the Tribunal has largely preferred the Respondents' experts'
                   quantification of lost management fees over the Claimants' experts' quantification.
                   The Tribunal has also rejected the Claimants' use of the HIVT, preferring instead
                   to value the Shares as a block at December 9, 2014.

          504.     Third, the length and complexity of the present arbitration was due, in part, to the
                   Claimants, although it was also due in part to the Respondents.

          505.     Fourth, the Claimants' costs after removing the costs incurred due to the ancillary
                   proceedings in Singapore, the Philippines, and Hong Kong, come up to US$
                   24 996 754.26.418 This figure is still substantially higher than the Respondents'
                   costs of US$ 15,164,766.23. The Tribunal notes that the Claimants retained two
                   international law firms at various stages of this arbitration, which may have
                   contributed to the much higher costs incurred by the Claimants.

          506.     Based on these considerations, the Tribunal finds that:



417   1,240,591.55 + 1,404,495.8 + 761,533.38. Numbers taken from the Claimants' Costs Schedule.
418   Claimants' total costs of US$ 28,403,374.99 less the sum of US$ 3,406,620.73 (being the costs of the ancillary
      court proceedings in Hong Kong, Philippines, and Singapore).


                                                         165
(a)   the Respondents shall be responsible for all of their own costs and expenses,
      which includes their counsel fees, costs, and their deposits in respect of the
      costs of the arbitration;

(b)   the Claimants shall bear their own costs in respect of the ancillary
      proceedings in Singapore, Philippines, and Hong Kong; and

(c)   the Respondents shall bear 60% of the remainder of the Claimants' costs
      and expenses of US$ 24,996,754.26 (which includes the Claimants' counsel
      fees, costs, as well as the Claimants' deposits in respect of the costs of the
      arbitration). The Respondents shall thus pay the Claimants costs in the sum
      of US$ 14,998,052. In the Tribunal's view, this is a fair proportion of costs
      to order the Respondents to pay to the Claimants, especially as the
      Respondents' own reported costs are in the region of US$15 million.
XVI.   DECISION

       507.   For the reasons set forth above, the Tribunal AWARDS, DECIDES and ORDERS
              as follows.

              (a)   The Respondents shall pay a total of USS 85.2 million as damages for lost
                    management fees to the Claimants, GGAM Philippines and/or GGAM
                    Netherlands.

              (b)   The Respondents shall pay to the Claimants US$ 391,224 as damages for
                    pre-termination fees and expenses, which are comprised of:

                    1.     US$ 148,750 on account of the February Invoice; and

                    2.     USS 242,474 on account of travel expenses.

              (c)   In relation to the damages for the Respondents' wrongful interference with
                    the Shares:

                    1.     the Respondents shall pay to GGAM Philippines, within thirty (30)
                           days from the date of this Final Award, PHP 10,169,871,978.24 (ten
                           billion, one hundred sixty-nine million, eight hundred seventy-one
                           thousand, nine hundred seventy-eight, and twenty-four hundredths
                           Philippine pesos), representing the full value of the Shares;

                    2.     As a condition for this payment, the Claimants shall take all
                           necessary steps to release all ownership or other interests in the
                           Shares to the Respondents and transfer all such ownership to the
                           Respondents or their designee within five (5) business days from the
                           date of such payment by the Respondents;

                    3.    If the Respondents do not pay GGAM Philippines for the Shares
                          within thirty (30) days from the date of this Final Award, GGAM
                          Philippines may sell its Shares on the market (the "Share Sale"). If
                          the sale nets more than 10,169,871,978.24 PHP, then GGAM
                          Philippines may retain the damages amount and pay the excess (the
                          remainder) to the Respondents. If the sale nets less than this amount,
                          then GGAM may retain all proceeds and the Respondents shall owe
                          GGAM the difference.




                                           167
(d)   If the Respondents do not pay the amount set out in (c) above within thirty
      (30) days from the date of this Final Award:

      1.      The Respondents shall take all steps necessary (including directing
              their agent and controlling shareholder PMHI to cooperate) to file a
              motion to withdraw the original Petition seeking the writs of
              preliminary injunction and attachment in the Regional Trial Court
              within thirty-seven (37) days from the date of this Final Award.

      2.      The Respondents shall take all steps necessary (including directing
              their agent and controlling shareholder PMHI to cooperate) to issue
              the joint press release in substantially the same form set forth in
              Annex A to the Claimants' Supplemental Submission within thirty-
              seven (37) days from the date of this Final Award.

      3.      The Respondents shall, within thirty-seven (37) days from the date
              of this Final Award, take all steps necessary (including directing
              their agent and controlling shareholder PMHI to cooperate) to
              instruct the Philippine Depository & Trust Corporation, the
              Philippine Stock Exchange, Deutsche Bank and the market that
              GGAM has free and clear title to the Shares and the absolute right
              to sell the Shares, and to instruct Deutsche Bank to transfer the
              Shares to an unrestricted trading account.

(e)   The Respondents shall take all steps necessary to facilitate the release of the
      dividends on the Shares in the amount of PHP 193,448,652 to GGAM
      Philippines within twenty-one (21) days from the date of this Final Award.
      In particular, the Respondents shall submit a certified letter from their
      affiliate Bloomberry Resorts Corporation addressed to Deutsche Bank that
      states as follows:

             "Bloomberry Resorts Corporation, Bloomberry Resorts and Hotels,
             Inc., Sureste Properties, Inc. and Prime Metroline Holdings, Inc.
             have no objection to Deutsche Bank AG' s immediate release of all
             dividends paid by Bloomberry Resorts Corporation for the account
             of Global Gaming Philippines LLC."

      If these dividends are released to GGAM Philippines within the twenty-one
      (21) days, then the amount of damages for the shares (PHP
      10,169,871,978.24) shall be reduced by the value of the dividends (PHP



                               168
      193,448,652). If the Respondents fail to timely facilitate the release of the
      dividends, then the amount of damages owed by the Respondents for the
      Shares shall remain PHP 10,169,871,978.24.

(0    The Respondents shall pay ESS14,998,052 to the Claimants as costs (see
      paragraph 506 above).

(g)   To grant post-award interest at the annual rate of 6%, compounded annually,
      beginning 30 days after the date of this Final Award on each of the amounts
      set forth above, except for the amounts in (b) above.

(h)   To award interest on the amounts in (b) above beginning thirty (30) days
      after the dates the pertinent invoices became due, compounded monthly, at
      the interest rate of 50 basis points per month or 6% per annum, as per the
      terms of Article 4.8 of the MSA.

(i)   To reject all other claims and requests for relief.
[signature page follows]




         170
Made in Singapore on this 2-1A1A. day of Sal Eli MtZ2019.




                             •


                            p, Esq
                                                                        (4.
                                                             Dr Michael Hwang S.C.
               Arbitrator                                          Arbitrator




                                     Dr Andres Rigo Sureda
                                      Presiding Arbitrator




                                          171
